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08:33:08 1                  IN THE UNITED STATES DISTRICT COURT

        2                    FOR THE DISTRICT OF DELAWARE

        3
             UNITED STATES OF AMERICA, )
        4                              ) VOLUME 4
                         Plaintiff,    )
        5                              ) C.A. No. 19-2103(MN)
             v.                        )
        6                              )
             GILEAD SCIENCES, INC.,    )
        7    et al.,                   )
                                       )
        8                Defendants.   )

        9
                             Tuesday, May 9, 2023
       10                    9:00 a.m.
                             Bench Trial
       11

       12                    844 King Street
                             Wilmington, Delaware
       13

       14    BEFORE:    THE HONORABLE MARYELLEN NOREIKA
                        United States District Court Judge
       15

       16

       17    APPEARANCES:

       18
                           UNITED STATES ATTORNEY'S OFFICE
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                           BY: WALTER BROWN, ESQ.
       20                  BY: PATRICK HOLVEY, ESQ.
                           BY: PHILIP STERNHELL, ESQ.
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                           BY: MATTHEW DAVID TANNER, ESQ.
       23                  BY: CARRIE ROSATO, ESQ.

       24

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        1
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        2

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        5                  -and-

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        7                  BY: CHARLES COX, ESQ.
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       10

       11                             Counsel for the Defendants

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       13                      _ _ _ _ _ _ _ _ _ _ _

       14

09:06:5815

09:06:5816                 THE COURT:    All right.    Good morning.     Everyone,

09:07:0217   please be seated.     Before we begin, can you just give me an

09:07:0718   outline of what I can expect?       No one wants to tell me.

09:07:1719   Come on.

09:07:2020                 MR. MACHEN:    Your Honor, Ron Machen, on behalf

09:07:2321   of Gilead.    Your Honor, we are we going to do -- after

09:07:2722   Dr. Flexner is done, we're going to do some deposition

09:07:2923   designations from Dr. Siegel, then we're going to read some

09:07:3324   uncontested facts, and then I believe the government is

09:07:3625   going to call Dr. Heneine and Dr. Kirby, and there may be
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09:07:40 1   some more designations.

09:07:41 2                 THE COURT:    Okay.   Thank you.     Does the

09:07:45 3   government have anything it's going to do?

09:07:47 4                 MR. BROWN:    I think he just described it.        We'll

09:07:50 5   call Dr. Heneine and Dr. Kirby, and then we have some fairly

09:07:54 6   defined deposition designations.

09:07:56 7                 THE COURT:    Okay.

09:07:57 8                 MR. BASSETT:     Your Honor, one thing I could

09:08:00 9   address before we start questioning Dr. Flexner.           Yesterday

09:08:0310   I over promised about submitting shortened versions of the

09:08:0711   file histories.     As we went back and started looking at them

09:08:1112   --

09:08:1113                 THE COURT:    I know it's hard because they lose

09:08:1314   contact.

09:08:1415                 MR. BASSETT:     Particularly for the appellant

09:08:1616   record.    We can submit them electronically.

09:08:1917                 THE COURT:    No, that's fine, it's more with the

09:08:2118   jury trial, too, and prosecution history I worry about a

09:08:2519   little less, my concern and I remember it from Judge

09:08:2820   Robinson, you know, you put in a book, and then on appeal

09:08:3121   you start arguing about Chapter 7 when Chapter 1, page 2 was

09:08:3622   the only thing ever discussed.

09:08:3823                 MR. BASSETT:     I totally understand.

09:08:3924                 THE COURT:    But the prosecution history, I'll

09:08:4225   let you go on that.
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09:08:43 1                  MR. BASSETT:    Thank you, Your Honor.        I

09:08:44 2   appreciate it.

09:08:44 3   BY MR. BASSETT:

09:08:51 4   Q.      Dr. Flexner, when we broke yesterday, we were

09:08:54 5   discussing the January CDC PEP guidelines.          And in

09:08:59 6   particular we were focusing on what objective evidence the

09:09:03 7   CDC PEP guidelines point to in order to show the efficacy of

09:09:07 8   post-exposure prophylaxis, do you recall that?

09:09:08 9   A.      Yes, I do.

09:09:1110   Q.      And I think we touched on this, in your opinion,

09:09:1311   Doctor, could a prospective post-exposure prophylaxis

09:09:1612   clinical trial have been formed in your opinion?

09:09:1913   A.      No, as I mentioned yesterday, it was considered

09:09:2214   unethical to conduct a prospective randomized control trial

09:09:2815   for intervention in nonoccupational post-exposure

09:09:3116   prophylaxis.

09:09:3117   Q.      And in light of the objective evidence in the CDC

09:09:3618   guidelines, and other information in the CDC guidelines, do

09:09:4119   you understand that the disclosures in those guidelines

09:09:4420   teach the efficacy of PEP?

09:09:4621   A.      Yes.   As I was beginning to say yesterday, the

09:09:5322   January 2015 CDC guidelines discussed a process for

09:09:5823   inhibiting establishment of HIV infection in humans and

09:10:0224   therefore teach the preamble of claim 12 of the '509 patent.

09:10:0725   Q.      And what's the next limitation of claim 12 as shown
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09:10:10 1   in your demonstrative?

09:10:11 2   A.      The next limitation is step A, selecting an

09:10:16 3   uninfected human that does not have the self replicating

09:10:19 4   infection.

09:10:20 5   Q.      I would like to now direct your attention to the

09:10:22 6   summary that appears on page 3 of the CDC PEP guidelines.

09:10:26 7   A.      Yes.

09:10:26 8   Q.      What do you understand the summary to say about the

09:10:29 9   recommendation for the timing and duration of the

09:10:3310   administration of the antiretroviral in the CDC PEP

09:10:3611   guidelines?

09:10:3612   A.      I have prepared a demonstrative on that, if you can

09:10:4013   advance these slides.      So the highlighted sentence indicates

09:10:4314   that nonoccupational post-exposure prophylaxis should be

09:10:5115   initiated within 72 hours after the exposure, and the second

09:10:5716   sentence states that antiretroviral medications should be

09:11:0217   initiated as soon as possible after exposure.

09:11:0518   Q.      Do the CDC PEP guidelines say anything else about the

09:11:0919   timing of the administration of post-exposure prophylaxis?

09:11:1520   A.      I think those are the two most important points made

09:11:1921   in the summary.

09:11:2022   Q.      If we could look at your next slide.

09:11:2423   A.      So I think that the CDC PEP guidelines of

09:11:2924   January 2015 discuss selecting an uninfected human and

09:11:3625   discuss the timing of administration of drugs and therefore
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09:11:39 1   teach the limitations of -- the limitation of step A.

09:11:44 2   Q.       What's the next limitation of claim 12 on your

09:11:47 3   demonstrative?

09:11:47 4   A.       The next limitation is step B, administering to the

09:11:51 5   uninfected human a combination comprising a pharmaceutically

09:11:55 6   effective amount of Emtricitabine and Tenofovir or Tenofovir

09:11:58 7   ester.

09:11:59 8   Q.       And Doctor, does this claim require the

09:12:01 9   administration of the claimed combination more than once?

09:12:0510   A.       No, it does not.

09:12:0611   Q.       So if you could please turn to the CDC PEP guidelines

09:12:1012   and look at the first full paragraph in the right-hand page,

09:12:1413   right-hand column of page 10.       Do the CDC PEP guidelines

09:12:1914   disclose the administration of FTC and Tenofovir or

09:12:2215   Tenofovir ester for PEP?

09:12:2416   A.       Yes.   This paragraph includes discussion of the

09:12:3117   combination of Emtricitabine and Tenofovir, which is also

09:12:3818   known as Truvada.

09:12:4219   Q.       And do the CDC PEP guidelines elsewhere disclose the

09:12:4820   administration of FTC and Tenofovir or Tenofovir ester for

09:12:5121   PEP?

09:12:5122   A.       Yes, as you can see in Table 2, which includes

09:12:5623   preferred regimens for nonoccupational PEP that

09:13:0124   Emtricitabine and Tenofovir is included in the combinations

09:13:0425   in that -- in the preferred regimens.
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09:13:07 1   Q.      And what, if anything, do the CDC PEP guidelines

09:13:12 2   teach about administering two versus three drugs?

09:13:16 3   A.      Well, in the highlighted sentences in the paragraph

09:13:18 4   on the right, first of all, the CDC PEP guidelines of

09:13:22 5   January 2015 indicate that at the time there was no evidence

09:13:29 6   that a three-drug HAART, or an anti-HIV drug regimen is

09:13:34 7   likely to be more effective than a two drug regimen and also

09:13:38 8   indicate that clinicians and patients who are concerned

09:13:41 9   about appearance and toxicity issues associated with a three

09:13:4510   drug regimen might consider the use of a two drug regimen

09:13:4911   and they specifically mention a combination of two reverse

09:13:5312   transcript inhibitors, which would include Tenofovir or TDF

09:13:5913   and Emtricitabine or FTC.

09:14:0014   Q.      In your opinion do the CDC PEP guidelines teach the

09:14:0415   administering step of claim 12?

09:14:0616   A.      Yes, because the CDC PEP guidelines of January 2005

09:14:1217   discuss administering to uninfected humans a combination of

09:14:1718   Emtricitabine and the Tenofovir ester, they do teach that

09:14:2119   limitation.

09:14:2220   Q.      What is the next limitation of claim 12 as shown in

09:14:2521   your demonstrative?

09:14:2522   A.      The next limitation is the thereby clause, there by

09:14:2923   inhibiting establishment of the self replicating infection

09:14:3324   with the immunodeficiency virus in the human.

09:14:3825   Q.      If you could turn to page 4 of the CDC PEP
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09:14:42 1   guidelines.    What if anything, do you understand the CDC PEP

09:14:45 2   guidelines to say about the efficacy of PEP?

09:14:48 3   A.      Well, as you can see on this demonstrative, the CDC

09:14:54 4   PEP guidelines discuss a number of pieces of available

09:14:59 5   evidence for the possible benefit of nonoccupational PEP in

09:15:02 6   preventing establishment of an HIV infection in an exposed

09:15:06 7   human and that includes animal studies, post-natal

09:15:11 8   prophylaxis, or prevention of mother to child transmission,

09:15:16 9   as we discussed yesterday, observational studies of

09:15:1910   nonoccupational exposure, post-exposure prophylaxis

09:15:2611   nonoccupational tests, and also case reports.

09:15:2812   Q.      So in your opinion, doctor, do the CDC PEP guidelines

09:15:3113   teach the thereby limitation of claim 12?

09:15:3414   A.      Yes, because the CDC PEP guidelines of January 2005

09:15:3915   discuss using PEP to inhibit establishment of the self

09:15:4316   replicating infection, they do teach that limitation of

09:15:4717   claim 12 of the '509 patent.

09:15:4918   Q.      And what is the final limitation of claim 12 as shown

09:15:5219   in your demonstrative?

09:15:5320   A.      The final limitation is wherein the combination is

09:15:5821   administered orally.

09:15:5822   Q.      What do you understand the combination to refer to?

09:16:0123   A.      The combination would refer to the two drugs, in this

09:16:0624   case emtricitabine and Tenofovir or Tenofovir ester.

09:16:0925   Q.      Do the CDC PEP guidelines disclose the oral
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09:16:13 1   administration of FTC and Tenofovir or Tenofovir ester?

09:16:16 2   A.      Yes, if you will advance to the next slide.          So in

09:16:20 3   Table 2, the CDC PEP guidelines discuss administering

09:16:28 4   emtricitabine and Tenofovir, and in Table 3, the CDC PEP

09:16:32 5   guidelines specifically mention emtricitabine and Tenofovir

09:16:37 6   in combination given as Truvada, which they indicate is one

09:16:43 7   tablet once daily.      Since tablets are designed to be

09:16:50 8   administered orally, then the CDC PEP guidelines of January

09:16:53 9   of 2005 do teach that limitation, that is administering the

09:16:5810   combination orally.

09:16:5811   Q.      Doctor, your demonstrative uses claim 12 of the '509

09:17:0212   patent as an example.      What is your opinion regarding the

09:17:0713   materiality of the CDC PEP guidelines with respect to the

09:17:1014   other disclaimed claims and the asserted claims?

09:17:1415   A.      My opinion is that the CDC PEP guidelines of

09:17:1716   January 2005 are material to the patentability of the

09:17:2217   disclaimed claims and the asserted claims in the other

09:17:2518   patents.

09:17:2519                 THE COURT:    So we're doing every single claim of

09:17:2820   every patent?

09:17:2921                 MR. BASSETT:     Correct, Your Honor.

09:17:3322   Q.      Doctor, to repeat what you said yesterday, why in

09:17:3723   your opinion are these CDC PEP guidelines relative to the --

09:17:4124                 THE COURT:    You don't need to repeat, I got it,

09:17:4425   they anticipate something, so they make the other ones
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09:17:47 1   obvious.   When you said the other patents, I wasn't sure if

09:17:50 2   you meant the '509 or every single claim of all of these

09:17:55 3   patents.

09:17:56 4                 MR. BASSETT:    Well, no, yes, Your Honor.

09:17:58 5                 THE COURT:    The testimony was slightly

09:18:00 6   ambiguous.    I just want to make sure I understood.

09:18:03 7                 MR. BASSETT:    Thank you, Your Honor.

09:18:04 8   BY MR. BASSETT:

09:18:05 9   Q.      Dr. Flexner, have you provided an opinion of whether

09:18:0710   the CDC PEP guidelines from January 2005 are cumulative from

09:18:1111   the material that is before the examiner?

09:18:1312   A.      Yes, I have.

09:18:1313   Q.      What is that opinion?

09:18:1414   A.      My opinion is that the CDC guidelines of January 2005

09:18:1815   are not cumulative.

09:18:1916   Q.      And why is that?

09:18:2117   A.      That's because these guidelines were not provided to

09:18:2518   the examiner until 2017.      Once they were provided to the

09:18:3119   examiner, they were part of an obviousness rejection of

09:18:3520   these patents four months later, and to me that indicates

09:18:3921   that the examiner thought they were noncumulative.

09:18:4322                 MR. BASSETT:    No further questions, Your Honor.

09:18:4423                 THE COURT:    All right.    Thank you.

09:18:5124                       CROSS-EXAMINATION

09:18:5225   BY MR. BROWN:
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09:18:53 1   Q.      Good morning, Dr. Flexner.

09:18:54 2   A.      Good morning, Mr. Brown.

09:18:55 3   Q.      I think this will be our last time.

09:18:57 4   A.      I'm a little sad about that.

09:19:00 5                  THE COURT:   Don't make promises you can't keep.

09:19:04 6   Q.      So for ease of reference I want to start with

09:19:07 7   questions I had from your binders that Mr. Bassett gave you.

09:19:12 8   And specifically I would like to start at Tab 5 which is

09:19:18 9   Volume II.

09:19:4610   A.      Yes.   Got it.

09:19:4711   Q.      All right.    And I believe earlier you recognized this

09:19:5212   document as the prosecution history of the '509 patent?

09:19:5613   A.      Yes.

09:19:5614   Q.      I would like to direct your attention to page 290.

09:20:1615   A.      Yes.

09:20:1816   Q.      Maybe we can get this on the screen as well.          JTX 5.

09:20:2517   Page 290.    You are on that page?

09:20:3118   A.      I am, yes.

09:20:3319   Q.      And you recognize this as an information disclosure

09:20:3620   statement by the applicant?

09:20:3721   A.      Yes, I do.

09:20:3722   Q.      And when you look at the bottom of that page, it

09:20:4123   lists a number of nonpatent literature documents that are

09:20:4524   being disclosed.     Do you see that?

09:20:4625   A.      I do, yes.
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09:20:47 1   Q.      And one of them is leads with the author Winston, A,

09:20:54 2   et al., do you see that?

09:20:55 3   A.      Yes I do.

09:20:55 4   Q.      Did you review this particular document in making

09:20:59 5   your opinions or forming your opinions in this case?

09:21:01 6   A.      I did -- I reviewed this -- I reviewed the

09:21:07 7   prosecution history, and it's been three years, but I

09:21:11 8   believe I did take a look at this reference, but I don't

09:21:14 9   recall exactly when or to what extent I did.

09:21:1610   Q.      Okay.   Let's go ahead a few pages to page 302 which I

09:21:2211   believe is the Winston document that was cited.          First of

09:21:2712   all, you understand this means this document was before the

09:21:3013   examiner as of the '509 patent; correct?

09:21:3314   A.      Yes, that's right.

09:21:3415   Q.      And do you know that this document was before the

09:21:3716   examiner in all four prosecutions?

09:21:4117   A.      I -- I -- I believe that would be the case, yes, if

09:21:4618   it were present here.

09:21:4819   Q.      Okay.   And looking at the article, which we have the

09:21:5320   page on the screen, the top of the page, it's entitled the

09:21:5721   use of a triple nucleoside-nucleotide regimen for

09:22:0222   nonoccupational HIV post-exposure prophylaxis.          Correct?

09:22:0423   A.      Yes.

09:22:0824   Q.      And looking at the objective section, it reads,

09:22:1525   nonoccupational post-exposure prophylaxis N-PEP for HIV is
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09:22:19 1   recommended after high risk sexual exposure.         Because of the

09:22:24 2   high incidences of intolerable side effects observed with

09:22:31 3   pro inhibitors with Zidovudine based nPEP regimens, our unit

09:22:37 4   changed standard nPEP treatment to 28 days of

09:22:41 5   Tenofovir/Stavudine, and it gives the initial.          It goes on

09:22:48 6   to say, "The aim of this study was to compare side effects

09:22:50 7   to numbers of individuals completing nPEP before and after

09:22:53 8   this change."

09:22:54 9                  Do you see that?

09:22:5410   A.      I do, yes.

09:22:5511   Q.      That was an nPEP regimen that was being studied for

09:23:0012   safety and tolerance, correct?

09:23:0213   A.      Yes.

09:23:0314   Q.      And that's an important consideration for a PEP

09:23:0715   regimen?

09:23:0816   A.      Yes, as I've said before, safety and tolerability is

09:23:1617   very important in considering PEP regimens.

09:23:1818   Q.      And 3TC is closely related in structure and function

09:23:2319   to FTC, is that correct?

09:23:2420   A.      Yes.

09:23:2521   Q.      Looking down further at the conclusions, it states

09:23:3822   TDF-3TC-D4T, which I guess is Stavudine, is significantly

09:23:4623   better tolerated than ZDV-3TC or ZDV-3TC-NFV as nPEP results

09:23:5824   in a greater number of individuals completing 28 days of

09:24:0125   treatment, do you see that?
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09:24:01 1   A.      Yes.

09:24:02 2   Q.      Again, tolerance is an important issue with antiviral

09:24:05 3   regimens because you want people to finish the regimen?

09:24:09 4   A.      Of course that's true, I will point out that TDF plus

09:24:09 5   3TC plus D4T Stavudine is a three-drug regimen, not a

09:24:16 6   two-drug regimen.     And D4T is a drug that was known in 2004

09:24:19 7   to have some significant and in some cases irreversible

09:24:24 8   long-term toxicities as compared to regimens like Truvada

09:24:28 9   that did not contain that drug.       So this was a study of

09:24:3210   three drug regimens rather than two drug regimens.

09:24:3511   Q.      So you're saying D four T was known to be toxic?

09:24:4012   A.      Yes, it produces peripheral neuropathy, which is

09:24:4613   damage to the nerves in the hand and feet, and that can be

09:24:5014   irreversible, it's also been associated with life

09:24:5415   threatening pancreatitis.      So those are side effects that

09:24:5616   were known in 2004 and that a person prescribing a

09:24:5917   nonoccupational PEP would have considered when trying to

09:25:0318   decide on what regimen to choose.

09:25:0619   Q.      Somebody looking at the tolerance of this regimen,

09:25:0920   one of skill in the art would know that Truvada would have a

09:25:1321   better safety profile, correct?

09:25:1422   A.      A person of skill in the art would know that in

09:25:1723   general the three drug regimens were more toxic than two

09:25:2324   drug regimens, but this article doesn't talk about two drug

09:25:2625   regimens.
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09:25:27 1   Q.      Okay.    But the Truvada label does talk about the two

09:25:32 2   drug FTC/TDF combination, correct?

09:25:35 3   A.      It does.

09:25:36 4   Q.      And the Truvada label was cited in the prosecution of

09:25:40 5   the '333 patent, correct?

09:25:42 6   A.      To my recollection, yes.

09:25:43 7   Q.      And in the subsequent prosecutions of the '191 and

09:25:47 8   '423; correct.

09:25:51 9   A.      To my recollection, yes.

09:25:5210   Q.      And since we're on that topic, the Truvada label, I

09:25:5411   think you testified with regarding the asserted claims

09:25:5712   before the jury, the Truvada label teaches co-administration

09:26:0113   of those two drugs by themselves, correct?

09:26:0414   A.      The Truvada label, so the Truvada label in 2004 did

09:26:0915   not teach administration of those two drugs by themselves.

09:26:1316   The Truvada label in 2004 was a treatment label, and at the

09:26:1717   time in 2004, Truvada was only approved for treatment.           And

09:26:2118   therefore the recommendation in the Truvada label was to use

09:26:2519   it in combination with other effective antiretroviral drugs

09:26:3120   for treatment.     As you recall the 2004 Truvada label said

09:26:3421   nothing about prevention.

09:26:3622   Q.      But it does teach the co-administration of TDF and

09:26:3923   FTC in a single pill?

09:26:4124   A.      In combination with other drugs, yes.

09:26:4325   Q.      Going back to this article, if I can direct your
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09:26:47 1   attention to the last page, I believe, or next to last page

09:26:52 2   of the article which is page 307, JTX 5, 307?

09:26:57 3   A.        Yes.

09:26:58 4   Q.        Do you see just before references there is the last

09:27:02 5   paragraph there?

09:27:03 6   A.        Yes.

09:27:04 7   Q.        And it talks about future options for nPEP regimens

09:27:10 8   including once daily regimen of TDF-3TC and D4T, it's easier

09:27:18 9   to read this.      "Using the D4T extended release, XR, once

09:27:2210   daily formulation in development, regimens containing NNRTIs

09:27:2911   other than nevirapine may have increased efficacy as nPEP in

09:27:3412   view of Efavirenz containing regimens showing support over

09:27:3913   triple nucleoside regimens in the treatment of chronic HIV

09:27:4214   infection."

09:27:4315                    Do you see that?

09:27:4316   A.        Yes.

09:27:4317   Q.        It goes on to say with the development of new NNRTIs

09:27:5018   such as TMC125 and new fixed dose combination preparations

09:27:5619   such as emtricitabine, Tenofovir/Efavirenz, further work to

09:28:0020   assess the safety and tolerability of these regimens is

09:28:0321   needed.    Do you see that?

09:28:0422   A.        Yes.

09:28:0423   Q.        So this article contemplates the combination of

09:28:1024   Emtricitabine, Tenofovir and Efavirenz, correct?

09:28:1325   A.        It mentions that as a possible regimen for an
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09:28:16 1   application in post-exposure prophylaxis, and I'll point out

09:28:20 2   at the time there was a preparation in development called

09:28:24 3   Atripla, which was emtricitabine, Tenofovir, Disoproxil

09:28:28 4   Fumarate, and Efavirenz for treatment, not for prevention.

09:28:33 5   Q.      Would one of skill in the art know that if this was a

09:28:37 6   possibility for nPEP that you could improve the tolerability

09:28:41 7   by dropping Efavirenz?

09:28:47 8   A.      So I need to look at take date of the publication of

09:28:49 9   this article.    So this is -- well this is 2005 and I can't

09:28:5910   -- let me find the month on this.        It's issue six, so I'm

09:29:0711   assuming this is July of 2005.       So this would have been

09:29:1012   published after the CDC PEP guidelines of January 2005.           And

09:29:1713   as I said before, it doesn't mention two drug regimens, it

09:29:2114   only mentions three drug regimens.        So I don't think this

09:29:2515   reference teaches two drug regimens at all.         Could a person

09:29:2916   of skill in the art looking at this in July of 2005 have

09:29:3417   extrapolated that it would have been safer and possible to

09:29:3918   get rid of the Efavirenz and just use emtricitabine

09:29:4519   Tenofovir, yes it could have, but even more direct to that

09:29:4820   would have been the CDC 2005 PEP guidelines which

09:29:5121   specifically mention using Truvada for PEP.

09:29:5522   Q.      So the information was more accessible on CDC PEP but

09:29:5923   it was accessible through other ways?

09:30:0124   A.      Yeah, I think this is -- as I said before, this does

09:30:0625   not speak directly to two drug regimens, this only speaks to
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                                                                             209
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09:30:10 1   three drug regimens.

09:30:11 2   Q.      But it does speak to PEP?

09:30:13 3   A.      It does speak to nonoccupational PEP, yeah, that's

09:30:16 4   the focus of the study.

09:30:18 5   Q.      During the jury trial, you relied on as one of your

09:30:23 6   principal references the Tsai 1995 paper, correct?

09:30:26 7   A.      Yes.

09:30:27 8   Q.      The one published in Science, correct?

09:30:30 9   A.      Yes.

09:30:3110   Q.      And I believe you stated at trial that with regard to

09:30:3411   the thereby clause you thought that was taught by Tsai all

09:30:3812   by itself, correct?

09:30:3913   A.      Yes, I did state that.

09:30:4114   Q.      And Tsai is a PrEP study, not a PEP study, correct?

09:30:4515   A.      It was both a PrEP and a PEP study, 15 of the monkeys

09:30:4916   got Tenofovir before exposure, and ten of the monkeys got

09:30:5317   Tenofovir after exposure.

09:30:5518   Q.      So it generated data on the use of Tenofovir alone

09:30:5819   for PrEP and the use of Tenofovir alone for PEP?

09:31:0220   A.      Yes.

09:31:0321   Q.      It led many skilled in the art, as Dr. Grant

09:31:0822   described, to start using PEP with Tenofovir?

09:31:1523   A.      I don't recall Dr. Grant making that connection.          But

09:31:2124   he might have said that, I just don't recall that.

09:31:2425   Q.      But you would agree that that's still your opinion
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09:31:27 1   across the board that Tsai gives you the efficacy needed for

09:31:33 2   the thereby clause for all the claims of the patents,

09:31:38 3   correct?

09:31:38 4   A.      Well, keep in mind that Tsai was only a single drug,

09:31:43 5   Tenofovir.     And so the claims of the -- the asserted claims

09:31:52 6   involve a two-drug combination.       Tsai teaches using

09:31:56 7   Tenofovir to prevent establishment of the self replicating

09:32:00 8   infection with an HIV like virus.

09:32:03 9   Q.      But you believe that Tsai alone gives you the

09:32:0610   efficacy required for the thereby clause?

09:32:0911   A.      Yes, I think it does.

09:32:1112   Q.      Because you say it shows full protection?

09:32:1513   A.      A hundred percent completely protected monkeys from

09:32:1814   that challenge, yes.

09:32:2115   Q.      Let's move to, this will be binder number 4 of 4 from

09:32:2816   your counsel.    We're going to go to tab number 12, which

09:32:5017   will be the CDC PEP guidelines?

09:32:5218   A.      Yes.

09:32:5219   Q.      This will be JTX 65?

09:32:5620   A.      Yep, I have it.

09:32:5821   Q.      Let's just take a moment and see if we can get that

09:33:0322   on the screen.    Specifically I want you to go to page 4 of

09:33:1223   the document.

09:33:1324   A.      Yes.

09:33:1625   Q.      At the bottom of the page in the left-hand column, I
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                                                                             211
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09:33:21 1   believe on several occasions with your counsel you cited the

09:33:24 2   section evidence of possible benefits from nPEP.           Do you see

09:33:28 3   that?

09:33:28 4   A.      Yes.

09:33:29 5   Q.      I believe you talked about with your counsel that

09:33:33 6   there is no clinical data that backs up any claim of

09:33:36 7   efficacy that you see in this document.         Correct?

09:33:39 8   A.      No, I actually disagree with that.        There were

09:33:42 9   studies done of Zidovudine for post-exposure prophylaxis in

09:33:4810   the occupational setting.      And an indicated benefit of

09:33:5411   Zidovudine in earlier anti-HIV antiretroviral nucleoside.

09:34:0212   Q.      Let me be more specific, does this document itself

09:34:0513   provide any data supporting a Truvada PrEP regimen and the

09:34:1014   efficacy of such a regimen?

09:34:1315   A.      So I believe this document provides data that are

09:34:1916   relevant to the effectiveness of Truvada in the

09:34:2317   post-exposure prophylaxis setting, yes.

09:34:2518   Q.      They're not specific to the use of Truvada?

09:34:3119   A.      Let me go through the references and I can give you a

09:34:3520   more direct answer to that.       Unfortunately there is 126 of

09:34:4021   them.   So suffice it to say, without going through every one

09:34:5222   of these references, there are references here that would

09:34:5523   indicate to a person of skill in the art that there was an

09:34:5824   expectation of success for using Truvada for post-exposure

09:35:0225   prophylaxis in January of 2005.       And the fact that the
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09:35:06 1   Centers for Disease Control are recommending Truvada -- or

09:35:10 2   recommending Tenofovir and emtricitabine and Truvada for

09:35:15 3   post-exposure prophylaxis indicates that a very smart group

09:35:20 4   of experts believe there is enough data to support that to

09:35:24 5   put it in writing as a recommendation for people that are

09:35:27 6   actually going to be prescribing that drug to people that

09:35:30 7   have been exposed to a potentially life threatening

09:35:34 8   infection.

09:35:34 9   Q.      As you sit here, you're not aware of any cited data

09:35:3810   specifics to the use of Truvada for PEP cited in this

09:35:4211   document?

09:35:4212   A.      For reasons that we mentioned there was not and there

09:35:4613   would not be a post-exposure prophylaxis study using

09:35:4914   Tenofovir in humans because it was considered unethical.

09:35:5215   But there were animal studies which were relevant to the use

09:35:5616   of Truvada for prevention in humans that I think were part

09:36:0517   of the decision making, must have been part of the decision

09:36:0818   making for the guidelines.

09:36:1019   Q.      I guess what I'm asking here, does this document cite

09:36:1420   animal, obviously there are no human studies, we agree on

09:36:1821   that, are you aware of any animal studies using Truvada for

09:36:2122   PEP cited in this document as you sit here?

09:36:2523   A.      Well, I believe the Tsai study was cited in the

09:36:3224   September 2005 guidelines, but I don't know that it was

09:36:3425   cited in these guidelines.
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09:36:35 1   Q.      And Tsai was cited in the prosecution of all four

09:36:38 2   patents; correct?

09:36:39 3   A.      Yes.

09:36:40 4   Q.      Okay.    Looking at this particular section, the last

09:36:44 5   sentence I don't think was discussed with your counsel, I

09:36:47 6   know you discussed other parts of this.         But it reads, these

09:36:51 7   data indicate that nPEP might sometimes reduce the risk for

09:36:57 8   HIV infection after nonoccupational exposures."          Do you see

09:37:00 9   that?

09:37:0010   A.      I do.

09:37:0111   Q.      If somebody read that and said to you that's not

09:37:0512   exactly a ringing endorsement of efficacy, what would be

09:37:0813   your response?

09:37:0914   A.      I would call this a "bet hedging" statement, I think

09:37:1515   the people who wrote this were aware of the limitations of

09:37:1816   the strength of the data backing up this statement and this

09:37:2417   was 2005.    They wanted to be careful that they not over

09:37:3118   state the benefits given the evidence, most of which was

09:37:3619   indirect.    Regardless, I think everyone recognized the need

09:37:3920   for effective post-exposure prophylaxis in 2005.          We had to

09:37:4321   give people something.      And given what was out there in

09:37:4922   2005, I think the goal would be to give them the best

09:37:5223   available intervention we could possibly give them.

09:37:5524                   But I think the uncertainty expressed in this

09:38:0225   sentence is a reflection of the fact that there was not
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09:38:06 1   absolute certainty for the effectiveness of a

09:38:09 2   nonoccupational PEP in this setting given the kind of data

09:38:13 3   that had to be used to back up the recommendations.

09:38:17 4   Q.      Nonetheless, you believe that this document insofar

09:38:22 5   as it identifies Truvada as a preferred regimen, the fact

09:38:29 6   that it is supported by this statement that the Truvada for

09:38:34 7   PEP regimen might sometimes reduce the risk for HIV

09:38:38 8   infection, you think that would teach the use of Truvada for

09:38:42 9   PEP in an effective manner?

09:38:4310   A.      I think it would absolutely teach the use of Truvada

09:38:4711   for PEP in the context of these guidelines because if you as

09:38:5512   a care provider were facing somebody who had a

09:39:0113   nonoccupational exposure and needed treatment, needed

09:39:0414   intervention to prevent establishment of the HIV infection,

09:39:0815   looking at that list of options, I think Truvada at the time

09:39:1216   would have been very high on your list given its -- given

09:39:1617   its relative benefits to other regimens in terms of safety

09:39:2018   and tolerability.

09:39:2219   Q.      And the safety and tolerability information you

09:39:2620   referenced, that's included in the Truvada label as well,

09:39:2821   correct?

09:39:2922   A.      It is, yes.

09:39:2923   Q.      And that was cited again in the prosecution of the

09:39:3224   '333 patent and subsequent patents?

09:39:3425   A.      Yes.
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09:39:35 1   Q.       Let's go to Table 2 on page 11.      You mentioned that

09:39:51 2   Truvada is a preferred regimen in this document; correct?

09:39:55 3   A.       Yes.

09:39:56 4   Q.       And we say preferred regimen for PEP?

09:40:01 5   A.       Yes.   It's part of preferred regimens for PEP.

09:40:07 6   Q.       And looking at preferred regimens at the top, the

09:40:14 7   first is NNRTI-based regimens, do you see that?

09:40:20 8   A.       Yes.

09:40:20 9   Q.       That's Efavirenz, plus Lamivudine, or Emtricitabine,

09:40:2510   plus Zidovudine, or Tenofovir, do you see that?

09:40:3111   A.       Yes.

09:40:3112   Q.       So that gives you, if I'm doing my math correctly,

09:40:3813   there is four options there just based on that?

09:40:4314   A.       Yes.   Four options plus Efavirenz.

09:40:4715   Q.       That's the limit of my statistics ability.        But this

09:40:5016   is a three drug combination, correct?

09:40:5217   A.       That's right, both of the regimens in this table are

09:40:5418   three-drug combinations.      And you have to remember at the

09:40:5819   time, again, this is -- I would call it a bet-hedging

09:41:0220   exercise.    The concern was if we're trying to prevent

09:41:0621   infection with a life threatening infection, let's throw

09:41:1022   everything at it we possibly can to make sure we get it

09:41:1423   right.   And as we said before, if two drugs are better than

09:41:1724   one, then three drugs should be better than two, and so

09:41:2125   maybe what we ought to be recommending is three drug
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09:41:24 1   regimens instead of two drug regimens and I think that was

09:41:28 2   the basis for the recommendations in this part of the table.

09:41:31 3   Q.      So then below that, the options are Kaletra plus

09:41:39 4   Lamivudine or Emtricitabine plus Zidovudine, do you see

09:41:43 5   that?

09:41:43 6   A.      Yes.

09:41:43 7   Q.      Depending on if you pick Lamivudine or Emtricitabine,

09:41:48 8   those are two different options there, right?

09:41:49 9   A.      Right.

09:41:5010   Q.      That's another three drug combination?

09:41:5311   A.      Yes.

09:41:5312   Q.      Looking at the top if you were to pick the Truvada,

09:41:5713   Emtricitabine and Tenofovir, first of all, it's paired also

09:42:0014   with Efavirenz as a paired regimen, correct?

09:42:0415   A.      That's right.

09:42:0516   Q.      And that's the same combination we saw at the end of

09:42:0817   the Winston article we were looking at?

09:42:1118   A.      That's right, keep in mind there was a coformulated

09:42:1419   three drug single tablet regimen of those three drugs being

09:42:1920   developed in 2005.

09:42:2021   Q.      And that was Atripla?

09:42:2222   A.      That was Atripla, for treatment, not for prevention.

09:42:2623   Q.      For treatment.     So with Truvada included with

09:42:3224   Efavirenz, that's 1 of 6 different options as a preferred

09:42:3525   regimen (E F A V I R E N Z) ?
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09:42:40 1   A.      Well, Truvada, I wouldn't call that a separate

09:42:43 2   choice, it was a co-formulation of Emtricitabine and

09:42:47 3   Tenofovir and you could combine that with Efavirenz and that

09:42:52 4   could hit your nucleoside combination.

09:42:54 5   Q.      If you pick that option, you still have five other

09:42:57 6   options if you didn't want to use Truvada for some reason?

09:43:01 7   A.      Are you including the protease inhibitor option?

09:43:06 8   Q.      Right, correct?

09:43:08 9   A.      Yeah, yes, that's would be correct.

09:43:1010   Q.      I didn't --

09:43:1111   A.      That would be one way of looking at it.         I was

09:43:1412   looking only at the NNRTI-based combinations.

09:43:1713   Q.      In addition to the preferred regimens, it also lists

09:43:2114   a number of alternative regimens.        If we can maybe zoom in

09:43:2715   on that.

09:43:2816   A.      Yes.

09:43:3217   Q.      And these are all three or more drug PEP regimens,

09:43:3718   correct?

09:43:3819   A.      Yes.    Again, these were three drug regimens for the

09:43:4420   reason I mentioned before, if two drugs are good, maybe

09:43:4721   three drugs are better, and it's a life threatening

09:43:5122   infection, at the time there was still I would say some

09:43:5423   uncertainty about whether it should be 2 or 3 drugs and

09:43:5724   that's also addressed in the guidelines.

09:44:0025   Q.      Okay.   And it's fair to say without getting into the
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09:44:04 1   numbers, have you calculated how many different drugs are

09:44:07 2   mentioned here?

09:44:07 3   A.      I haven't, but I will also point out that a person of

09:44:11 4   skill in the art looking at this table in 2005 wouldn't have

09:44:17 5   said, oh my God, there is 50 possible regimens here, which

09:44:20 6   one am I going to pick.      I think in 2005 it was already

09:44:24 7   known that of the nucleoside or nucleotide options on this

09:44:29 8   table, by far the best tolerated would have been Lamivudine,

09:44:35 9   3TC, which we talked about, Emtricitabine, FTC, which we

09:44:3910   talked about, and TDF, Tenofovir Disoproxil Fumarate, which

09:44:4311   we talked about.     And Lamivudine was only co-formulated at

09:44:4912   the time with Zidovudine, which was known to be a very toxic

09:44:5313   drug.   Tenofovir and Emtricitabine were co-formulated, that

09:44:5614   was two of the best tolerated drugs on this entire list in

09:45:0115   one co-formulated one tablet once a day regimen.          And would

09:45:0616   have risen to the top of the choices for a health care

09:45:1217   provider or a person of skill in the art reading this in

09:45:1518   2005.

09:45:1919   Q.      And you also could get information about the

09:45:2220   favorable tolerability of TDF and FTC from the 2004 Truvada

09:45:2721   label, correct?

09:45:3022   A.      Yes.

09:45:3123   Q.      Let's turn to the government binder, hopefully that's

09:45:3424   up there.    Actually it's not up there.      Let me do that.

09:45:4625                  MR. BROWN:   May I approach, Your Honor?
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09:45:47 1                   THE COURT:   Yes.

09:45:56 2   Q.      I would like to direct your attention, Dr. Flexner,

09:46:00 3   to what's been marked as PTX 1040, which I think is the

09:46:19 4   second tab?

09:46:21 5   A.      I have a PTX 1040 and it is a document entitled

09:46:28 6   United States Patent and Trademark Office, Gilead Sciences

09:46:32 7   versus United States of America.

09:46:35 8   Q.      Okay.    Do you recognize this as a decision on the

09:46:38 9   inter partes review petition regarding the '509 patent?

09:46:4410   A.      Yes, I do.

09:46:4511   Q.      Did you consider that decision in rendering opinions

09:46:5212   in your expert report?

09:46:5413   A.      I did, yes.

09:46:5514                   MR. BROWN:   At this time Your Honor, I would

09:46:5615   like to move for admission of PTX 1040.

09:46:5916                   MR. BASSETT:   No objection.

09:47:0017                   THE COURT:   Thank you.   It's admitted.

09:47:0318                   (PTX Exhibit No. 1040 was admitted into

09:47:0319   evidence.)

09:47:0320   BY MR. BROWN:

09:47:0421   Q.      Let's go to page 5 of the document.

09:47:0922   A.      Yes.

09:47:1023   Q.      If you can look at the chart near the top?

09:47:1824   A.      Yes.

09:47:2025   Q.      It states "petitioners asserts the following grounds
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09:47:23 1   of un-patentability."      And it has references, and it lists

09:47:27 2   two references, Smith and Szekeres, do you see that?

09:47:30 3   A.        Yes.

09:47:31 4   Q.        And looking at down below at footnote two, do you

09:47:37 5   recognize Smith to be the CDC guidelines from January 2005?

09:47:59 6   A.        Well, this is -- let me just check this.

09:48:08 7   Q.        Sure.

09:48:09 8   A.        This is 19 pages.   I believe the January guidelines

09:48:12 9   were 21 pages.     Yeah, it is -- it is the same reference, but

09:48:3610   this says 19 pages and my -- yeah, this --

09:48:4511   Q.        Your copy goes to 21?

09:48:4812   A.        Yeah.   Well this goes to 21 pages, this goes to

09:48:5213   21 pages, but I think that includes the cover sheet.           So

09:48:5614   that may be why it's 19 pages here.

09:49:0015   Q.        Going back to the top of the page, it indicates that

09:49:0716   Smith was asserted to anticipate claims 12 to 18 of the '509

09:49:1317   patent.    Do you see that?

09:49:1518   A.        Yes.

09:49:1519   Q.        And Smith in combination with a reference called

09:49:2020   "Szekeres" was asserted as rendering claims 1 to 18 as

09:49:2621   obvious, do you see that?

09:49:2822   A.        Yes.

09:49:2923   Q.        If we go ahead to a little bit later in the document,

09:49:3524   page 24.

09:49:4725   A.        Yes.
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09:49:49 1   Q.      First of all, it starts out at the top saying "first,

09:49:55 2   Smith expressly teaches post-exposure prophylaxis PEP, not

09:49:59 3   pre-exposure prophylaxis PrEP."       Do you see that?

09:50:02 4   A.      Yes.

09:50:03 5   Q.      Do you agree with that statement?

09:50:06 6   A.      Yes.   The Dawn Smith, et al. guidelines from

09:50:11 7   January 2005 address post-exposure prophylaxis, not

09:50:16 8   pre-exposure prophylaxis directly.

09:50:20 9   Q.      Then I want to direct your attention to the last

09:50:2410   paragraph on page 24.

09:50:2711   A.      Yes.

09:50:2812   Q.      And I'll just read this for you.        "Petitioner argues

09:50:3213   that Smith discloses the limitation of inefficacy

09:50:3614   inherently."    I won't read all the citation.       It goes on to

09:50:4015   say, but as patent owner points out, Smith itself discloses

09:50:4516   nPEP is not 100 percent effective.        At the next page at the

09:50:4917   top of page 25, it says and as explained above, petitioner's

09:50:5518   own product label for Truvada shows that the combination

09:50:5819   therapy of FTC and DTF, that may have been a typo, is not

09:51:0320   always effective in preventing acquisition of HIV.          Do you

09:51:0721   see that?

09:51:0722   A.      Yes.

09:51:0723   Q.      It concludes with this statement, "we are thus

09:51:1024   unpersuaded that petitioner has demonstrated that Smith

09:51:1425   discloses, expressly or inherently, the claimed efficacy."
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                                     Flexner - cross

09:51:18 1   Do you see that?

09:51:18 2   A.      I do.

09:51:21 3   Q.      Do you disagree with that statement?

09:51:23 4   A.      Well, I think there seems to be some confusion about

09:51:28 5   statements of -- about the limitation of the efficacy of PEP

09:51:36 6   or PrEP.   Neither PEP nor PrEP are 100 percent efficacious,

09:51:41 7   I think everyone agrees to that.       So citing the fact that

09:51:48 8   the Smith indicates -- that Smith discloses that nPEP is not

09:51:57 9   a hundred percent effective to me is not relevant to the

09:52:0210   issue at hand here because the patent, the government

09:52:0911   scientists who filed this patent, they weren't claiming a

09:52:1112   hundred percent efficacy, their experiment didn't show a

09:52:1613   hundred percent efficacy, they showed 50 percent efficacy.

09:52:1914   Q.      So do you believe Smith expressly discloses the

09:52:2215   claimed efficacy based on what it actually is?

09:52:2416   A.      I think a person of skill in the art could have read

09:52:2817   Smith in 2005, and knowing that if an intervention like

09:52:3418   Truvada was effective if given immediately after exposure to

09:52:4019   a virus, it should be at least as effective if not more

09:52:4520   effective when given before the exposure to the same virus.

09:52:4921   Q.      Do you understand this petition was wholly denied by

09:52:5222   the Patent Office?

09:52:5323   A.      I do understand that, yes.

09:52:5524   Q.      And it was done on the basis that the petitioner has

09:52:5925   not demonstrated a reasonable likelihood of prevailing on
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                                                                             223
                                     Flexner - cross

09:53:03 1   any grounds set forth in the petition?

09:53:05 2   A.      I understand that that's what the person examining

09:53:08 3   this objection -- I understand that's the conclusion they

09:53:12 4   came to.

09:53:13 5   Q.      And the CDC PEP guidelines, they weren't cited in the

09:53:17 6   '509 prosecution, that's your understanding?

09:53:19 7   A.      Not until 2017.

09:53:22 8   Q.      So they also weren't cited in the prosecution of the

09:53:26 9   '333 patent, is that your understanding?

09:53:2810   A.      The same issue, not until 2017.

09:53:3011   Q.      Let's go ahead in your binder to one tab, PTX 1041?

09:53:4012   A.      Yes.

09:53:4213   Q.      If we could turn -- first of all, do you recognize

09:53:4514   this document?

09:53:4615   A.      I do, yes.

09:53:4616   Q.      Is this the IPR decision regarding the petition that

09:53:5117   was filed on the '333 patent?

09:53:5318   A.      Yes.

09:53:5419                  MR. BROWN:   I move for admission of PTX 1041,

09:53:5720   Your Honor.

09:53:5721                  MR. BASSETT:   No objection, Your Honor.

09:53:5822                  THE COURT:   Okay.   Thank you.

09:54:0123                  (PTX Exhibit No. 1041 was admitted into

09:54:0224   evidence.)

09:54:0225   BY MR. BROWN:
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09:54:02 1   Q.      Let's go to page 7 of the document.        Looking again,

09:54:09 2   in this particular petition, it's noted that petitioner

09:54:13 3   challenged claims 12 to 17 as being anticipated by Smith,

09:54:21 4   correct?

09:54:21 5   A.      Yes.

09:54:21 6   Q.      And Smith again is the CDC PEP January 2005

09:54:26 7   guidelines, right?

09:54:27 8   A.      Yes, the same one.

09:54:28 9   Q.      And then Smith in combination with Szekeres was

09:54:3110   asserted as rendering claims 1 to 17 as obvious, correct?

09:54:3611   A.      Yes.

09:54:3812   Q.      Looking ahead in the document to page 28.         Under the

09:54:5613   header pre-exposure prophylaxis at the middle of the page.

09:55:0114   Do you see that?

09:55:0115   A.      Yes.

09:55:0216   Q.      It notes again in this petition, in this decision,

09:55:0717   sorry in this IPR decision, that Smith expressly teaches

09:55:1118   post-exposure prophylaxis, PEP, not pre-exposure prophylaxis

09:55:1519   PrEP, do you see that?

09:55:1620   A.      Yes.

09:55:1621   Q.      And you don't disagree with that?

09:55:1822   A.      I do not disagree with that, right.

09:55:2123   Q.      Going to the next page, top of the page, there is a

09:55:2524   header there, efficacy requirement?

09:55:2725   A.      Yes.
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                                                                             225


09:55:28 1   Q.       And then I just want to draw your attention to the

09:55:33 2   last two sentences beginning with because.         It says because

09:55:38 3   Smith does not describe administering the claimed

09:55:43 4   combination of agents as PrEP, it does not provide any

09:55:45 5   information about the efficacy of such a combination for

09:55:48 6   PrEP.    Do you agree with that statement?

09:55:52 7   A.       Well, again, as I said earlier, I think a person of

09:55:56 8   skill in the art reading PEP guidelines in 2005 recommending

09:56:01 9   the need for prevention in the pre-exposure prophylaxis

09:56:0610   setting and knowing what tools were available to do that,

09:56:1011   Smith is an endorsement of a use of a drug like Truvada for

09:56:1612   prevention, and I think by extension a drug used for

09:56:2213   prevention in the postexposure setting, as I said earlier,

09:56:2714   should be at least as effective if not more effective than

09:56:3115   the drug in the pre-exposure prophylaxis setting.

09:56:3416   Q.       This does not say all that?

09:56:3517   A.       This does not say that, no.

09:56:3818                  MR. BROWN:   I have no further questions, Your

09:56:3919   Honor.

09:56:3920                  THE COURT:   Thank you.    Redirect.

09:56:4221                  MR. BASSETT:   No redirect, Your Honor.

09:56:4322                  THE COURT:   All right.    Thank you.    Thank you,

09:56:4623   Dr. Flexner.

09:56:4624                  THE WITNESS:   Thank you.

09:57:2925                  MR. COX:   Your Honor, at this time Gilead plans
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                                                                             226


09:57:31 1   to offer prior trial testimony of Dr. Susan Siegel on

09:57:36 2   June 27, 2022, in the Court of Federal Claims.          Dr. Susan

09:57:41 3   Siegel is a patent agent of the law firm Klarquist Sparkman,

09:57:44 4   LLP, who prosecuted the patents-in-suit and who provided

09:57:48 5   testimony on among other things the prosecution history of

09:57:51 6   each of the CDC PrEP patents and subsequent continuations.

09:57:56 7   Dr. Siegel's prior testimony will be read into the record.

09:57:58 8   It takes about 30 minutes, 65 percent of the time, about

09:58:02 9   20 minutes should be charged to Gilead, and 35 percent of

09:58:0410   the time --

09:58:0511                 THE COURT:    All right.    I don't want to hear

09:58:0612   this, you can submit it and we'll just dock you 30, whatever

09:58:1013   the time is, but I can't sit here while you read to me about

09:58:1414   a prosecution history.

09:58:1615                 MR. COX:   With the designations, we move to

09:58:1916   admit JTX 1 into evidence, which is referenced as DX 418.

09:58:2317   The testimony also references JX 23 which has been

09:58:2818   previously submitted into evidence as JTX 5.         Thank you Your

09:58:3119   Honor.

09:58:3120                 THE COURT:    Is there any objection to that,

09:58:3421   Mr. Brown?

09:58:3522                 MR. BROWN:    No objection, Your Honor.

09:58:3623                 THE COURT:    All right.    Those two are admitted

09:58:3724   and we'll just include the time.       And we will read it.

09:58:4125                 Can you give us a copy of it so I can read it?
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                                                                             227


09:58:51 1                  MR. COX:   Yes.   Thank you, Your Honor.

09:59:03 2                  THE COURT:   I feel like I'm doing it for all of

09:59:05 3   us.

09:22:24 4                  (Trial Testimony of Susan Siegel:)

09:22:24 5   Q.      And thank you, Dr. Siegel, for appearing here today.

09:22:30 6   Dr. Siegel, you're a patent agent, correct?

09:22:35 7   A.      Yes.

09:22:36 8   Q.      And you work at a law firm called Klarquist Sparkman?

09:22:51 9   A.      Correct.

09:22:5210   Q.      And you have prosecuted patents for the United States

09:22:5811   Government?

09:22:5812   A.      Correct.

09:22:5913   Q.      And, in fact, you have prosecuted patents for the

09:23:5714   government for over 20 years, correct?

09:24:0215   A.      Correct.

09:24:0316   Q.      And you are currently prosecuting patents for the

09:24:0717   U.S. Government, right?

09:24:0918   A.      Correct.

09:24:1019   Q.      Please turn to Tab 2 in your binder, which is DTX

09:24:1720   418, which has already been admitted into evidence.           DTX 418

09:24:2321   is a copy of U.S. Patent No. 9,044,509, correct?

09:24:3022   A.      Correct.

09:24:3123   Q.      And we can refer to DTX 418 as the '509 patent,

09:24:3824   correct?

09:24:5725   A.      Correct.
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                                                                             228


09:24:57 1   Q.      You personally prosecuted this patent, correct?

09:25:02 2   A.      Yes.

09:25:03 3   Q.      The application that resulted in the '509 patent was

09:25:07 4   U.S. Patent Application No. 11/669547, correct?

09:25:14 5   A.      Correct.

09:25:18 6   Q.      And we can refer to that as the '547 application,

09:25:23 7   correct?

09:25:24 8   A.      Correct.

09:25:24 9   Q.      As of today, you're listed as an agent of record for

09:25:3510   the '547 application, correct?

09:25:3811   A.      Correct.

09:25:3912   Q.      Please turn to Tab 3 in your binder, which is one of

09:25:4413   the parties' joint exhibits that's marked as JX 23?

09:25:5214   A.      Yes.

09:25:5915   Q.      Fair enough.    Joint Exhibit 23 is a certified

09:26:0816   prosecution history of the '547 application, correct?

09:26:1417   A.      Correct.

09:26:1518   Q.      You took over prosecution of the '547 application in

09:26:2619   2014, correct?

09:26:2820   A.      Yes.

09:26:3121   Q.      Before you took over prosecution of the '547

09:26:4322   application, the proposed claims had been rejected as

09:26:4823   obvious, correct?

09:26:5024   A.      Yes.

09:26:5025   Q.      And the '547 application was filed on January 31st,
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 38 of 198 PageID #: 52870
                                                                             229


09:26:56 1   2007, correct?

09:27:07 2   A.      Correct.

09:27:07 3   Q.      If we take a look at page 29 of Joint Exhibit 23, the

09:27:14 4   claims that were originally filed with the '547 application

09:27:18 5   begin on this page, correct?

09:27:21 6   A.      Yes.

09:27:21 7   Q.      Original claim one of the '547 application states, "a

09:27:28 8   process of protecting a primate host from self-replicating

09:27:35 9   infection by an immunodeficiency retrovirus be comprising

09:27:4710   administering to the primate host a combination of a

09:27:5211   pharmaceutically effective amount of a nucleoside reverse

09:28:0112   transcriptase inhibitor and a pharmaceutically effective

09:28:0513   amount of a nucleotide reverse transcriptase inhibitor prior

09:28:1314   to exposure to the immunodeficiency retrovirus," correct?

09:28:1915   A.      Yes, that is correct.

09:28:2016   Q.      The word "Tenofovir" doesn't appear anywhere in

09:28:2717   original claim one of the '547 application, correct?

09:28:3118   A.      Correct.

09:28:3119   Q.      And the word "emtricitabine" does not appear anywhere

09:28:4020   in original claim 1 of the '547 application, correct?

09:28:5021   A.      Correct.

09:28:5122   Q.      Let's take a look at page 163 of the joint

09:28:5523   Exhibit 23.

09:28:5724   A.      Sorry?

09:28:5825   Q.      163.
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                                                                             230


09:29:06 1   A.      No, just there's a lot of pages.

09:29:10 2   Q.      And if it's easier, there is a screen to your right?

09:29:14 3   A.      Oh, I see.    Thank you.

09:29:16 4   Q.      The document that begins at page 163 is a

09:29:20 5   communication from the Patent Office related to the '547

09:29:24 6   application, correct?

09:29:30 7   A.      Yes.

09:29:31 8   Q.      And it's dated September 17th, 2009, correct?

09:29:36 9   A.      Yes.

09:29:3710   Q.      If you turn to the next page, which is page 164, this

09:29:4311   is an office action summary that was sent with the

09:29:4712   September 17th, 2009, communication, correct?

09:29:5213   A.      Yes.

09:29:5314   Q.      The Patent Office rejected each pending claim of the

09:30:0015   '547 application in this office action, correct?

09:30:0516   A.      Correct.

09:30:0617   Q.      And if you please turn to the next page of JX 23,

09:30:1418   which is page 165, with the September 17th, 2009, office

09:30:2219   action, the Patent Office rejected each pending claim on

09:30:2720   obviousness grounds, correct?

09:30:3021   A.      Correct.

09:30:3122   Q.      Please turn to page 247 of Joint Exhibit 23.

09:30:3723   A.      Okay.

09:30:3824   Q.      The document that begins on this page is a

09:30:4225   communication from the Patent Office related to the '547
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 40 of 198 PageID #: 52872
                                                                             231


09:30:50 1   application that's dated May 26th, 2010, correct?

09:30:56 2   A.      Correct.

09:30:58 3   Q.      And if you turn to the next page, this is an office

09:31:02 4   action summary that was sent with that May 26th, 2010,

09:31:10 5   communication; correct?

09:31:14 6   A.      Correct.

09:31:29 7   Q.      The Patent Office again rejected each pending claim

09:31:32 8   of the '547 application in this office action, correct?

09:31:37 9   A.      Correct.

09:31:3710   Q.      And if you turn to the next page, which is page 249,

09:31:4211   the Patent Office rejected each pending claim of the '547

09:31:4712   application on obviousness grounds, correct?

09:31:5213   A.      Correct.

09:31:5214   Q.      Please turn to page 413 of Joint Exhibit 23.

09:31:5815   A.      13, okay.

09:32:0016   Q.      The document that begins on this page is a

09:32:0317   communication from the Patent Office related to the '547

09:32:0718   application that's dated May 23rd, 2013, correct?

09:32:1419   A.      Correct.

09:32:1520   Q.      If you turn to the next page, this is an office

09:32:1921   action summary that was sent with the May the 23rd, 2013,

09:32:3022   communication, correct?

09:32:3223   A.      Correct.

09:32:3324   Q.      The Patent Office again rejected each pending claim

09:32:3725   of the '547 application in this May 23rd, 2013, office
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                                                                             232


09:32:52 1   action, correct?

09:32:53 2   A.      Correct.

09:32:58 3   Q.      In the May 23rd, 2013, office action, the Patent

09:33:04 4   Office rejected each pending claim on obviousness grounds,

09:33:09 5   correct?

09:33:09 6   A.      Obviousness.    Assuming claim 8 is canceled, which I

09:33:15 7   can't find anywhere.

09:33:16 8   Q.      Okay.   So all of the claims were rejected on

09:33:20 9   obviousness grounds with this on office action, correct?

09:33:2410   A.      Yes.

09:33:2511   Q.      Okay.   Let's turn to page 452.      The document that

09:33:2912   begins at page 452 of Joint Exhibit 23 is a communication

09:33:3513   from the Patent Office related to the '547 application

09:33:4414   that's dated November 7th, 2013, correct?

09:33:4915   A.      Correct.

09:33:5016   Q.      If you turn to the next page, this is, again, an

09:33:5517   office action summary that was sent with the November 7th,

09:34:0218   2013, communication, correct?

09:34:0419   A.      Correct.

09:34:0520   Q.      And the Patent Office again rejected each pending

09:34:1921   claim of the '547 application in this office action,

09:34:2422   correct?

09:34:2423   A.      Correct.

09:34:2524   Q.      And if you turn to the next page, which is page 454,

09:34:3025   the Patent Office rejected each of the pending claims on
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 42 of 198 PageID #: 52874
                                                                             233


09:34:34 1   obviousness grounds, correct?

09:34:37 2   A.      Correct.

09:34:37 3   Q.      So as of November 7th, 2013, the claims of the '547

09:34:44 4   application has been rejected at least four times, correct?

09:34:50 5   A.      Correct.

09:34:59 6   Q.      Have you ever spoken with any of the named inventors

09:35:03 7   on the '547 application?

09:35:05 8   A.      I have spoken to two of the named inventors.

09:35:08 9   Q.      Dr. Gerardo Garcia-Lerma is one of the named

09:35:1610   inventors, correct?

09:35:1911   A.      Yes.

09:35:1912   Q.      And you have spoken with him, correct?

09:35:2413   A.      Yes.

09:35:2514   Q.      Dr. Walid Heneine is another of the named inventors,

09:35:5715   correct?

09:35:5916   A.      Yes.

09:35:5917   Q.      And you have spoken with him, correct?

09:36:0318   A.      Yes.

09:36:0319   Q.      And since you took over prosecution, you have

09:36:1120   regularly communicated with Dr. Heneine, correct?

09:36:1521   A.      At different times during prosecution of different

09:36:2022   patent applications, I have spoken with Dr. Heneine.

09:36:2823   Q.      You've spoken with Dr. Heneine at least every year

09:36:3524   since 2014, correct?

09:36:3725   A.      I have not spoken to him recently.        Probably not in
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                                                                             234


09:36:41 1   the last couple years.

09:36:43 2   Q.      Okay.    But in 2014, you communicated with him,

09:36:48 3   correct?

09:36:49 4   A.      I don't recall.     I think there's a declaration in

09:36:53 5   here that has a date on it, so I would have communicated to

09:36:58 6   him at that time.      I just don't recall what date that was.

09:37:03 7   Q.      Right.   You were at least involved in correspondence

09:37:15 8   with Dr. Heneine in 2014, correct?

09:37:18 9   A.      Yes.    Yes.

09:37:1910   Q.      Let's take a look at page 768 of Joint Exhibit 23.

09:37:2511   A.      Okay.

09:37:2712   Q.      The document that begins on this page is an

09:37:3013   information disclosure statement that was submitted with the

09:37:3614   '547 application, correct?

09:37:4215   A.      Yes.

09:37:4316   Q.      And you signed this information disclosure statement,

09:37:4717   correct?

09:37:4718   A.      Yes.

09:37:4819   Q.      You filed this information disclosure statement with

09:38:0220   the Patent Office on June 21st, 2014, correct?

09:38:0821   A.      Yes.

09:38:0822   Q.      And if you would, please, turn to the next page,

09:38:1423   which is page 769.     You disclosed a total of eleven

09:38:1924   references to the Patent Office on this date, correct?

09:38:2325   A.      On this date, yes.
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 44 of 198 PageID #: 52876
                                                                             235


09:38:25 1   Q.      One of the references you disclosed to the Patent

09:38:37 2   Office on July 21st, 2014, was an article by Grant that was

09:38:43 3   published in the New England Journal of Medicine, correct?

09:38:49 4   A.      Yes.

09:38:49 5   Q.      And the Grant article had not been submitted to the

09:38:55 6   Patent Office during prosecution of the '547 application

09:38:59 7   before you submitted it on July 21st, 2014, correct?

09:39:16 8   A.      Yes.    I believe that that particular reference is

09:39:20 9   discussed in some of the office action responses because

09:39:2410   it's a big volume.     I don't remember if those were before or

09:39:2811   after, but there was an office action that referred to this,

09:39:3412   an office response that referred to this.         I don't know what

09:39:4313   date that was on.

09:39:4414   Q.      Okay.   The document that begins on page 655 is the

09:39:5015   article by Grant that you submitted with that July 21st,

09:39:5616   2014, information disclosure statement, correct?

09:39:5917   A.      Yes, that's correct.

09:40:2018   Q.      The Grant article refers to a clinical trial,

09:40:2419   correct?

09:40:2520   A.      Yes.

09:40:2521   Q.      And the Grant article describes a study in which

09:40:3222   2,499 HIV seronegative men or transgender women who have sex

09:40:4223   with men received a combination of two oral antiretroviral

09:40:5424   drugs or placebo once daily, correct?

09:41:0025   A.      Yes.
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                                                                             236


09:41:00 1   Q.      One of those drugs was Emtricitabine, correct?

09:41:16 2   A.      Yes.

09:41:16 3   Q.      The other drug was TDF, correct?

09:41:19 4   A.      Yes.

09:41:20 5   Q.      That's the same combination of drugs that's in

09:41:25 6   Truvada, correct?

09:41:26 7   A.      Yes.

09:41:26 8   Q.      The Grant study concluded that oral FTC-TDF provided

09:41:35 9   protection against the acquisition of HIV infection among

09:41:4010   the subjects, correct?

09:41:4311   A.      Yes.

09:41:4512   Q.      And to be clear, the subjects in the Grant article

09:41:5013   were humans, correct?

09:41:5114   A.      Yes.

09:41:5215   Q.      The subjects in the Grant study were not monkeys,

09:41:5816   correct?

09:41:5817   A.      No -- well, yes, it is correct.       They were not

09:42:0318   monkeys.

09:42:0419   Q.      Let's turn to page 561 of Joint Exhibit 23.

09:42:1120   A.      561, okay.

09:42:1521   Q.      The document that begins on this page is an amendment

09:42:2022   that was filed on the '547 application, correct?

09:42:3723   A.      Correct.

09:42:3724   Q.      And that was filed on July 21st, 2014, correct?

09:42:4325   A.      Correct.
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                                                                             237


09:42:43 1   Q.      And this is the amendment that you were referring to

09:42:49 2   a moment ago when we were looking at the information

09:42:53 3   disclosure statement, correct?

09:42:55 4   A.      Yes.    I just didn't remember the date of it.

09:43:09 5   Q.      And this is the same day that you filed the

09:43:13 6   information disclosure statement containing the Grant

09:43:17 7   article, right?

09:43:18 8   A.      Yes.

09:43:18 9   Q.      Okay.    And if you would please turn to the last page

09:43:2310   of the amendment, which is on page 578 of Joint Exhibit 23.

09:43:2911   A.      Um-hum.

09:43:3912   Q.      That's your signature, correct?

09:43:4113   A.      Yes.

09:43:4214   Q.      So you signed this amendment?

09:43:4415   A.      I did.

09:43:4516   Q.      If you would please turn back to page 3 of the

09:43:4917   amendment, which is page 563 in the exhibit.

09:43:5318   A.      Um-hum.

09:44:0219   Q.      You amended some of the existing claims of the '547

09:44:0620   application with this amendment, correct?

09:44:0921   A.      Yes.

09:44:1022   Q.      And you also added new claims to the '547 application

09:44:1523   of this amendment, correct?

09:44:2424   A.      Yes.

09:44:2625   Q.      Specifically, you added claims 22 through 40,
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                                                                             238


09:44:30 1   correct?

09:44:31 2   A.      Yes.

09:44:31 3   Q.      And the word "Emtricitabine" does not appear in new

09:44:37 4   claim 22, correct?

09:44:40 5   A.      Yes.

09:44:40 6   Q.      The word "Tenofovir" does appear in new claim 22,

09:44:50 7   correct?

09:44:51 8   A.      Yes.

09:44:51 9   Q.      The phrase "Tenofovir Disoproxil Fumarate" appears in

09:44:5910   new claim 22, correct?

09:45:0111   A.      Yes.

09:45:0112   Q.      And that's the long name for TDF, correct?

09:45:0613   A.      Correct.    It's easier to say TDF.

09:45:1014   Q.      It is.   Claim 22 also refers to a primate host,

09:45:1815   correct?

09:45:1816   A.      It does.

09:45:2017   Q.      And that would include a human, correct?

09:45:2418   A.      Yes.

09:45:2519   Q.      That would include a homosexual man, correct?

09:45:4320   A.      Yes.

09:45:4421   Q.      That would include a heterosexual man, correct?

09:45:5022   A.      It includes all humans.

09:45:5223   Q.      If you would please turn to page 9 of the amendment,

09:45:5624   which is on the page of the exhibit that is 569.          You

09:46:0625   submitted remarks with the July 21st, 2014, amendment,
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                                                                             239


09:46:11 1   correct?

09:46:12 2   A.      Yes.

09:46:12 3   Q.      And these are arguments that you made to the examiner

09:46:18 4   to persuade her to issue the amended claims, correct?

09:46:22 5   A.      Yes.   This is a standard format.       The examiner's a

09:46:28 6   man.

09:46:28 7   Q.      All right.    Please turn to page 16 of the amendment,

09:46:32 8   which is on page 576 of the exhibit.

09:46:37 9   A.      Um-hum.

09:46:3910   Q.      Section 3 is entitled "evidence of unexpected

09:46:4811   superior results," correct?

09:46:5112   A.      Yes.

09:46:5113   Q.      And the purpose of this section was to overcome a

09:46:5514   prima facie case of obviousness if the Patent Office

09:47:0215   determined that there was one, correct?

09:47:1516   A.      Yes.

09:47:1617   Q.      If you would please turn to the next page of the

09:47:2118   amendment, which is page 17 of the response, the last

09:47:2519   paragraph refers to the Grant article, correct?

09:47:2820   A.      Yes.

09:47:3221   Q.      And the Grant article was about a human clinical

09:47:3622   trial, correct?

09:47:3823   A.      Yes.

09:47:3824   Q.      And you've cited the Grant article to the Patent

09:47:4325   Office to argue that the claims of the '547 application
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                                                                             240


09:47:47 1   should issue, correct?

09:47:49 2   A.      Yes.   That, in addition to them -- the monkey data on

09:47:54 3   the previous page.

09:47:56 4   Q.      You had an interview with the patent examiner after

09:48:00 5   filing this amendment, correct?

09:48:02 6   A.      Yes.

09:48:03 7   Q.      And please turn to page 777 of the exhibit.

09:48:08 8   A.      Yes.

09:48:08 9   Q.      This is a summary of an interview that you had with

09:48:1310   the patent examiner about the '547 application on

09:48:1911   December 16th, 2014, correct?

09:48:2212   A.      Yes.

09:48:2313   Q.      This summary was prepared by the patent examiner,

09:48:3614   correct?

09:48:3915   A.      Yes.

09:48:3916   Q.      And you received this summary from the patent

09:48:4217   examiner, correct?

09:48:4418   A.      Correct.

09:48:4419   Q.      The summary -- this summary accurately reflects the

09:48:5020   discussion in the interview, correct?

09:48:5721   A.      Yes.

09:48:5722   Q.      You discussed all of the references that were cited

09:49:0223   in your July 21st, 2014, remarks with the examiner during

09:49:0724   this interview, right?

09:49:0925   A.      We went through the entirety of the response with the
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                                                                             241


09:49:13 1   examiner, yes.

09:49:15 2   Q.      Okay.    So you discussed the Grant article with the

09:49:20 3   examiner, correct?

09:49:22 4   A.      Yes.

09:49:23 5   Q.      The purpose of this interview was to persuade the

09:49:28 6   examiner that the claims of the '547 application should

09:49:33 7   issue, correct?

09:49:35 8   A.      Yes.

09:49:35 9   Q.      You had another interview with the patent examiner

09:49:3910   after this one, right?

09:49:4111   A.      I did.

09:49:4712   Q.      Please turn to page 783.      Page 783 is a summary of a

09:49:5413   second interview that you had with the patent examiner

09:50:0414   related to this application, correct?

09:50:0715   A.      Yes.

09:50:0716   Q.      And this was dated December 19th, 2014, correct?

09:50:1217   A.      Yes.

09:50:1318   Q.      So that interview -- this interview happened three

09:50:1719   days after the last one we looked at, correct?

09:50:2220   A.      Correct.

09:50:3221   Q.      This summary was prepared by the patent examiner,

09:50:3722   correct?

09:50:3823   A.      Yes.

09:50:3824   Q.      And you received the summary from the examiner,

09:50:4125   correct?
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                                                                             242


09:50:41 1   A.      Yes.

09:50:42 2   Q.      You discussed the Grant article with the examiner

09:50:45 3   during this call, correct?

09:50:47 4   A.      I believe we revisited much of what was already in

09:50:51 5   that response again, but we certainly did discuss the Grant

09:50:57 6   reference in addition to I believe the remainder of it.

09:51:03 7   Q.      Now, the last sentence of the examiner's summary

09:51:16 8   states, "the examiner indicates that such claims are

09:51:20 9   allowable in view of the high unpredictability of

09:51:2810   chemoprophylaxis against HIV infection and the superior and

09:51:3311   unexpected results shown in the application and exhibits,

09:51:3712   particularly, Grant reference."       Correct?

09:51:4713   A.      That is correct.

09:51:4814   Q.      Now, the patent examiner allowed the claims to issue

09:51:5215   after this interview, correct?

09:51:5416   A.      Yes.

09:51:5417   Q.      Please turn to page 779.

09:51:5818   A.      779?

09:52:0119   Q.      That's right.

09:52:0320   A.      I had it backwards.     Sorry.    Yes.

09:52:0621   Q.      This is a notice of allowance for the '547

09:52:1122   application that was mailed January 8th, 2015, correct?

09:52:1623   A.      Yes.

09:52:1624   Q.      So a couple of weeks after that interview that we

09:52:2025   just looked at, correct?
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 52 of 198 PageID #: 52884
                                                                             243


09:52:25 1   A.      Yes.   I'm trying to find the mail date really

09:52:33 2   quickly.   Oh, there it is, okay.      Yes.

09:52:36 3   Q.      Please turn to page 785.      Page 785 are remarks

09:52:42 4   prepared by the examiner that accompanied the notice of

09:52:46 5   allowance, correct?

09:52:48 6   A.      Yes.

09:52:49 7   Q.      The examiner made a final amendment to the claims

09:52:59 8   with the notice of allowance, correct?

09:53:02 9   A.      Yes.

09:53:0310   Q.      And the examiner notes that you authorized that

09:53:0611   amendment during the December 19th, 2014, call, correct?

09:53:1812   A.      Correct.

09:53:1813   Q.      Let's turn to the next page, which is page 786.          The

09:53:2414   examiner's reasons for allowance begin at paragraph 4,

09:53:2815   correct?

09:53:2916   A.      Correct.

09:53:2917   Q.      If you would, please, turn to the next page.          The

09:53:3518   last sentence of paragraph 4 states, "importantly, the

09:53:4019   application shows that the combination has superior effect

09:53:4320   as compared to tenofovir alone in animal model and evidences

09:53:4921   on the record has shown the claimed combination has

09:53:5322   clinically significant results, which would have not been

09:53:5723   expected in view of the prior art as a whole (page 17 of the

09:54:0624   response and Grant, et al.)"

09:54:1225                  Correct?
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                                                                             244


09:54:12 1   A.      It does say that.

09:54:14 2   Q.      Clinically significant results means results in

09:54:19 3   human, correct?

09:54:20 4   A.      Yes.

09:54:20 5   Q.      And Grant, et al., refers to the human clinical

09:54:31 6   trial, correct?

09:54:32 7   A.      Yes.

09:54:33 8   Q.      If you would please turn to page 799, this is an

09:54:39 9   index comparing the original claim numbers in the '547

09:54:4710   application to the claim numbers in the issued '509 patent,

09:54:5211   correct?

09:55:0712   A.      Yes.

09:55:0813   Q.      Claim 1 in the issued '509 patent was claim 22 in the

09:55:1714   '547 application, correct?

09:55:1815   A.      Say that again.

09:55:2016   Q.      Sure.   Claim 1 in the issued '509 patent was claim 22

09:55:2617   in the '547 application, correct?

09:55:2818   A.      Yes.

09:56:1019   Q.      And claim 22 of the '547 application is a claim that

09:56:1520   you added with the July 21st, 2014, amendment, correct?

09:56:2021   A.      Yes.

09:56:2122   Q.      And, in fact, every claim in the issued '509 patent

09:56:2623   was a claim that you added in the July 21st, 2014,

09:56:3324   amendment, correct?

09:56:4125   A.      Yes.
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                                                                             245


09:56:42 1   Q.      If you would please turn to page 845 of the exhibit,

09:56:51 2   this is a letter to the Patent Office that you signed,

09:56:55 3   correct?

09:56:56 4   A.      Yes.

09:56:58 5   Q.      And you signed this letter of the Patent Office on

09:57:08 6   April 6th, 2015, correct?

09:57:10 7   A.      Yes.

09:57:11 8   Q.      You submitted an issue fee of $960 with this letter,

09:57:20 9   correct?

09:57:2110   A.      Yes.

09:57:2111   Q.      And after you paid that issue fee, the '509 patent

09:57:2512   issued, correct?

09:57:2713   A.      Correct.

09:57:3714   Q.      You filed eight more patent applications that claim

09:57:4015   priority to the '547 application, correct?

09:57:4716   A.      Yes.

09:57:4817   Q.      Four of those continuation applications are still

09:57:5318   pending before the Patent Office, correct?

09:57:5519   A.      Yes.

09:57:5620   Q.      So you're continuing to prosecute those continuation

09:58:0421   applications today, correct?

09:58:0522   A.      Yes.

09:58:0623   Q.      Those four patent applications that are still pending

09:58:1024   today are also directed to the use of TDF and FTC for PrEP,

09:58:1525   correct?
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                                                                             246


09:58:16 1   A.      Yes.

09:58:16 2   Q.      So to sum up, the '547 application was rejected by

09:58:23 3   the Patent Office at least four times, correct?

09:58:26 4   A.      Yes.

09:58:26 5   Q.      Then you amended the claims, correct?

09:58:29 6   A.      Yes.    The claims may have been amended in between.            I

09:58:33 7   don't -- I can't recall if they were amended in between

09:58:39 8   filing and when I took over prosecution.

09:58:42 9   Q.      Okay.    But when you took over, you amended the

09:58:4710   claims, correct?

09:58:4711   A.      Correct.

09:58:4812   Q.      At the same time you amended the claims, you

09:58:5213   submitted the Grant human trial results to the Patent

09:58:5714   Office, right?

09:59:0515   A.      Along with eleven other references, yes.

09:59:0816   Q.      And then the patent examiner allowed the '509 patent

09:59:1217   to issue, correct?

09:59:1318   A.      Yes.

09:59:1419   Q.      And since the '509 patent was issued, you have

09:59:1920   continued to seek patents for the government for TDF and FTC

09:59:2921   for PrEP, correct?

09:59:3022   A.      Yes.

09:59:3923   Q.      All right.    Now, Dr. Siegel, JX 23 is what's known as

09:59:4524   the file wrapper of the '547 application.         Is that correct?

09:59:5025   A.      Yes.
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09:59:51 1   Q.        And is the file wrapper another name for prosecution

09:59:55 2   history?

09:59:55 3   A.        Yes.

10:00:02 4   Q.        And what do you understand prosecution history to

10:00:09 5   mean?

10:00:10 6   A.        So prosecution history is everything that you give to

10:00:13 7   the Patent Office and everything the Patent Office sends

10:00:16 8   back to you.      So it's everything that is submitted to the

10:00:21 9   Patent Office and everything that you receive from the

10:00:2410   Patent Office.

10:00:2511   Q.        Thank you very much.

10:00:2712                    If a document or a reference is not included in

10:00:3213   the file wrapper, if it's not in JX 23, is it part of the

10:00:3814   prosecution history leading to the issuance of the '509

10:00:4215   patent?

10:00:4216   A.        No.    There were a lot of negatives, but, in other

10:00:4717   words, if it's outside of this, it's not in.

10:00:5818   Q.        Once an inventor files an application, in your

10:01:0419   understanding, can they add new subject matter to the

10:01:0920   application?

10:01:1021   A.        Absolutely not.

10:01:1822   Q.        Why not?

10:01:1923   A.        There's a prohibition by statute.      It's 45 USC, it's

10:01:3024   132 and 112, so you cannot add anything there, period.

10:01:3525   Q.        What do you understand "new subject matter" to mean?
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                                                                             248


10:02:16 1   A.      Anything outside the scope of what is in the

10:02:22 2   specification, claims and figures.

10:02:24 3   Q.      Is Macaque model data an accepted model in the HIV

10:02:34 4   arts?

10:02:40 5   A.      Yes.

10:02:41 6   Q.      Dr. Siegel, in your understanding, is the Macaque

10:02:47 7   model accepted as an art -- sorry, is the Macaque model an

10:02:55 8   accepted HIV model in the art?

10:02:57 9   A.      So I prosecute a whole lot of patent applications in

10:03:0310   the HIV field.    The Macaque model is pretty much always what

10:03:1011   they use.     So I do it for a number of different clients.

10:03:1512   The NIH is one of them, but certainly like for Oregon Health

10:03:2213   and Science University, they also have a Macaque colony.

10:03:2714   This is considered the art accepted, this is standard

10:03:3215   evidence that I would have in the patent document.

10:03:4116   Q.      Does the Patent Office always accept the Macaque

10:03:4517   model in your understanding?

10:03:4718   A.      No.    As a matter of fact, they did not.

10:03:5319   Q.      When did they not accept the Macaque model?

10:03:5620   A.      There was a shift -- gosh, I have been prosecuting

10:04:0721   patents for a pretty long time.       So I worked at Fish &

10:04:1322   Richardson before I worked for Klarquist Sparkman, and I

10:04:1823   prosecuted patents at that time in the HIV field, and at

10:04:2324   that time it was pretty much that you couldn't get patents

10:04:2625   on HIV drugs.    The Patent Office had the opinion that it was
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                                                                             249


10:04:34 1   -- you could not solve this problem.        It was an unsolvable

10:04:38 2   problem.

10:04:38 3                 It was like treating cancer.       You couldn't get a

10:04:43 4   patent on treating cancer because it was not possible to

10:04:48 5   treat cancer, and as biology and understanding and the law

10:04:53 6   changed, there was a shift.       There were some guidelines that

10:04:59 7   shifted on written description, enablement and utility.           It

10:05:04 8   was before I came to Klarquist Sparkman.

10:05:09 9                 And at that point the Patent Office changed its

10:05:1310   opinion, and it changed to -- it actually says in the manual

10:05:1711   -- the manual of patent examination procedure, the MCEP, it

10:05:3112   says that clinical trial data is not required, and our

10:05:3513   accepted animal model will be accepted.         In this case it is

10:05:4014   an art accepted animal model and it should be accepted by

10:05:4615   the Patent Office, and that shift probably occurred -- oh, I

10:05:5016   came to Klarquist in '99, so it must have been sometimes

10:05:5817   '97ish, '98ish.     I don't recall exactly.      That's too far for

10:06:0618   my memory, I'm sorry.

10:06:1619   Q.      Mr. Cook mentioned clinical trial data.         How often do

10:06:4220   you have clinical trial data in patent applications?

10:06:4521   A.      Pretty rarely.     I mean, it's different for different

10:06:5122   clients.   I do a lot of work for universities.         They rarely,

10:06:5523   if ever, have clinical trial data.        Clinical trials are

10:07:0024   usually public things, like multicenter clinical trials, and

10:07:0625   my understanding -- again, only in the patent world, right,
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                                                                             250


10:07:10 1   I don't run clinical trials, but we might have perhaps data

10:07:16 2   in a few patients that I usually see on my patent

10:07:21 3   applications, but not clinical trial data.

10:07:33 4   Q.        If you could turn to the next page -- to two pages

10:07:37 5   later, 563, and we looked at this listing of claims with

10:07:43 6   Mr. Cook.

10:07:48 7   A.        Yes.

10:07:48 8   Q.        Is this where you were making amendments to the

10:07:52 9   claims?

10:07:5310   A.        Yes.

10:07:5311   Q.        And what do you mean when you say you were amending

10:07:5712   the claims?

10:07:5813   A.        So that's when you change the claims in any way.        The

10:08:0314   claims have to be supported by the specification itself, but

10:08:0715   it's any changes to the claims, as long as they're supported

10:08:1216   by the specification.

10:08:1317   Q.        Were you adding new subject matter to the application

10:08:1718   when you amended the claims?

10:08:1919   A.        No.

10:08:2020   Q.        Let's turn to page 569.    What do you understand --

10:08:2621   oh, sorry.       Are you there?

10:08:3022   A.        Yeah, I'm here.

10:08:3423   Q.        All right.    Is there a Section 1, "support for claim

10:08:4524   amendments and new claims presented?"

10:08:5025   A.        Yes.
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                                                                             251


10:08:50 1   Q.      Okay.   What do you understand Section 1 to be

10:08:54 2   discussing?

10:08:54 3   A.      So Section 1 sets out support in the original

10:09:05 4   specifications, the paragraph, figures, whatever it is,

10:09:09 5   where you direct the examiner to what you've done and where

10:09:14 6   it's supported.     You're not required to list every point of

10:09:19 7   it.   It will say support for the new claims can be found

10:09:24 8   throughout the specification, which it does, and then it

10:09:28 9   says not limited to, but it directs the examiner to help

10:09:3310   them find where the exact literal support, the support for

10:09:3711   the claims are.

10:09:3912   Q.      Why are you identifying support in the specification

10:09:4313   to the examiner?

10:09:4514   A.      Because the claims have to be actually supported by

10:09:4915   the specification.     There can be no new matter added.

10:10:0516   Q.      And in the bottom paragraph you looked at with

10:10:1017   Mr. Cook, which begins, "another post-filing publication

10:10:1618   that evidences the unexpected superior effect of an

10:10:2019   exemplary claimed combination in preventing HIV infection is

10:10:2620   Grant, et al.," and then the title of the article.          Do you

10:10:3921   see that?

10:10:4022   A.      Yes.

10:10:4023   Q.      Is that article, the Grant article, of record?

10:10:4424   A.      Yes.

10:10:4525   Q.      Okay.   How are you able to cite published studies
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 61 of 198 PageID #: 52893
                                                                             252


10:10:49 1   that come later in time in an application when the

10:10:53 2   application is not supposed to add new matter?

10:10:57 3   A.        Well, it's not adding to the patent application

10:11:01 4   itself.    So the original claims have to be supported by the

10:11:05 5   specification.    The -- especially here, you know, the

10:11:10 6   applicant can't necessarily know what examiner -- what

10:11:23 7   rejection an examiner is going to raise.         What they can do

10:11:27 8   is they can show how that original data supports their

10:11:36 9   claim, and they can use other post-filing date evidence to

10:11:4010   show that what they originally described is true.

10:11:4711                  So what was originally present in the text, what

10:11:5212   they originally stated, what's originally supported, yes,

10:11:5713   that was borne out by others.       Yes, that was borne out by

10:12:0314   later studies.    So you're allowed to submit post-filing date

10:12:0915   evidence as a showing of an unexpected superior result.

10:12:1416                  So as an example, an examiner might raise

10:12:1917   something, and he might compare it to a particular

10:12:2318   reference, and you're then allowed to submit comparative

10:12:2819   data.   So I've compared apples to oranges.        I've described

10:12:3420   oranges, but I want to compare it to apples now, and you

10:12:4021   might not have done that comparison later.

10:12:4322                  The same thing holds true with clinical data.            I

10:12:4923   mean, we often will get it later, and we'll say, yes, what

10:12:5924   the animal model showed is now corroborated by my clinical

10:13:0525   data.
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                                                                             253


10:13:06 1   Q.      Let's turn to page 769 of the application.

10:13:11 2   A.      769 of the -- of the --

10:13:15 3   Q.      Of JX 23.

10:13:17 4   A.      Okay.

10:13:24 5   Q.      Thank you.

10:13:26 6   A.      Sorry.

10:13:26 7   Q.      No, thank you.

10:13:28 8   A.      Yes.

10:13:29 9   Q.      And we looked at this with Mr. Cook?

10:13:3210   A.      Yes, we looked at this with Mr. Cook.

10:13:3511   Q.      Okay.    And what is this?

10:13:3712   A.      This is the information disclosure statement.          This

10:13:4113   is the 1449 that accompanies the statement on the prior

10:13:4714   page, and it was filed on July 21st of 2014.

10:13:5115   Q.      And what does an information disclosure statement do?

10:13:5516   A.      It makes a record, various references for the

10:13:5817   examiner's consideration.

10:14:0618   Q.      I see at the top there's a listing of a notice in

10:14:1119   opposition briefing on the information disclosure statement.

10:14:1620   A.      That's correct.

10:14:1721   Q.      What is that?

10:14:2422   A.      So there was a European opposition that occurred at

10:14:3023   the same time.    It was related to that PC -- there's a PCT

10:14:3624   patent application, an international patent application that

10:14:4125   was a European application.       It was granted as a European
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10:14:47 1   patent.    There was an opposition, a third-party opposition

10:14:53 2   to that patent, and this was the opposition filing for that,

10:14:58 3   and I participated in that a long time ago.

10:15:02 4   Q.        So when you say an opposition filing, these are the

10:15:06 5   arguments that were made in Europe about why the European

10:15:12 6   patent was invalid?

10:15:14 7   A.        Correct.   I believe that is a notice of opposition,

10:15:18 8   an opposition brief, yes, that's correct.         Sorry.

10:15:23 9   Q.        No, not at all.   You were involved in that

10:15:2810   proceeding, you said?

10:15:2911   A.        I was.   It was interesting, and the patent was

10:15:3312   maintained.

10:15:3913   Q.        And when you say "maintained," you mean that it --

10:15:4614   what do you mean by "maintained"?

10:15:5015   A.        Maintained is -- at this point the European -- at

10:15:5516   this point, it was a European patent, we gave the Patent

10:15:5917   Office this notice of opposition and brief.         Later on, I

10:16:0318   participated in that, and in Europe, it's a little different

10:16:0819   than here.    They amended the claims during that opposition.

10:16:1420   You're allowed to amend the claims of the patent to be

10:16:2421   narrower in scope.     They were actually amended to be very

10:16:3122   similar to what granted here, and they were maintained, but

10:16:3523   these are the original remarks from that European council.

10:16:4224   Q.        Thinking about the European patent opposition, was

10:16:4625   there anything unusual that happened to you after that?
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10:16:49 1   A.      Yeah.    That was a weird one.     So in this case the --

10:16:55 2   the claims were maintained to be similar to what these

10:16:58 3   claims were here.     I went back to my hotel room and my phone

10:17:08 4   rang, which I don't think has ever happened to me after a

10:17:19 5   proceeding, and a licensee was on the phone, and they said

10:17:23 6   we'd like to license this patent.        I don't do licensing, I'm

10:17:28 7   only a patent prosecutor.      My expertise is only in

10:17:33 8   prosecution.     I don't do licensing for the government.

10:17:38 9                   It was a representative from Mylan, and I put

10:17:4610   them in touch with a representative from the NIH, who does

10:17:5011   the licensing.

10:17:5812   Q.      Okay.    Could you please turn with me to page 779.

10:18:0313   A.      779?

10:18:0614   Q.      I think we looked at this with Mr. Cook.

10:18:0915   A.      Yes.

10:18:1516   Q.      Is there any clinical trial referenced in this

10:18:1817   summary other than the Grant clinical trial?

10:18:2118   A.      No.    It says, "the unexpected results shown in the

10:18:3019   application and the exhibits, particularly the grant

10:18:3320   reference," so the Grant would be the only clinical trial.

10:18:4321   Q.      Let's go to page 784.

10:18:4722   A.      784, okay.

10:18:4923   Q.      And what is this?

10:18:5124   A.      This is a notice of allowability accompanying that

10:18:5525   notice of allowance.
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10:18:58 1   Q.        Okay.   And then on the next page, page 785.

10:19:04 2   A.        785, yes.

10:19:09 3   Q.        And you looked at this with Mr. Cook?

10:19:11 4   A.        Yes.

10:19:12 5   Q.        And I see the second section is "examiner's

10:19:17 6   amendment."

10:19:18 7   A.        Yes.

10:19:19 8   Q.        Do the amendments made by the examiner add new

10:19:23 9   matter?

10:19:2410   A.        The examiner cannot add new matter.

10:19:3311   Q.        During the prosecution of this application, do you

10:19:3812   recall ever receiving a rejection under 35 USC 132 for

10:19:4813   introducing new matter into the application?

10:19:5114   A.        No.

10:19:5215   Q.        During the prosecution of this application, do you

10:19:5616   recall ever receiving a rejection under 35 USC 112,

10:20:0117   paragraph 1, for amending a claim without support from the

10:20:0518   originally filed disclosure?

10:20:0819   A.        No.

10:20:0920   Q.        So to your understanding, the issued claims of the

10:20:1321   '509 patent were not found by the examiner to contain new

10:20:1822   matter?

10:20:2023   A.        No.

10:20:2024   Q.        So to your understanding, the issued claims of the

10:20:2525   '509 patent were not found by the examiner to contain new
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 66 of 198 PageID #: 52898
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10:20:29 1   matter?

10:20:29 2   A.        Correct.

10:20:30 3   Q.        And to your understanding, the issued claims of the

10:20:34 4   '509 patent were not found by the examiner to lack support

10:20:39 5   in the originally filed disclosure?

10:20:45 6   A.        Correct.

10:20:52 7   Q.        So the -- you mentioned the European opposition with

10:20:59 8   Mr. Holvey.      Do you recall that?

10:21:02 9   A.        Yes.

10:21:0210   Q.        Now, the claims of the European counterparts of these

10:21:0611   patents had different scope from the claims in the United

10:21:1112   States, correct?

10:21:1713   A.        The original granted claims have different scope,

10:21:2014   yes.

10:21:2015   Q.        They used different words, correct?

10:21:2316   A.        Yes.

10:21:2417   Q.        They claimed different subject matter, correct?

10:21:2718   A.        Well, that I can't recall.     So the -- I don't recall

10:21:3119   what the upheld claims were and how they directly compared

10:21:3620   to these claims.     So I know they had TDF and FTC and they

10:21:4621   related to pre-exposure prophylaxis.        Whether they said

10:21:5122   human or primate or what the exact nature of those claims

10:21:5623   are, I can't recall right now.

10:22:0824   Q.        You testified about an area within a circle in the

10:22:1325   sand, correct?
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10:22:14 1   A.      Yes.

10:22:15 2   Q.      The use of TDF and FTC in all humans is within that

10:22:21 3   circle in the sand for these patents, correct?

10:22:24 4   A.      Well, I am not going to stand here and -- I am not a

10:22:29 5   legal expert to construe all of the terms and all of that

10:22:34 6   circle in the sand.        I was speaking very generally.     I'm not

10:22:41 7   a patent attorney.     I'm not going to construe all the terms

10:22:48 8   in the claims for you.       I can speak generally only.

10:22:53 9   Q.      But it's your understanding, as the person

10:22:5610   prosecuting these patents, that they do include at least

10:23:0111   some claims directed to the use of TDF and FTC in humans,

10:23:0712   correct?

10:23:0713   A.      Yes.

10:23:0814   Q.      Okay.    And that what's within that circle in the

10:23:2315   sand, that is what the claims removed from the public

10:23:2716   domain, correct?

10:23:2817   A.      Yes.

10:23:3418                   (End of deposition read in of Siegel.)

09:59:0719                   MR. BASSETT:    We appreciate it.

09:59:1620                   THE COURT:    Okay.   Then we have some facts.

09:59:2421                   MS. LIN:    Yes, Stephanie Lin, on behalf of

09:59:2522   Gilead, Your Honor.

09:59:2523                   THE COURT:    I'm sorry, what was your name?

09:59:2824                   MS. LIN:    Stephanie Lin.   I was going to read

09:59:2925   some uncontested facts into the record, but if Your Honor
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09:59:32 1   prefers we can also submit those.

09:59:34 2                 THE COURT:    That's not thirty minutes, right?

09:59:36 3                 MS. LIN:   I don't think so.

09:59:37 4                 THE COURT:    Go for it.

09:59:39 5                 MS. LIN:   Okay.

09:59:42 6                 38.   On December 2, 2019, the Government

09:59:46 7   disclaimed issued claims 12 and 14 through 18 from the '509

09:59:50 8   patent.

09:59:50 9                 44.   On December 2, 2019, the Government

09:59:5510   disclaimed issued claims 12 and 14 through 17 of the '333

09:59:5911   patent.

09:59:5912                 59.   The CDC and Gilead executed a Material

10:00:0713   Transfer Agreement (MTA) bearing CDC reference number

10:00:1014   NCHSTP-C043072 ("the '072 MTA") on June 21, 2004.

10:00:1915                 60.   The research product identified in the '072

10:00:2316   MTA was "Evaluation of Tenofovir pre-exposure prophylaxis

10:00:2717   (PrEP) for the prevention of simian human immunodeficiency

10:00:3318   virus (SHIV) infection in a low-dose rectal challenge model

10:00:3319   in Macaca mulatta."

10:00:3720                 61.   Under the '072 MTA, Gilead agreed to

10:00:4021   provide 55 grams of TDF and 2 grams of tenofovir (which is

10:00:4322   also known as PMPA) to the CDC.

10:00:4623                 64.   The CDC received at least some TDF from

10:00:5024   Gilead pursuant to the '072 MTA.

10:00:5325                 65.   The CDC received at least some tenofovir
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10:00:56 1   from Gilead pursuant to the '072 MTA.

10:00:59 2                 66.   On January 24, 2005, Gilead and the CDC

10:01:03 3   executed the First Amendment to the '072 MTA.

10:01:06 4                 70.   In the First Amendment to the 'O72 MTA,

10:01:09 5   Gilead agreed to provide an additional 200 grams of TDF to

10:01:13 6   the CDC "for the Purpose of Oral Chemoprophylaxis with

10:01:18 7   Tenofovir Disoproxil Fumarate to Evaluate Vaginal SIV

10:01:18 8   Transmission in a Rhesus Macaque Repeat-Virus Exposure

10:01:28 9   Model."

10:01:2810                 72.   On January 31, 2005, Gilead and the

10:01:3411   Government executed an MTA with CDC reference number

10:01:3912   NCHSTP-V053471 ("the '471 MTA").

10:01:4313                 73.   Pursuant to the '471 MTA, Gilead agreed to

10:01:4614   provide 250 grams of FTC for the macaque study directed to

10:01:5215   "Pre-exposure prophylaxis with FTC in combination with one

10:01:5316   or two drugs for the prevention of simian human

10:01:5817   immunodeficiency virus (SHIV) infection in a repeat low-dose

10:02:0118   challenge model in Macaque mulatta."

10:02:0319                 THE COURT:    Can I interrupt you for a second?           I

10:02:0520   understand why we do this in a jury trial.         These are

10:02:0921   stipulated facts in the pretrial order and you're reading

10:02:1222   the numbers from the pretrial order?

10:02:1423                 Correct.

10:02:1524                 THE COURT:    So aren't these already in the

10:02:1625   record that you guys can cite to them for me?
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10:02:24 1                   MR. MACHEN:    We're fine with doing that.

10:02:26 2                   THE COURT:    If you want to just read me the

10:02:28 3   numbers so we know.        I mean, I think they're already --

10:02:31 4   they're on the docket, I think you can already cite me to

10:02:34 5   them and you can cite the appeals court to them, why don't

10:02:37 6   you give me the numbers you were going to read?

10:02:40 7                   MS. LIN:     That's an excellent idea, Your Honor.

10:02:42 8   So, 77.   78.    79.   80.    81.   82.   83.   86.   87 through 91.

10:02:56 9   95 through 98.     102 through 104.       108 through 110.   114

10:03:0710   through 116.     120 through 122.     126 through 130.     133

10:03:1911   through 135.     138 through 144.     147 through 149.     152

10:03:3012   through 154.     157 through 159.     And 162.

10:03:3713                   And then finally, Your Honor, there is one

10:03:3914   uncontested fact that was amended by agreement with the

10:03:4315   parties over the weekend, number 47, which I believe we do

10:03:4816   need to read into the record.

10:03:4917                   THE COURT:    Go ahead.

10:03:5018                   MS. LIN:     On March 7, 2017, the government filed

10:03:5319   an information disclosure statement which included Smith, et

10:03:5720   al, antiretroviral post-exposure prophylaxis after sexual

10:04:0121   injection drug use or other nonoccupational exposure to HIV

10:04:0522   in the United States, MMWR 54 (RR-2) January 21, 2005,

10:04:1723   Smith.    The Smith reference had not previously been

10:04:2024   submitted to the Patent Office during prosecution of the HHS

10:04:2425   patent.
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10:04:24 1                 THE COURT:    The Smith is the CDC PEP document,

10:04:27 2   right?

10:04:28 3                 MS. LIN:   Yes, the January 21st 2005.

10:04:30 4                 THE COURT:    Okay.   Thank you.    Thank you

10:04:32 5   Ms. Lin.   Then let me just check.       So how do we get the

10:04:39 6   trial testimony of Dr. Siegel?       If I give the court reporter

10:04:47 7   this highlighted version to put in the transcript, does that

10:04:52 8   work?

10:04:53 9                 MR. MACHEN:    That works for us, Your Honor.

10:04:5510                 MR. BROWN:    Fine with us, Your Honor.

10:04:5611                 THE COURT:    So I will read this and then I will

10:04:5812   have this added into the record for her -- him, her.

10:05:0413                 MR. MACHEN:    Her.

10:05:0414                 THE COURT:    Okay.   All right.    What's next?

10:05:1015                 MR. MACHEN:    So Your Honor, we don't want to

10:05:1116   rest yet because they're going to call Dr. Heneine, but we

10:05:1517   were going to call him on direct, so we will go beyond the

10:05:1918   scope of their direct.

10:05:2119                 THE COURT:    Okay.

10:05:2620                 MR. BROWN:    Your Honor, at this time we call

10:05:2821   Dr. Walid Heneine.

10:05:4022                 WALID HENEINE, having been previously sworn, was

10:05:4623   examined and testified as follows:

10:05:4724                 THE COURT:    Sir, I'll just remind you, you're

10:05:5025   still under oath.
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10:05:51 1                  THE WITNESS:    Thank you.

10:06:04 2                  MR. BROWN:   Let me just say before I begin, Your

10:06:06 3   Honor, I think we had a different copy, a different exhibit

10:06:11 4   number for the Smith reference.       The CDC PEP guidelines.

10:06:15 5   But I'm going to handout copies of JTX 65, unless somebody

10:06:20 6   objects, just so we're talking about the exact same number.

10:06:30 7                  THE COURT:   Okay.

10:06:44 8                  MR. BROWN:     May I proceed, Your Honor?

10:06:51 9                  THE COURT:   You may, please.

10:06:5110                     DIRECT EXAMINATION

10:06:5111   BY MR. BROWN:

10:06:5312   Q.      Good morning, Dr. Heneine.

10:06:5413   A.      Good morning.

10:06:5514   Q.      Let me begin with the document I just handed you, JTX

10:07:0115   65.

10:07:0216   A.      Yes.

10:07:0217   Q.      Can you identify this document?

10:07:0418   A.      Yes.

10:07:0619   Q.      And what is it?

10:07:0720   A.      These are CDC recommendations for post-exposure

10:07:1421   prophylaxis after sexual injection drug use or other

10:07:1722   nonoccupational exposure to HIV in the United States.

10:07:2023   Q.      What is the date of these?

10:07:2224   A.      These were published January 21st, 2005.

10:07:2725   Q.      Were you aware of these January 2005 CDC PEP
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10:07:32 1   guidelines when you were doing your macaque research leading

10:07:36 2   to the patents in this case?

10:07:37 3   A.      Yes.

10:07:38 4   Q.      For the '333 and '509 patents, did you disclose the

10:07:44 5   January 2005 PEP guidelines to the Patent Office?

10:07:47 6   A.      No.

10:07:47 7   Q.      And why not?

10:07:49 8   A.      Because they have no bearing on the patent

10:07:52 9   application.

10:07:5310   Q.      Why do you say -- what do you mean when you say they

10:07:5711   have no bearing?

10:07:5812   A.      These guidelines list essentially the treatment

10:08:0513   regimens that were used at the time.        They list 3 and 4 drug

10:08:1014   regimens.     They do not have any efficacy for prevention, and

10:08:1915   there is nothing new with these guidelines that we did not

10:08:2416   know regarding those drug combinations.

10:08:2717   Q.      You said they have no efficacy for prevention, do you

10:08:3018   mean efficacy data?

10:08:3119   A.      Efficacy data that shows that they can prevent HIV

10:08:3620   infection, when taken as prescribed for PEP.

10:08:4121   Q.      Is this why you didn't disclose it?

10:08:4322   A.      Exactly.

10:08:4623   Q.      Let's --

10:08:4724                  THE COURT:   Does that mean you actually

10:08:4825   considered disclosing it and didn't or just it didn't come
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10:08:52 1   to mind?

10:08:53 2                  THE WITNESS:   No, they had no bearing when we

10:08:56 3   were looking --

10:08:56 4                  THE COURT:   I understand you're saying it didn't

10:08:58 5   have any bearing, what I'm trying to figure out is did you

10:09:01 6   read it and say I'm not disclosing it because it's not

10:09:04 7   relevant, or when you were looking for things, did you just

10:09:08 8   not think of it because it wasn't relevant?

10:09:10 9                  THE WITNESS:   It was more the latter, I did not

10:09:1210   think of it because I didn't think it was useful, or

10:09:1611   relevant.

10:09:1912   Q.      Let's go to Table 2 of the document, which is on

10:09:2313   page 11, JTX 65.011.     Let me know when you get to that

10:09:3014   point, Dr. Heneine?

10:09:3115   A.      Yes.

10:09:3116   Q.      Can you tell us what's depicted in Table 2?

10:09:3417   A.      Yes, these are the different regimens, the

10:09:3818   combinations that were recommended in this document.

10:09:4419   Q.      And how many different drugs are listed in Table 2,

10:09:5120   have you calculated that?

10:09:5221   A.      I think I counted about 15 drugs, different drugs.

10:09:5522   Q.      And how many of those -- how many different drug

10:09:5923   combinations are listed in Table 2?

10:10:0224   A.      There is a lot of drug combinations here as you can

10:10:0625   see from each of those regimens, you could have first drug
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10:10:11 1   and then you could have for a second drug different options,

10:10:15 2   and then for the third drug, you could have also multiple

10:10:19 3   other additional options.      So to do a quick exercise

10:10:26 4   counting all these options that we had, I think I came up

10:10:29 5   with 89 different options, combinations were available from

10:10:35 6   this list.

10:10:37 7   Q.       Is TDF, FTC, or Truvada recommended alone as a PEP

10:10:42 8   regimen in this table?

10:10:44 9   A.       No.

10:10:4610   Q.       It's only 3 or 4 drug combinations?

10:10:4911   A.       Only 3 or 4 drug regimens were recommended.

10:10:5112   Q.       Let's go to Table 3.     Can you give us a sense of

10:10:5913   what's depicted on Table 3 which is page 12?

10:11:0214   A.       Yes.   These are more details on the drugs that are in

10:11:0815   those regimens, their costs, and their side effects and

10:11:1216   toxicity, and also information on dosages.

10:11:1517   Q.       Does this give you any of the efficacy data that you

10:11:1918   said was missing?

10:11:2019   A.       No.    In fact, for some of the drugs there are

10:11:2420   multiple different dosages too, which can even increase

10:11:2921   further the options that are available, if you use a drug

10:11:3222   with twice daily or three times day daily, that sort of

10:11:3623   thing.

10:11:3624   Q.       So just to summarize, is there any -- is there any

10:11:4025   efficacy data whatsoever in the PEP guidelines?
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10:11:44 1   A.      No.

10:11:45 2   Q.      Is there any efficacy data at all for a PEP regimen

10:11:49 3   that includes TDF and FTC?

10:11:51 4   A.      No.

10:11:54 5   Q.      Dr. Heneine, did you ever have any PEP claims in your

10:11:58 6   patents?

10:11:58 7   A.      Yes.

10:11:59 8   Q.      And why were they there?

10:12:01 9   A.      Well, when we found the high PrEP efficacy with the

10:12:0810   Tenofovir FTC combination, we thought that these data might

10:12:1311   be relevant to PEP, and given, as we just mentioned, given

10:12:2312   the lack of any efficacy data for PEP regimens, we thought

10:12:2813   these could be relevant and we had those claims there.

10:12:3114   Those claims were added based on that.

10:12:3215   Q.      Were those claims essential in your view to your

10:12:3516   invention?

10:12:3617   A.      No.

10:12:3618   Q.      Why not?

10:12:3819   A.      Because PEP is a -- it's an emergency clinical

10:12:4420   practice.     We were more focusing on PrEP because it was the

10:12:5121   public health intervention that needs to be used widely

10:12:5522   around the world.     So PEP was never really critical or

10:12:5923   important for us.

10:13:0124   Q.      Do you know what happened to the PEP claims that were

10:13:0425   in the patents?
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10:13:04 1   A.       I think they were eventually removed.

10:13:07 2   Q.       How did you feel about that?

10:13:09 3   A.       Very supportive of this decision.

10:13:12 4   Q.       Let's turn to -- you can put that document aside.

10:13:16 5                    Let's turn to a discussion of the MTA that you

10:13:21 6   signed with Gilead.      Before you interacted with Gilead in

10:13:27 7   late 2004 regarding your MTAs, had you signed any MTAs

10:13:31 8   before that?

10:13:32 9   A.       Very few.

10:13:3410   Q.       Of those that you had signed, how many of those

10:13:3711   before meeting Gilead had a prompt notification of

10:13:4012   inventions provision?

10:13:4213   A.       None.

10:13:4414   Q.       You stated before the jury that you didn't give

10:13:4715   notice to Gilead of the patent applications in 2006;

10:13:5116   correct?

10:13:5117   A.       Yes.

10:13:5218   Q.       And you didn't give notice in 2007 whether the

10:13:5619   non-provisional was filed; correct?

10:13:5820   A.       Yes.

10:13:5921   Q.       Did you share anything with Gilead in that time

10:14:0222   frame?

10:14:0323   A.       We shared the data that were coming out from our

10:14:1024   animal research.      We shared the draft of the CROI abstract.

10:14:1525   We shared the presentation at CROI.        Later we shared draft
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10:14:22 1   manuscript, and then we shared the final version of the

10:14:27 2   publications that was accepted in PLoS Medicine.

10:14:33 3   Q.      Let's go to plaintiff's exhibit PTX 882.         I guess we

10:14:44 4   can publish it?

10:14:45 5   A.      Yes.

10:14:45 6   Q.      Do you recognize this document?

10:14:47 7   A.      Yes.

10:14:48 8   Q.      And what is this?

10:14:51 9   A.      This is the e-mail I sent to Dr. Rooney at Gilead

10:15:0010   sharing with him the presentation I gave at CROI.

10:15:0511                  MR. BROWN:   Your Honor, at this time we would

10:15:0712   move PTX 882 into evidence.

10:15:1113                  MS. FERRERA:   No objection.

10:15:1214                  THE COURT:   Thank you.    It's admitted.

10:15:1415                  (PTX Exhibit No. 882 was admitted into

10:15:1516   evidence.)

10:15:1517   BY MR. BROWN:

10:15:1618   Q.      And why did you send him the CROI slides?

10:15:1819   A.      Well, he requested it after the CROI presentation and

10:15:2220   just I shared it with him just consistent with the MTA

10:15:3021   sharing data.

10:15:3222   Q.      All right.    Let's go to a couple of tabs further in

10:15:3823   your document, specifically 1210.        And I will submit the

10:15:4624   next document, PTX 1211, which I believe is an attachment to

10:15:5025   1210.   And let me know, Dr. Heneine, if you recognize these
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10:15:55 1   two documents?

10:15:56 2   A.      I do.

10:15:56 3   Q.      And what are these?

10:15:58 4   A.      This is another e-mail that I sent to Dr. Rooney

10:16:05 5   sharing the draft manuscript that we were planning on

10:16:10 6   submitting for publication.       And requesting any comments or

10:16:18 7   feedback.

10:16:18 8   Q.      And 1211, is that the manuscript you sent?

10:16:23 9   A.      That's right.

10:16:2410                   MR. BROWN:   At this time, Your Honor, we would

10:16:2511   move for admission of PTX 1210 and PTX 1211.

10:16:3112                   MS. FERRERA:   No objection.

10:16:3213                   THE COURT:   Thank you.   Admitted.    They're

10:16:3414   admitted.

10:16:3515                   (PTX Exhibits No. 1210 and 1211 were admitted

10:16:3516   into evidence.)

10:16:3517   BY MR. BROWN:

10:16:3518   Q.      Again, Dr. Heneine, why where were you sharing this

10:16:4119   draft manuscript with Gilead?

10:16:4320   A.      Because we thought the data, we were very interested

10:16:4721   in the data, and because of the MTA, we're following the

10:16:5322   sharing of information and data with them.

10:16:5623   Q.      During this 2006-2007 time period, did you make a

10:17:0124   conscious decision not to disclose the patent applications?

10:17:0425   A.      No.
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10:17:05 1   Q.      Was it an oversight on your part?

10:17:08 2   A.      It was.    It was an oversight on my part.       And I think

10:17:12 3   also it was an oversight on the part of the CDC technology

10:17:16 4   transfer office.

10:17:17 5   Q.      Did the technology transfer office ever bring up the

10:17:21 6   issue of the MTA notification to you?

10:17:22 7   A.      No.

10:17:26 8   Q.      Did you share anything with Gilead in 2008?

10:17:30 9   A.      Yes.

10:17:3010   Q.      Let's go to PTX-443 in your binder.        And let me know

10:17:4011   if you recognize this document?

10:17:4712   A.      I see it on the screen.      I recognize the document.

10:17:5113   Q.      Okay.

10:18:0014   A.      443.    Got it.   Yes, this is an e-mail I sent also to

10:18:0915   Dr. Rooney on February 1st, 2008.

10:18:1316   Q.      And it attaches an article?

10:18:1617   A.      It attaches the final version of the accepted article

10:18:2218   that was about to be published in PLoS Medicine.

10:18:2719   Q.      Looking at page 2 of the exhibit, which I believe is

10:18:3020   the first page of the article, did you disclose anything

10:18:3521   about the patent applications on that page?

10:18:3822   A.      Yes.

10:18:4023   Q.      And what did you disclose?

10:18:4224   A.      It's under competing interest.

10:18:4525   Q.      All right.    And can you read that for the Court?
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10:18:48 1   A.        Yes.   Authors JGL, RAW, RJ, TMF, and WH are named in

10:18:58 2   the U.S. Government patent application related to methods

10:19:01 3   for HIV prophylaxis.

10:19:04 4   Q.        Is this the same -- does this reference the same

10:19:07 5   patent application that led to the patents in this lawsuit?

10:19:11 6   A.        Yes.

10:19:12 7   Q.        At the time of this article, could you look up this

10:19:16 8   patent application?

10:19:16 9   A.        I'm sorry, I didn't hear the question?

10:19:1810   Q.        At the time of this article or this e-mail, could you

10:19:2111   look up this patent application?

10:19:2212   A.        Yes, it was in the public domain.

10:19:2513   Q.        How many patents were there at that time, or patent

10:19:3114   applications that were published with these five inventors?

10:19:3415   A.        That was the only one.

10:19:3616   Q.        In 2008, did you include a listing of -- for any of

10:19:4017   your patent applications in your resume?

10:19:4318   A.        Yes.

10:19:4319   Q.        And did you provide that resume in 2008 to anyone at

10:19:4820   Gilead?

10:19:4821   A.        Yes.

10:19:4822   Q.        Can you explain the circumstances of that?

10:19:5123   A.        Yes.   I was exploring job opportunities at Gilead at

10:19:5624   that time, so I shared my resume with them and I visited

10:20:0125   Gilead and met with several key leaders there and also I
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 82 of 198 PageID #: 52914
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10:20:08 1   gave a seminar.

10:20:12 2   Q.       Let me direct your attention to PTX 1116, which is

10:20:18 3   towards the back of your binder.       Let me know when you get

10:20:21 4   there.

10:20:22 5   A.       Yeah.

10:20:34 6   Q.       Are you there?

10:20:35 7   A.       I am.

10:20:35 8   Q.       Going to page 2 of the document?

10:20:39 9   A.       Yes.

10:20:4110   Q.       First of all, do you recognize this document?

10:20:4411   A.       Yes, I do.

10:20:4612   Q.       And what is this?

10:20:4813   A.       This document is an e-mail I sent to Dr. Lee at

10:20:5214   Gilead, attaching my resume.

10:20:5715   Q.       And who is Dr. Lee again?

10:20:5816   A.       I think he was the senior vice-president for research

10:21:0217   at Gilead at that time.

10:21:0518                    MR. BROWN:   At this time, Your Honor, I move for

10:21:0919   admission of PTX 1116.

10:21:1120                    MS. FERRERA:   No objection.

10:21:1121                    THE COURT:   Thank you.   It's admitted.

10:21:1322                    (PTX Exhibit No. 1116 was admitted into

10:21:1423   evidence.)

10:21:1424   BY MR. BROWN:

10:21:1425   Q.       Looking at your resume, does it list any patent
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10:21:17 1   applications?

10:21:18 2   A.      Yes, it does.

10:21:19 3   Q.      Let's go to page 6 of the document, the exhibit.

10:21:23 4   A.      Yes.

10:21:26 5   Q.      Under the heading pending patent applications, do you

10:21:29 6   see any applications listed that relate to the patents in

10:21:32 7   this case?

10:21:33 8   A.      Yes.    The second number two there has the patent

10:21:39 9   application.    And it reads "inhibition of HIV infection

10:21:4510   through chemo prophylaxis-patent application serial number

10:21:5011   ending with '811."

10:21:5412   Q.      Thank you, Dr. Heneine.      Going back to your competing

10:21:5913   interest section in the 2008 PLoS Medicine article, did you

10:22:0314   provide similar competing interest sections in other

10:22:0615   publications?

10:22:0816   A.      Yes.    In several subsequent publications we had the

10:22:1617   same disclosure, I believe it was 10, 11, or more by now.

10:22:2218   Q.      All right.    Let's look at what I believe is the last

10:22:2519   document in your binder, PTX 1258.        And let me know if you

10:22:3320   recognize that document?

10:22:3421   A.      Yes, I do.

10:22:3522   Q.      What is this?

10:22:3723   A.      This is the second important publication we had on

10:22:4324   PrEP from the animal data that we were generating.          This

10:22:4925   paper was published in Science Translational Medicine in
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10:22:54 1   2010.

10:22:55 2   Q.      And you're an author on this article?

10:22:58 3   A.      Yes, I am.

10:22:59 4   Q.      Let's go to page 9 of the document.        And in the

10:23:09 5   bottom right -- in the right column near the bottom, is

10:23:14 6   there another competing interest section?

10:23:19 7   A.      Yes.

10:23:19 8   Q.      And can you read that to the Court?

10:23:22 9   A.      JGGL, RO, TMF, and WH are named in the U.S.

10:23:2910   government patent application related to methods for HIV

10:23:3111   prophylaxis.

10:23:3212   Q.      And this is very similar to the wording of the

10:23:3613   competing interest section in the PLoS Medicine article;

10:23:4014   correct?

10:23:4115   A.      Correct.

10:23:4116   Q.      Does this refer to the same patent applications?

10:23:4617   A.      Yes.

10:23:4618   Q.      In view of this and all the evidence you have

10:23:4919   discussed, did you intend to hide the patent application and

10:23:5520   eventual patents from Gilead?

10:23:5621   A.      No.

10:23:5622   Q.      Did you intend for Gilead never to find out about the

10:23:5923   patent application?

10:24:0024   A.      No.

10:24:0425   Q.      And by the way, Your Honor, I don't think I moved for
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10:24:07 1   admission of 1258?

10:24:11 2                    MS. FERRERA:   No objection.

10:24:12 3                    THE COURT:   Thank you.   It's admitted.

10:24:13 4                    (PTX Exhibit No. 1258 was admitted into

10:24:14 5   evidence.)

10:24:14 6   BY MR. BROWN:

10:24:14 7   Q.        Did you assume as of 2008 that Gilead knew about the

10:24:18 8   patent application?

10:24:18 9   A.        Yes.

10:24:1910   Q.        And that's based on?

10:24:2211   A.        All the disclosures, the sharing of the CDC and

10:24:2612   everything.

10:24:2713   Q.        Do you think that if -- do you think that if Gilead

10:24:3014   knew about the patent applications at an earlier time they

10:24:3415   could have convinced you they were joint inventors of the

10:24:3716   patent?

10:24:3717   A.        I don't think so.

10:24:3818   Q.        And why is that?

10:24:3919   A.        Because their contributions did not merit

10:24:4320   inventorship.

10:24:4421   Q.        And in the 2008 PLoS Medicine article, we see the

10:24:5022   same research that's in the patents, is that right?

10:24:5323   A.        That's correct.

10:24:5424   Q.        Were any Gilead personnel listed as co-authors of the

10:24:5925   PLoS Medicine paper?
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10:25:00 1   A.       No, they were not.

10:25:01 2   Q.       Why not?

10:25:01 3   A.       Again, they did not have contributions that merited

10:25:05 4   co-authorship.

10:25:07 5   Q.       Did Gilead asked to be co-authors of the PLoS

10:25:11 6   Medicine paper?

10:25:12 7   A.       No.

10:25:12 8   Q.       Did they ever dispute authorship of the PLoS Medicine

10:25:18 9   paper?

10:25:1810   A.       No.

10:25:1911   Q.       Going back to PTX 443, which is the PLoS Medicine

10:25:2712   article that you sent to Dr. Rooney, can you get back to

10:25:3113   that document?

10:25:3814   A.       Yes.

10:25:3815   Q.       Let's look at page 9 of the exhibit, that's the .009

10:25:4216   at the bottom.

10:25:4817   A.       Okay.

10:25:5418   Q.       Looking at the acknowledgment sections, did you

10:25:5919   acknowledge that Gilead provided study drugs in this paper?

10:26:0320   A.       Yes.

10:26:0321   Q.       Can you point that out to the Court?

10:26:0622   A.       Yes, we said we thank J. Rooney and colleagues from

10:26:1023   Gilead for providing the drugs.

10:26:1324   Q.       And also let me direct you to page 3 of the exhibit.

10:26:2425   And this will be the right column, at the end of the
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10:26:28 1   methods/animals and intervention section?

10:26:31 2   A.      Yes.

10:26:33 3   Q.      Is there a reference there to the donation of study

10:26:38 4   drugs by Gilead?

10:26:39 5   A.      Yes, there is.

10:26:40 6   Q.      Can you point that out to the Court?

10:26:42 7   A.      Yes.   We said Tenofovir Disoproxil Fumarate,

10:26:47 8   Tenofovir, the PMPA, and Emtricitabine were kindly provided

10:26:55 9   by Gilead Sciences through a Material Transfer Agreement.

10:27:0010   Q.      Did Gilead ever dispute the description in the

10:27:0411   acknowledgments or in the paper regarding their

10:27:0612   contributions?

10:27:0713   A.      No.

10:27:0814   Q.      I would like to direct your attention to a document,

10:27:1015   hopefully you have it in the pocket of your binder, which is

10:27:1416   JTX 86, which has already been admitted?

10:27:1817   A.      Yes.

10:27:1818   Q.      We can put that on the screen.       Do you recognize this

10:27:2319   document?

10:27:3220   A.      Yes.

10:27:3321   Q.      And what is this?

10:27:3622   A.      This is an e-mail I sent to Dr. Janssen, I think he

10:27:4023   contacted me asking for an update information on the patent

10:27:4524   application at that time.

10:27:4825   Q.      And you sent him the link that's below your name at
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10:27:53 1   the bottom of the e-mail?

10:27:55 2   A.        Yes, I mention that there is a non-provisional patent

10:28:00 3   application data and we haven't heard back from the examiner

10:28:04 4   of the decision.      And then what I recall doing at the time

10:28:08 5   is I Googled and found that patent, I put the link.

10:28:12 6   Q.        That's how you picked the application that you sent

10:28:15 7   to him?

10:28:16 8   A.        Yes.

10:28:16 9   Q.        It was the one -- is it the one you found first on

10:28:2010   Google?

10:28:2211   A.        That's right.

10:28:2412   Q.        In summary, Dr. Heneine, did you ever hide the patent

10:28:3013   application consciously from Gilead?

10:28:3614   A.        No, I did not.

10:28:3815                    MR. BROWN:   No further questions, Your Honor.

10:28:3916                    THE COURT:   All right.   Thank you.   Ms. Ferrera.

10:28:4717   Wait, before you start.       I can't get realtime.

10:30:0818                         CROSS-EXAMINATION

10:30:0919   BY MS. FERRERA:

10:30:1020   Q.        Good morning, Dr. Heneine.

10:30:1221   A.        Good morning.

10:30:1322   Q.        Dr. Heneine, you played a role in the prosecution of

10:30:1523   the CDC's drug patents, did you not?

10:30:1924   A.        Yes.

10:30:1925   Q.        You provided data and input to the patent attorneys,
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10:30:23 1   is that correct?

10:30:23 2   A.        Yes.    By responding to questions or inquiries, I

10:30:28 3   would do that.

10:30:28 4   Q.        And you reviewed the prior art that was related to

10:30:31 5   the patents?

10:30:32 6   A.        Yes.

10:30:32 7   Q.        And you reviewed drafts, the responses to the office

10:30:36 8   actions when you were asked to do so?

10:30:38 9   A.        Yes.

10:30:3910   Q.        And you sometimes participated in proposing new

10:30:4211   claims as well, correct?

10:30:4512   A.        Less so, that's mostly the patent lawyers writing the

10:30:5113   claims.

10:30:5114   Q.        When you were asked to review the claims, you looked

10:30:5415   at them, right?

10:30:5616   A.        Yes.

10:30:5617   Q.        If you could turn to, I believe it's in the

10:30:5918   cross-examination binder, Tab 17, JTX 5, do you see that?

10:31:1019   A.        Yes.

10:31:1020   Q.        And for everyone's sake, that's an excerpt of the

10:31:1521   file's history, not the entire file history, but do you

10:31:1822   recognize that, Dr. Heneine?

10:31:1923   A.        Yes.

10:31:2024   Q.        If I could ask you to turn to page 561.

10:31:2525   A.        Page?
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10:31:26 1   Q.      561, at the bottom there should be typed on numbers

10:31:31 2   and it should say 5.561.      Bottom left?

10:31:38 3   A.      Yes.

10:31:41 4   Q.      Let me know when you're there?       Do you have that

10:31:47 5   page, Dr. Heneine?

10:31:48 6   A.      I am, yes.

10:31:49 7   Q.      And do you recognize that as a document entitled

10:31:54 8   Amendment Accompanying a Request for a Continued

10:31:58 9   Examination?

10:31:5810   A.      Yes.

10:32:0011   Q.      And that was filed on July 21, 2014, do you see that?

10:32:0512   A.      Yes.

10:32:0513   Q.      If you turn to page 563, so two pages further in?

10:32:1114   A.      Yes.

10:32:1215   Q.      You see that that's a listing of claims?

10:32:1516   A.      Yes.

10:32:1517   Q.      And then if you turn to page 567, a few further pages

10:32:2118   in, you see there are some claims listed starting with claim

10:32:2619   33?

10:32:2620   A.      Yes.

10:32:2621   Q.      And claim 33 says new, do you see that?

10:32:3022   A.      Uh-huh.

10:32:3023   Q.      You understand that that means that the government

10:32:3324   was proposing claims that were being newly added or newly

10:32:3925   proposed as of July 21, 2014?
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10:32:41 1   A.      Yes.

10:32:42 2   Q.      And looking at claim 33, you see that limitation B

10:32:47 3   says, "administering to uninfected human a combination

10:32:51 4   comprising a pharmaceutically effective amount of

10:32:55 5   Emtricitabine and a pharmaceutically effective amount of

10:32:58 6   Tenofovir or Tenofovir ester."       Did I read that correctly?

10:33:01 7   A.      Yes.

10:33:03 8   Q.      If you go down a little bit further, five paragraphs

10:33:07 9   down, do you see a claim 38?

10:33:0910   A.      Yes.

10:33:0911   Q.      And that reads "the process of claim 33," that's the

10:33:1412   claim that we were just looking at, "wherein the combination

10:33:1713   is administered following potential exposure of the primate

10:33:2114   host to the human immunodeficiency retro virus," did I read

10:33:2515   that correctly?

10:33:2516   A.      Yes.

10:33:2617   Q.      Dr. Heneine, you understand that as of July 21, 2014,

10:33:3018   you were asking the examiner to give you claims directed to

10:33:3419   the use of FTC and Tenofovir for post-exposure prophylaxis?

10:33:3920   A.      Yes.

10:33:4121   Q.      If I can have you turn to page 5.832.

10:33:5722   A.      832?

10:33:5823   Q.      832.   It should be a few pages further in the

10:34:0524   exhibit.

10:34:0925   A.      Yes.
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10:34:11 1   Q.      We have it on the screen as well if that's easier.

10:34:13 2   This is a document entitled Supplemental Declaration for

10:34:17 3   Patent Application.     Do you see that?

10:34:17 4   A.      Yes.

10:34:18 5   Q.      And that's your signature that appears in the middle

10:34:21 6   of the page, right, Dr. Heneine?

10:34:22 7   A.      Yes.

10:34:22 8   Q.      So you signed this supplemental declaration on

10:34:26 9   March 10th, 2015?

10:34:2710   A.      Yes.

10:34:2811   Q.      Correct?

10:34:2912                  And you understood that when you were signing

10:34:3213   this declaration, you were signing under penalty of perjury,

10:34:3714   correct?

10:34:3715   A.      I'm sorry?

10:34:3716   Q.      When you signed this declaration, you were signing

10:34:4017   under the penalty of perjury, correct, Dr. Heneine?

10:34:4418   A.      Yes.

10:34:4419   Q.      And you worked in the government for most of your

10:34:4820   career, correct, Dr. Heneine?

10:34:4921   A.      Yes.

10:34:4922   Q.      And you agree that it's important to be honest with

10:34:5223   the government?

10:34:5324   A.      Yes.

10:34:5325   Q.      And it's particularly important to be honest when
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10:34:56 1   you're signing a document under penalty of perjury, right?

10:34:59 2   A.      Yes.

10:35:00 3   Q.      And if we look at exactly at what you said, you

10:35:03 4   stated that you were signing under penalty of perjury, that

10:35:05 5   you had read all the contents of the patent application as

10:35:09 6   amended, right?

10:35:10 7   A.      Yes.

10:35:10 8   Q.      And that you had reviewed the content of the claims

10:35:13 9   in your patent application, right?

10:35:1510   A.      Yes.

10:35:1611   Q.      And that you understood the content of those claims;

10:35:1912   correct?

10:35:1913   A.      Yes.

10:35:2014   Q.      And you also acknowledged under penalty of perjury

10:35:2415   that you had a duty to disclose material information to the

10:35:2716   PTO, correct?

10:35:2817   A.      Yes.

10:35:2918   Q.      This was after you had submitted claims seeking a

10:35:3219   directive to post-exposure prophylaxis, right?

10:35:3520   A.      Yes.

10:35:3821   Q.      If I can have you turn in your binder to Tab 5.

10:35:5322   That's JTX 5, do you see that Dr. Heneine?

10:35:5623   A.      Yes.

10:35:5724   Q.      This is the same document that your counsel showed

10:35:5925   you a moment ago, the CDC January 2005 patent guidelines,
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10:36:04 1   correct?

10:36:04 2   A.      Correct.

10:36:04 3   Q.      This document is dated January 21, 2005, right?

10:36:09 4   A.      Correct.

10:36:09 5   Q.      And I think you acknowledged during your direct

10:36:13 6   examination that you're familiar with these guidelines?

10:36:16 7   A.      Correct.

10:36:16 8   Q.      And you were familiar with them during the time that

10:36:18 9   you were doing your monkey studies, correct?

10:36:2110   A.      Correct.

10:36:2111   Q.      If I could have you turn to page 8.        And in the

10:36:3212   left-hand column there it says recommendations for use of

10:36:3613   antiretroviral nPEP; correct?

10:36:4614   A.      Which page is it, 65.008?

10:36:5115   Q.      Yes.

10:36:5216   A.      Yes.

10:36:5217   Q.      I'm sorry, it's .010, page 8 of the document.

10:36:5918   A.      Yes.

10:37:0019   Q.      Do you see in the left column there is a title that

10:37:0320   says Recommendations for Use of Antiretroviral nPEP?

10:37:0821   A.      Yes.

10:37:0822   Q.      As we discussed previously, PEP refers to

10:37:1323   post-exposure prophylaxis, right?

10:37:1424   A.      Right.

10:37:1425   Q.      And nPEP means nonoccupational post-exposure
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                                                                             286
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10:37:18 1   prophylaxis; correct?

10:37:19 2   A.      Correct.

10:37:20 3   Q.      And then if I could direct your attention to the

10:37:23 4   right column, the first full paragraph that starts "no

10:37:26 5   evidence"?

10:37:28 6   A.      Yes.

10:37:29 7   Q.      And starting about five lines down, there is a

10:37:33 8   sentence that reads "preferred regimens included."          Do you

10:37:38 9   see that?

10:37:3810   A.      Yes.

10:37:3911   Q.      And the second regimen that's identified as

10:37:4112   Emtricitabine with Zidovudine or Tenofovir, do you see that?

10:37:4613   A.      Yes.

10:37:4614   Q.      And then if you look at the next paragraph, the first

10:37:5115   sentence says, "No evidence indicate that a three-drug HAART

10:37:5616   regimen is more likely to be effective than a two-drug

10:38:0117   regimen."    Right?

10:38:0218   A.      Yes.

10:38:0219   Q.      So in January of 2005, the CDC was recommending

10:38:0820   post-exposure prophylaxis for nonoccupational exposure to

10:38:1121   HIV, correct?

10:38:1222   A.      Yes.

10:38:1223   Q.      And it was telling people that the preferred regimens

10:38:1524   including combinations of antiretroviral drugs, right?

10:38:2025   A.      Yes, three drug combinations.
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10:38:22 1   Q.      We'll get to that in a second.       But including in

10:38:27 2   those combinations were Emtricitabine and Tenofovir,

10:38:31 3   correct?

10:38:31 4   A.      Yes.

10:38:31 5   Q.      And Emtricitabine or FTC and Tenofovir were part of

10:38:36 6   the first listed preferred NNRTI regimen, correct?

10:38:42 7   A.      Yes.

10:38:42 8   Q.      And the CDC was telling people that there was no

10:38:45 9   evidence suggesting any difference between three drug

10:38:4710   regimens and two drug regimens, right?

10:38:5011   A.      Yes.

10:38:5112   Q.      And FTC and Tenofovir for post-exposure prophylaxis

10:38:5413   would be a two-drug regimen, correct?

10:38:5714   A.      I'm sorry?

10:38:5815   Q.      FTC and Tenofovir for post-exposure prophylaxis would

10:39:0216   be a two-drug regimen; correct?

10:39:0417   A.      Would be a what?

10:39:0518   Q.      A two-drug regimen?

10:39:0819   A.      Yes.

10:39:0920   Q.      And again, Dr. Heneine, you were aware of these

10:39:1221   recommendations when you were doing your studies in 2005 and

10:39:1522   2006?

10:39:1723   A.      Yes.

10:39:1724   Q.      And you were aware of them when you sought claims for

10:39:2025   post-exposure prophylaxis in 2014; right?
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                                                                             288
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10:39:23 1   A.      Yes.

10:39:26 2   Q.      And when you sought those claims for post-exposure

10:39:30 3   prophylaxis in 2014, you did not disclose the CDC's

10:39:34 4   January 2005 PEP guidelines; correct?

10:39:37 5   A.      Correct.

10:39:38 6   Q.      Even though you knew that those guidelines included

10:39:42 7   recommendations to use FTC and Tenofovir as part of either a

10:39:46 8   two-drug or three-drug regimen for PEP, correct?

10:39:50 9   A.      Yes, the recommendations were three drugs or four

10:39:5410   drugs combinations.     So that's why we did not -- we thought

10:40:0211   importantly there was no efficacy data.

10:40:0512   Q.      Well, Dr. Heneine, we just looked at the language in

10:40:0913   the exhibit in JTX 65 that recommended three-drug or

10:40:1414   two-drug regimens, right?

10:40:1515   A.      It's really iterating the fact on the lack of any

10:40:1916   efficacy.    These were recommendations based on treatment

10:40:2417   options available at the time.       And what that language

10:40:3118   really iterates and highlights --

10:40:3419   Q.      Dr. Heneine, I'm going to come to that in a second

10:40:3620   but I want to establish that the CDC guidelines are

10:40:3921   recommending either two drug or three drug?

10:40:4122   A.      CDC was recommending three and was commenting on

10:40:4523   that.

10:40:4524   Q.      And said there was no difference in efficacy between

10:40:4725   two drug and three drug?
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10:40:49 1   A.      No --

10:40:50 2                   THE COURT:   Hold on.   You can't talk over each

10:40:53 3   other, let him finish.

10:40:54 4                   THE WITNESS:   Thank you, Your Honor.     Table 2

10:40:56 5   lists the CDC drug recommendations and there are three or

10:41:00 6   four drug recommendations.      In the text, they comment on it.

10:41:05 7   But they are not recommending two drugs for the

10:41:12 8   nonoccupational HIV exposure.

10:41:14 9   Q.      Well, Dr. Heneine, in the text that you noted, the

10:41:1910   CDC specifically said there is no evidence suggesting that a

10:41:2411   three-drug regimen is more likely to be effective than a

10:41:2812   two-drug regimen, right?

10:41:2913   A.      There is no evidence period that any of these

10:41:3314   combinations would work.       Those are listed there, that

10:41:3715   doesn't mean that they would work.        So I'm not sure why we

10:41:4316   keep talking about this question.

10:41:4717   Q.      Let's talk about the efficacy point that you talked

10:41:5018   about a moment ago.     When you -- so when you chose not to

10:41:5919   disclose the CDC's PEP guidelines to the Patent Office, your

10:42:0420   testimony today is that because those guidelines contain no

10:42:0721   efficacy data, correct?

10:42:0822   A.      Correct.

10:42:1023   Q.      And you had read the PEP guidelines closely enough to

10:42:1424   have come to that conclusion, is that your testimony?

10:42:1725   A.      Correct.
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                                                                             290
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10:42:18 1   Q.       Now, Dr. Heneine, there is no efficacy data for

10:42:25 2   post-exposure prophylaxis in your patent either, correct?

10:42:27 3   A.       Correct.

10:42:27 4   Q.       You hadn't tested any post-exposure prophylaxis

10:42:29 5   regimen in the studies that are described in your patents,

10:42:32 6   right?

10:42:32 7   A.       Correct, it does not mention in my direct that the

10:42:38 8   idea was because we demonstrated high PrEP efficacy, we

10:42:43 9   thought these data might inform PEP about the Tenofovir FTC

10:42:5010   combination.

10:42:5011   Q.       But we can agree that there was no efficacy data

10:42:5312   regarding post-exposure prophylaxis in your patent, correct?

10:42:5513   A.       Right.

10:42:5614   Q.       But you nevertheless sought claims relating to

10:43:0015   post-exposure prophylaxis, correct?

10:43:0216   A.       Correct.

10:43:0317   Q.       And you were successful in attaining claims to

10:43:0718   post-exposure prophylaxis, correct?

10:43:0819   A.       Correct.

10:43:0920   Q.       Let's turn to JTX 6 in your binder.       Let me know when

10:43:3421   you are there?

10:43:3522   A.       I am there.

10:43:3523   Q.       And you understand that JTX 6 is the file history for

10:43:4024   our '333 patent?

10:43:4125   A.       I'm sorry, which number is this?
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10:43:43 1   Q.      Your '333 patent.      Do you see that?     If you see in

10:43:49 2   the middle of the page --

10:43:50 3   A.      Your tab number six?

10:43:52 4   Q.      Sorry, JTX 6, Tab 3 -- sorry, Tab 18?

10:43:57 5   A.      Tab 18?

10:43:58 6   Q.      Yes, my apologies.

10:44:01 7   A.      Yes.

10:44:03 8   Q.      So this is the file history for your '333 patent,

10:44:06 9   correct, Dr. Heneine?

10:44:0810   A.      Yes.

10:44:0811   Q.      If I can ask you to turn to page 6.395.         Are you

10:44:2612   there, Dr. Heneine?

10:44:2813   A.      Yes.

10:44:2814   Q.      This is a document entitled Amendment After Final

10:44:3315   Action, right?

10:44:3316   A.      Correct.

10:44:3417   Q.      This was filed on September 27, 2016.         Correct?

10:44:3818   A.      Correct.

10:44:3819   Q.      And on the following pages, do you see there is a

10:44:4120   listing of claims again?

10:44:4321   A.      Yes.

10:44:4322   Q.      And if you turn to the top of page 397 -- sorry,

10:44:4723   bottom of page 397 continuing to the top of page 398.            Do

10:44:5324   you see claim 33 listed?

10:44:5525   A.      Yes.
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10:44:56 1   Q.      And claim 33 is similar to claim 33 that we just

10:45:00 2   looked at in the '509 patent application, right?

10:45:06 3   A.      I think so, yes.

10:45:07 4   Q.      And if we go four paragraphs down to claim 37, it

10:45:16 5   says that the combination is administered following

10:45:19 6   potential exposure of the primate host to the human

10:45:24 7   immunodeficiency retrovirus, right?

10:45:26 8   A.      Yes.

10:45:26 9   Q.      This claim again is directed to the use of FTC and

10:45:2910   Tenofovir as post-exposure prophylaxis in humans; correct?

10:45:3211   A.      Correct.

10:45:3612   Q.      If I can have you turn to page 6.411.         This is a

10:45:5313   declaration under 37 CFR Section 1.132, do you see that?

10:46:0014   A.      Yes.

10:46:0015   Q.      The first paragraph of the first declaration, says

10:46:0416   "We, Walid Heneine and Jose Gerardo Garcia-Lerma are

10:46:1017   inventors of the above referenced patent application."

10:46:1318   A.      Uh-huh.

10:46:1419   Q.      If you turn to 6.414, that's your signature at the

10:46:2020   top of the page?

10:46:2021   A.      Correct.

10:46:2122   Q.      You signed this on September 26, 2016, right?

10:46:2423   A.      Yes.

10:46:2424   Q.      And when you signed it, you had reviewed the then

10:46:2725   pending claims, correct?
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10:46:29 1   A.      Correct.

10:46:32 2   Q.      Including claim 37 which was directed to

10:46:35 3   post-exposure prophylaxis; right?

10:46:38 4   A.      Correct.

10:46:38 5   Q.      And you were again successful in getting claims to

10:46:42 6   post-exposure prophylaxis in your '333 patent; correct?

10:46:45 7   A.      Correct.

10:46:45 8   Q.      And you still did not disclose the CDC January 2005

10:46:52 9   patent guidelines, correct?

10:46:5310   A.      Correct.

10:46:5411   Q.      Dr. Heneine, during your direct examination you

10:46:5612   testified that at some point the post-exposure prophylaxis

10:47:0013   claims were disclaimed; right?

10:47:0214   A.      Yes.

10:47:0215   Q.      But that was only after Gilead had pointed out to you

10:47:0716   and to the CDC that the PEP guidelines -- the existence of

10:47:1317   the PEP guidelines and the fact that they rendered your

10:47:1918   claims invalid, correct?

10:47:2219   A.      I think they were disclaimed because -- mainly

10:47:2520   because they were not really what we were focusing on.            We

10:47:3021   were focusing on the PrEP, and which was really the critical

10:47:3722   public health intervention.       PEP, as I mentioned, from the

10:47:4523   beginning is an emergency treatment stringent for 28 days

10:47:5224   that we use after an exposure to HIV, so all in all it was

10:47:5625   not a big issue for us and a big focus for us.          The main
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10:47:59 1   focus was really PrEP.

10:48:01 2   Q.      Dr. Heneine, the reason that the claims were --

10:48:05 3   relating to PEP were disclaimed was because -- was after it

10:48:10 4   had already been pointed out to you and to the government

10:48:15 5   that you had published PEP guidelines prior to the issuance

10:48:20 6   of your claims directed to PEP, correct?

10:48:24 7   A.      I don't know if we have the timing right, but as I

10:48:28 8   mentioned these were additional claims that were put in

10:48:31 9   there because of the lack of any efficacy at that time, not

10:48:3610   really the focus of what the PEP work we were doing.

10:48:4011   Q.      Regardless of why you sought the claims, you did

10:48:4312   actually seek and obtain claims directed to PEP, right, Dr.

10:48:4813   Heneine?

10:48:4814   A.      Yes.

10:48:4815   Q.      Dr. Heneine, last week we talked about MTAs that you

10:48:5216   signed requesting drugs from Gilead for your PrEP monkey

10:48:5517   study, do you recall that?

10:48:5618   A.      Yes.

10:48:5719   Q.      And the first of those MTAs was the 471 MTA that was

10:49:0120   executed in December of 2004, right?

10:49:0421   A.      Yes.

10:49:0422   Q.      And that MTA had requested FTC for your PrEP monkey

10:49:1123   studies, do you recall that?

10:49:1124   A.      Yes.

10:49:1225   Q.      And then we saw a second MTA, 649 MTA that you
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                                                                             295
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10:49:16 1   executed in February of 2005, right?

10:49:18 2   A.      Yes.

10:49:19 3   Q.      And that MTA had requested Tenofovir for your PrEP

10:49:23 4   monkey study, correct?

10:49:24 5   A.      Correct.

10:49:25 6   Q.      Now you filed your provisional application on

10:49:29 7   February 3rd of 2006, do you recall that?

10:49:31 8   A.      Yes.

10:49:32 9   Q.      Just a few weeks before that, you had requested

10:49:3510   additional drugs from Gilead, had you not?

10:49:3711   A.      Yes.

10:49:3812   Q.      If you turn to Tab 11 in your binder.         That's JTX

10:49:5413   101.   Do you see that?

10:49:5514   A.      Yes.

10:49:5515   Q.      I'm not sure if this is in evidence yet so we'll keep

10:49:5916   it down for a minute.       This is an e-mail chain between you

10:50:0217   and various people in January of 2006, correct?

10:50:0518   A.      Correct.

10:50:0619                  MS. FERRERA:    Now I'll offer JTX 101 into

10:50:0920   evidence, Your Honor.

10:50:0921                  MR. BROWN:    No objection, Your Honor.

10:50:1122                  THE COURT:    Thank you.

10:50:1223                  (JTX Exhibit No. 101 was admitted into

10:50:1324   evidence.)

10:50:1325   BY MS. FERRERA:
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10:50:13 1   Q.      If we go to the top of the first page, there is an

10:50:16 2   e-mail from you to Jim Rooney at Gilead.         Do you see that?

10:50:20 3   A.      Yes.

10:50:20 4   Q.      And it's dated January -- sorry, there should be a

10:50:28 5   January 6, 2006, e-mail?

10:50:29 6   A.      Yes.

10:50:31 7   Q.      And in that e-mail you're asking Dr. Rooney to

10:50:35 8   provide an additional 300 grams of FTC to support your PrEP

10:50:39 9   monkey studies, do you see that?

10:50:4210   A.      Correct.

10:50:4211   Q.      It's actually the second e-mail on the page.          In that

10:50:4612   e-mail you say you're attaching an amendment to the existing

10:50:5113   MTA, correct?

10:50:5114   A.      Correct.

10:50:5215   Q.      If you turn to page 2 -- sorry, Your Honor, if we

10:51:1716   could actually pull up DTX 264.        I'm not sure if we have

10:51:2517   this copy in your binder, Dr. Heneine, but if we could look

10:51:2818   at it on the screen and we can substitute it out later.

10:51:3219   Your Honor, I offer DTX 264, which is another version of the

10:51:3520   exhibit?

10:51:3621                  MR. BROWN:   No objection.

10:51:3722                  THE COURT:   All right.    Thank you.

10:51:3823                  (DTX Exhibit No. 264 was admitted into

10:51:3924   evidence.)

10:51:3925   BY MS. FERRERA:
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10:51:39 1   Q.      If we turn to page 2, do you see that this is the

10:51:41 2   proposed amendment to the 471 MTA?

10:51:47 3                   THE COURT:   Can you make it bigger just so I can

10:51:50 4   see?

10:51:53 5   A.      Yes.

10:51:55 6   Q.      And this proposed amendment modified two of the terms

10:51:59 7   of the 471 MTA.     Do you see that?

10:52:02 8   A.      Yeah.

10:52:03 9   Q.      And then a little bit below that it says that all

10:52:0610   other terms and conditions remain unchanged from original

10:52:1111   agreements, do you see that?

10:52:1212   A.      Yes.

10:52:1213   Q.      This amendment left unchanged in paragraph 8 in the

10:52:1914   original MTA?

10:52:2015   A.      Correct.

10:52:2016   Q.      You sent Gilead this first amendment in January of

10:52:2317   2006, right?

10:52:2418   A.      Correct.

10:52:2419   Q.      One month later in February of 2006 you filed your

10:52:2820   provisional patent application?

10:52:2921   A.      Correct.

10:52:2922   Q.      But when you made your request for drugs in January

10:52:3323   of 2006, you didn't tell Gilead that you were planning on

10:52:3724   filing a patent application based on the work you had done

10:52:4125   using the material you had requested pursuant to your MTAs,
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                                                                             298
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10:52:47 1   right?

10:52:47 2   A.       Yes.

10:52:48 3   Q.       Now, after you filed your provisional patent

10:52:51 4   application in February of 2006, you continued to seek more

10:52:54 5   drugs from Gilead, correct?

10:52:55 6   A.       Correct.

10:52:57 7   Q.       If I could have you turn to Tab 12, do you see a

10:53:04 8   document marked JTX 71?        Do you have that document, doctor?

10:53:15 9   A.       Yes.

10:53:1510   Q.       And JTX 71 is an e-mail from you to Dr. Rooney at

10:53:2011   Gilead dated February 28th, 2006.         Right?

10:53:2412   A.       Correct.

10:53:2513                   MS. FERRERA:    Your Honor, we offer JTX 71.

10:53:2714                   MR. BROWN:   No objection.

10:53:2815                   THE COURT:   Thank you.    It's admitted.

10:53:3016                   (JTX Exhibit No. 71 was admitted into evidence.)

10:53:3017   BY MS. FERRERA:

10:53:3218   Q.       In your February 28, 2006, e-mail, you're requesting

10:53:3619   now 200 grams of TDF to support your PrEP monkey studies,

10:53:4120   right?

10:53:4221   A.       Yes.

10:53:4222   Q.       This is less than a month after you had filed your

10:53:4623   provisional patent application?

10:53:4724   A.       Correct.

10:53:4825   Q.       In your February 28th e-mail you say you're attaching
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                                                                             299
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10:53:51 1   an amendment to the current MTA requesting more TDF?

10:53:56 2   A.        Correct.

10:53:57 3   Q.        If you turn to the second page of the document, this

10:54:00 4   is the amendment to the MTA that you refer to in the e-mail,

10:54:03 5   right?

10:54:04 6   A.        Correct.

10:54:04 7   Q.        And just like the amendment that we looked at a

10:54:07 8   moment ago, this second amendment states that all other

10:54:11 9   terms besides the amended terms remain unchanged in the

10:54:1510   original 471 MTA, correct?

10:54:1811   A.        Correct.

10:54:1812   Q.        As of February 28, 2006, the IP provision from your

10:54:2313   471 MTA remains unchanged, correct?

10:54:2714   A.        Correct.

10:54:2815   Q.        But again nowhere in your February 28th e-mail did

10:54:3316   you tell Gilead just a few weeks earlier you had filed a

10:54:3717   patent application based on the results of your monkey

10:54:4018   studies, correct?

10:54:4119   A.        Correct.

10:54:4120   Q.        Now, during your direct examination, your attorney

10:54:4421   showed you PTX 882.      Maybe we can just pull that up on the

10:54:5122   screen.    It should be in the binder that your counsel gave

10:54:5723   you that has the government's seal on it?

10:54:5924   A.        Which tab?

10:55:0025   Q.        I'm not sure which -- I think it's called PTX 882.
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10:55:05 1   It's in the binder from your counsel, Dr. Heneine, we have

10:55:09 2   it on the screen?

10:55:10 3   A.       I see it on the screen.

10:55:11 4   Q.       This is the e-mail that you sent to Dr. Rooney in

10:55:14 5   February of 2006 attaching your CROI presentation; right?

10:55:19 6   A.       Correct.

10:55:19 7   Q.       There is no mention in the e-mail of patent

10:55:23 8   applications?

10:55:23 9   A.       Yes.

10:55:2410   Q.       And there is no mention in the CROI presentation of

10:55:2911   patent applications?

10:55:3012   A.       Yes.

10:55:3113   Q.       And then you also talked about other drafts of your

10:55:3414   article that you sent to Gilead I believe it was in the

10:55:3915   previous year, PTX 1210 and 1211 and again in the

10:55:4416   government's binder.      If we can pull those up on the screen

10:55:4717   as well, that will help?

10:55:4818   A.       Yes.

10:55:4919   Q.       There is no mention of patent applications in that

10:55:5320   draft application, right, or article, correct?

10:55:5521   A.       Yes.

10:55:5622   Q.       No mention of patent applications in the e-mail,

10:55:5923   right?

10:55:5924   A.       Yes.

10:56:0125   Q.       Now the first time that you disclosed your patent
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                                                                             301
                                      Heneine - cross

10:56:04 1   application to anyone outside the CDC was in your

10:56:08 2   February 2008 PLoS Medicine article, correct?

10:56:11 3   A.      Yes.

10:56:18 4   Q.      And if we could pull that up, I believe it was

10:56:20 5   PTX-443.    If we turn on to the competing interest section on

10:56:29 6   the following page.      And Dr. Heneine, again, no patent

10:56:35 7   application number identified; right?

10:56:38 8   A.      That was not customary in these publications to

10:56:44 9   include that detail.

10:56:4510   Q.      But there is no number identified, right, right,

10:56:4911   Dr. Heneine?

10:56:4912   A.      Exactly.

10:56:5013   Q.      No title of the patent application?

10:56:5214   A.      Again, no title, not customary in a publication to

10:56:5715   put all those details.

10:56:5816   Q.      I understand, but there was no title, Dr. Heneine, no

10:57:0317   compound identified?

10:57:0418   A.      That's right.

10:57:0419   Q.      And you agree that methods for prophylaxis could

10:57:0820   refer to a variety of different things?

10:57:1021   A.      Maybe, yes.

10:57:1122   Q.      Could refer to a new gel for prophylaxis, right?

10:57:1523   A.      That was not what the paper was about, the paper was

10:57:1724   about PrEP with two drugs, Tenofovir and FTC.

10:57:2225   Q.      I understand, Dr. Heneine.       My question is simply the
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                                                                             302
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10:57:27 1   term methods of prophylaxis could refer to something other

10:57:31 2   what this was talking about, right?

10:57:33 3   A.       Yes.

10:57:33 4   Q.       In fact, in other articles talking about other

10:57:37 5   subjects you use the exact same competing interest language,

10:57:42 6   right?

10:57:43 7   A.       Yes.

10:57:44 8   Q.       And we can agree that PTX 443, your PLoS Medicine

10:57:50 9   article was two years after you had filed your provisional

10:57:5310   patent application, right?

10:57:5511   A.       Yes.

10:57:5612   Q.       Now, Dr. Heneine, you knew that the CDC was

10:57:5813   conducting clinical trials regarding Truvada for PrEP in the

10:58:0214   mid to late 2000's, right?

10:58:0415   A.       Yes.

10:58:0516   Q.       And one of those clinical trials was the Botswana

10:58:0917   trial, right?

10:58:1018   A.       Yes.

10:58:1019   Q.       And you were aware of the progress of those trials?

10:58:1320   A.       It was not done in our branch, these were colleagues

10:58:1821   in the division, the epidemiology branch was aware of those.

10:58:2322   Q.       You were aware that those trials were ongoing right?

10:58:2623   A.       Yes.

10:58:2724   Q.       You traveled to Botswana with your colleague, Lynn

10:58:3125   Paxton to talk about your animal studies with the Botswana
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10:58:34 1   government, right?

10:58:35 2   A.      No, we talked about, there were questions on HIV drug

10:58:39 3   resistance that concerns that PrEP might increase that

10:58:44 4   resistance in the community and effect the efficacy of

10:58:49 5   treatment, I was asked because of my expertise in HIV drug

10:58:55 6   resistance to fly over to Botswana with Dr. Paxton and

10:59:00 7   address those questions.

10:59:01 8   Q.      So you went to Botswana with Dr. Paxton --

10:59:05 9   A.      To address those questions.

10:59:0610   Q.      But you didn't tell Dr. Paxton at any time about your

10:59:0911   patent application, correct?

10:59:1012   A.      Yes.

10:59:1513   Q.      Now, we saw during the jury trial that you

10:59:1814   participated in a meeting with the FDA in 2010 to discuss

10:59:2215   Gilead's forthcoming PrEP application.         Right?

10:59:2616   A.      Yes.

10:59:2717   Q.      And you knew at that time that your patent

10:59:2918   application was pending, right?

10:59:3119   A.      Yes.

10:59:3220   Q.      And you certainly understood, then, Dr. Heneine, that

10:59:3521   if Gilead's PrEP application was approved, that the claims

10:59:4022   of your patent might cover Truvada for PrEP?

10:59:4323   A.      Yes.

10:59:4424   Q.      And we also saw last week that you were on the

10:59:4725   writing committee for the CDC's PrEP guidelines that issued
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10:59:51 1   in 2014?

10:59:52 2   A.      Yes.

10:59:53 3   Q.      And you understood that the goal of those guidelines

10:59:56 4   was to encourage doctors to use Truvada for PEP, correct?

11:00:00 5   A.      Yes.

11:00:01 6   Q.      And you knew that your patent applications were

11:00:06 7   pending?

11:00:06 8   A.      Yes.

11:00:07 9   Q.      And you knew that if the patent applications issued,

11:00:1010   they might cover the use of Truvada for PrEP?

11:00:1211   A.      Right.

11:00:1312   Q.      But in 2016, you wrote to your boss, Dr. Mermin, we

11:00:1913   can pull up the exhibit, JTX 106, right?         So in 2016, you

11:00:3114   wrote to your boss, Dr. Mermin, right, Dr. Heneine?

11:00:3415   A.      Yes.

11:00:3516   Q.      And you told Dr. Mermin in this e-mail that Gilead

11:00:3817   had not been approached yet; right?

11:00:4218   A.      Yes.

11:00:4619   Q.      So even though you knew that Gilead now had a product

11:00:5020   on the market, drug, PrEP, and you knew that your claims in

11:00:5721   your PrEP patents might cover Truvada for PrEP, your

11:01:0022   understanding was that Gilead had not been approached yet as

11:01:0323   of February 2016; right?

11:01:0524   A.      I think what I meant, they have not been approached

11:01:0925   for licensing.
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11:01:10 1   Q.      Right.    So even though you knew that your patents

11:01:14 2   might cover Truvada for PrEP, you had made no effort to

11:01:18 3   contact Gilead and say hey, you might want to take a

11:01:23 4   license, right?

11:01:24 5   A.      That's not my job, usually that's the technology

11:01:29 6   transfer office responsibility to get licensing.

11:01:32 7   Q.      You made no effort to contact Gilead and say hey by

11:01:35 8   the way, I have a pending patent application that might

11:01:38 9   cover your product, right?

11:01:3910   A.      Like I said, licensing and all those things are not

11:01:4211   part of our responsibilities.

11:01:4312   Q.      You did have a responsibility to promptly notify

11:01:4713   Gilead of your patent application, correct?

11:01:4914   A.      I believe the notification was made in 2008.

11:01:5415   Q.      Not until two years after you filed your provisional

11:01:5716   patent application?

11:01:5717   A.      Yes.

11:01:5918   Q.      If I could have you turn to Tab 16 in your binder,

11:02:0319   Dr. Heneine.     That's DTX 256.    Do you see that?

11:02:1320   A.      Yes.

11:02:1321   Q.      This is an e-mail chain between you and someone named

11:02:1922   Johnetta Holcomb in December 2020, right?

11:02:2023   A.      Yes.

11:02:2024   Q.      And the subject line is inventor royalty payments?

11:02:2425   A.      Yes.
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11:02:25 1                  MS. FERRERA:    We move DTX 256 into evidence.

11:02:28 2                  MR. BROWN:   No objection.

11:02:30 3                  THE WITNESS:    Yes, I approved it.

11:02:36 4                  THE COURT:   Okay.   It's admitted.     I approved

11:02:39 5   it, too.

11:02:40 6                  (DTX Exhibit No. 256 was admitted into

11:02:40 7   evidence.)

11:02:40 8   BY MS. FERRERA:

11:02:42 9   Q.      In this e-mail Dr. Heneine, you were discussing

11:02:4510   royalties that you were expecting to receive related to your

11:02:4911   PrEP patent?

11:02:5012   A.      Correct.

11:02:5113   Q.      If you turn in to page 3, in the middle there is an

11:02:5414   e-mail from you dated November 23, 2020?

11:02:5715   A.      Yes.

11:02:5816   Q.      And you were e-mailing someone named Chevonne Jones

11:03:0217   about an outstanding royalty payment, right?

11:03:0518   A.      Yes.

11:03:0519   Q.      And then in an e-mail above that, you e-mail

11:03:0920   Ms. Jones approximately two weeks later, do you see that?

11:03:1221   A.      Yes.

11:03:1222   Q.      Again seeking another update to your royalty

11:03:1623   payments?

11:03:1724   A.      Yes.

11:03:1725   Q.      If we go to the first page, actually I guess it's
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11:03:20 1   still the second page, an e-mail, you contact Ms. Jones

11:03:24 2   again, right?

11:03:24 3   A.      Yes.

11:03:24 4   Q.      On December 14, 2020?

11:03:28 5   A.      Yes.

11:03:29 6   Q.      And then if you go to the first page, you e-mail her

11:03:35 7   again on December 18, 2020?

11:03:37 8   A.      Yes.

11:03:37 9   Q.      So in less than one month you e-mail five times to

11:03:4410   get information about your royalty payments, correct?

11:03:4611   A.      Correct.

11:03:4712   Q.      And when you were trying to get free drugs from

11:03:5013   Gilead you were diligent on e-mailing them to find out what

11:03:5314   the status of delivery and the status was of getting those

11:03:5715   MTAs completed, right?

11:04:0016   A.      The reason we were following up is we were told that

11:04:0617   royalty payments had been made at least a year earlier and

11:04:0918   they should have been received, and those payments were not

11:04:1319   received.    So we followed up and later it turned out that

11:04:2020   those funds were mistakenly located to a different program,

11:04:2521   so that's why the delay in those payments to the inventors.

11:04:2922   Q.      Right.    I understand, Dr. Heneine.      You believed you

11:04:3323   were entitled to something and you were diligent about

11:04:3524   following up on it, right?

11:04:3625   A.      No, this is really a delay payment issue, I would
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11:04:42 1   think you would do the same thing, too, if you were promised

11:04:45 2   that the check is in the mail, and you haven't received it

11:04:48 3   in a year.

11:04:49 4   Q.      I'm not disputing that, Dr. Heneine.         My question is

11:04:52 5   simply when you thought you were entitled to something, you

11:04:56 6   were diligent about following up to see what was going on

11:04:58 7   with it, right?

11:04:59 8   A.      Yes, like anyone would do.

11:05:01 9   Q.      And you were diligent about contacting Gilead when

11:05:0410   you wanted free drugs, right?

11:05:0511   A.      Right.

11:05:0612   Q.      But you didn't send a single e-mail to Gilead

11:05:0913   expressly telling them that you had filed a patent

11:05:1214   application that covered Truvada for PrEP based on the

11:05:1515   studies that you did based on the MTAs, right?

11:05:2016   A.      Correct.

11:05:2117                 MS. FERRERA:     Thank you.    No further questions.

11:05:2318                 THE COURT:    Any redirect?

11:05:2419                 MR. BROWN:    Briefly, Your Honor, very briefly.

11:05:2920                      REDIRECT EXAMINATION

11:05:2921   BY MR. BROWN:

11:05:3022   Q.      Dr. Heneine, how much in total have you received in

11:05:3423   royalty payments for the patents in this case?

11:05:3724   A.      Somewhere 44, $45,000.

11:05:4025                 MR. BROWN:    Thank you.    No further questions,
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                                                                             309


11:05:42 1   Your Honor.

11:05:42 2                 THE COURT:    All right.    I had a couple of

11:05:43 3   questions.

11:05:44 4                 So we saw in an e-mail where you sent

11:05:47 5   Dr. Janssen the patent number.        Do you remember that one?

11:05:50 6                 THE WITNESS:     Yes.

11:05:51 7                 THE COURT:    Did you ask Dr. Janssen why he

11:05:53 8   wanted it?

11:05:54 9                 THE WITNESS:     No.

11:05:5410                 THE COURT:    Did you care?

11:05:5511                 THE WITNESS:     No.

11:05:5612                 THE COURT:    If he had said he was going to

11:05:5813   disclose that patent number to Gilead, would you still have

11:06:0114   given him the number?

11:06:0215                 THE WITNESS:     Of course.

11:06:0316                 THE COURT:    Anything you guys want to follow-up

11:06:0517   on?

11:06:0718                 MR. BROWN:    Nothing from the government, Your

11:06:0919   Honor.

11:06:0920                 MS. FERRERA:     Nothing from Gilead.

11:06:1121                 THE COURT:    Okay.     Thank you, sir.   You may step

11:06:2022   down.

11:06:2023                 THE WITNESS:     Thank you.

11:06:5024                 THE COURT:    Hold on.    Before we go on, we have

11:06:5225   two questions from the jury so shift your hats.          Question
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11:06:57 1   number one.    Can we have clarification on the, "public prior

11:07:05 2   knowledge."    Does it mean the average person or does it mean

11:07:09 3   someone within the field?

11:07:13 4                 Question number two.      Clarification on

11:07:16 5   "reasonable inquiry."      Does this mean an average person or a

11:07:21 6   patient or doctor, or does it mean scientists to scientists?

11:07:31 7                 Do you guys want to think about it?

11:07:39 8                 MR. BASSETT:     Your Honor, I would probably like

11:07:42 9   to discuss it, but I think the answer is pretty clear, the

11:07:4510   person of ordinary skill in the art.

11:07:4711                 THE COURT:    Why don't you look at these.       I'm

11:07:4912   going to take a break for five minutes because I want a

11:07:5213   break and then when we come back in a couple of minutes, we

11:07:5614   can figure out what you want me to tell them.

11:07:5815                 COURT CLERK:     All rise.

11:08:0016                 (A brief recess was taken.)

11:44:5017                 THE COURT:    All right.     Please be seated.     You

11:44:5218   guys are going to go home to your nice warm offices.           It's

11:44:5719   so horrible, so sorry.

11:44:5920                 MR. BASSETT:     How long has it been like this?

11:45:0221                 THE COURT:    Really, it goes between freezing

11:45:0422   cold and horrifyingly hot.

11:45:0823                 MR. BASSETT:     I guess this is better.

11:45:1024                 THE COURT:    But like the last couple of days

11:45:1425   towards the end of the day, I could tell it wasn't freezing
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11:45:18 1   cold, but there is like something, almost, like when you

11:45:22 2   breathe you can tell that the air is getting kind of moist.

11:45:25 3                  MR. COTTRELL:    Your Honor, before we begin the

11:45:27 4   evidence, the parties filed their 50(a) motions yesterday

11:45:32 5   before the case went to the jury.

11:45:33 6                  THE COURT:    Yes, I saw that.

11:45:35 7                  MR. COTTRELL:    And we understand now the Court

11:45:38 8   has reserved, so it doesn't expect or want written responses

11:45:42 9   to the 50(a) motion.

11:45:4510                  THE COURT:    Yes, that's correct, thank you for

11:45:4611   clarifying.    If there is anything -- well, I don't think I'm

11:45:4912   going to need anything on those, and you can just renew to

11:45:5213   the extent yes, sir.

11:45:5314                  MR. COTTRELL:    Thank you, Your Honor.

11:45:5415                  MR. HOLVEY:   Your Honor, the government calls

11:45:5716   Dr. Tara Kirby to the stand.

11:46:1117                        DIRECT EXAMINATION

11:46:1518   BY MR. HOLVEY:

11:46:1919   Q.      Good morning, Dr. Kirby.

11:46:2020   A.      Good morning.

11:46:2121   Q.      And I just want to remind you that you're under oath.

11:46:2422   A.      Yes.

11:46:2523   Q.      Would you please --

11:46:2624                  THE COURT:    I usually do that, so thank you,

11:46:2825   Mr. Holvey.
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11:46:29 1                   MR. HOLVEY:   You're very welcome, Your Honor.

11:46:31 2   Q.      Would you please state your name for the record?

11:46:33 3   A.      Yes, it's Tara Leigh Kirby, T-A-R-A, L-E-I-G-H,

11:46:40 4   K-I-R-B-Y.

11:46:40 5   Q.      Would you please remind the Court your current

11:46:43 6   position within the government?

11:46:44 7   A.      Yes, I'm the director of the NIH office of technology

11:46:48 8   transfer.

11:46:48 9   Q.      I am going to ask to put PTX 1329 on the screen,

11:46:5410   that's already been admitted into the evidence.          Dr. Kirby,

11:46:5811   this is in your binder.

11:47:0012   A.      I see it.

11:47:0313   Q.      I would put it on the screen but it does not appear

11:47:0614   that I have an operator.       So, allow me to put it on the

11:47:1115   Elmo.

11:47:2316                   Dr. Kirby, do you recognize the document that I

11:47:4617   put on the document cam and that's in your binder?

11:47:4918   A.      Yes, I do.

11:47:4919   Q.      Can you remind the Court what this document is?

11:47:5220   A.      It's the chapter on PHS licensing policy.

11:47:5621   Q.      Dr. Kirby turning to the second page of the document,

11:48:0022   do you see the fourth bullet point on page 2?

11:48:0223   A.      I do.

11:48:0324   Q.      Could you read that for us?

11:48:0425   A.      PHS seeks to ensure that commercial partners
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11:48:08 1   expeditiously developed the licensed invention.

11:48:11 2   Q.      Is this licensing principal of the Public Health

11:48:13 3   service?

11:48:13 4   A.      It is.

11:48:13 5   Q.      How does the public health service enforce this

11:48:17 6   licensing principal on its licenses?

11:48:18 7   A.      A number of ways, when a company submits license

11:48:21 8   application, we require them to include a development plan,

11:48:25 9   a detailed development plan, we monitor their progress every

11:48:2810   year through reporting, and then the license itself will

11:48:3211   include benchmarks of different important points of all the

11:48:3612   development pathways for that drug.

11:48:3813   Q.      Thank you, Dr. Kirby.      If Gilead took a license for

11:48:4214   use in 2006 for the CDC PrEP patents would Gilead normally

11:48:4615   have been required as a condition of that license to seek

11:48:4916   FDA approval of a PrEP indication in humans?

11:48:5117   A.      I think so, yes.

11:48:5318   Q.      Where a PHS license requires licensing orders to

11:48:5719   apply to the FDA for a specific indication or receive FDA

11:49:0120   approval, does the NIH communicate with the FDA regarding

11:49:0421   FDA approval decisions of those subject drugs or other

11:49:0822   medical products that are related to NIH licenses?

11:49:1023   A.      No, I don't think so.

11:49:1124   Q.      Does the public health service keep its inventions or

11:49:1425   applications for inventions secret?
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11:49:16 1   A.      Definitely not.

11:49:17 2   Q.      Gilead asked you a number of questions about how

11:49:20 3   various specific circumstances might effect a PHS royalty

11:49:24 4   rate during your jury testimony last week, do you remember

11:49:27 5   that?

11:49:27 6   A.      Yes, I do.

11:49:28 7   Q.      In general do those specific circumstances that

11:49:31 8   Gilead asked you about end up changing PHS's approach to a

11:49:35 9   royalty rate?

11:49:3610   A.      I would say no.

11:49:3811   Q.      Why?

11:49:4012   A.      For a number of reasons.       I think that every license

11:49:4613   depends on the specific circumstances of the license, but in

11:49:4914   general for pharmaceuticals, a lot of this would not be

11:49:5415   applicable.    For example, whether the royalty rate would be

11:50:0016   effected based on whether there is an approval for an

11:50:0317   indication, there is no approval for an indication there is

11:50:0618   no earned royalties, so I'm not sure why we would change

11:50:0919   that.   There are other examples.

11:50:1120   Q.      Thank you very much, Dr. Kirby.

11:50:1321                  Dr. Kirby, is there any evidence that you're

11:50:1622   aware of that proves that Gilead would have received

11:50:1923   different licensing terms or lower licensing rate if they

11:50:2224   had taken a license in 2006 compared with the terms and

11:50:2525   rates that your office offered in 2016?
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11:50:28 1   A.       I don't believe so.

11:50:30 2   Q.       Dr. Kirby, did the public health service offer to

11:50:33 3   license the CDC patents to Gilead on commercially reasonable

11:50:37 4   terms?

11:50:37 5   A.       Yes, I definitely believe that's the case.

11:50:41 6   Q.       Did Gilead request a license from the public health

11:50:44 7   service or CDC relating the CDC patents?

11:50:47 8   A.       Not that I am aware of.

11:50:48 9   Q.       If Gilead made that request, would your office have

11:50:5110   considered that request?

11:50:5211   A.       Certainly, we would have been happy to.

11:50:5512   Q.       Dr. Kirby, if you could turn with me in your binder

11:50:5813   to the next document, PTX 578.

11:51:0914                 And it's on the screen -- this has not been

11:51:1415   admitted into evidence yet.       Do you want to take this down?

11:51:1716   Sorry.    For a moment.    Dr. Kirby, do you recognize this

11:51:2017   document?

11:51:2118   A.       Yes, I do.

11:51:2219   Q.       And what is this document?

11:51:2320   A.       This is an e-mail exchange between me and Lorie Ann

11:51:3021   Morgan of Gilead.

11:51:3022   Q.       When was this e-mail sent?

11:51:3223   A.       This most recent one was April 12, 2017.

11:51:3624   Q.       Did you author that e-mail?

11:51:3725   A.       I did.
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                                                                             316
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11:51:38 1                 MR. HOLVEY:    And I would like to move for

11:51:40 2   admission of PTX 578.

11:51:45 3                 MR. COOK:    No objection.

11:52:08 4                 THE COURT:    Sorry.    We have a verdict.     But I'm

11:52:10 5   just trying to figure out what we should do vis-a-vis, they

11:52:14 6   just got their lunch.      He's going to see what they want to

11:52:39 7   do.   Go ahead.

11:52:41 8                 MR. HOLVEY:    So, Your Honor, I would move

11:52:43 9   admission of PTX 578.

11:52:4610                 MR. COOK:    No objection.

11:52:4711                 THE COURT:    All right.

11:52:4812                 (PTX Exhibit No. 578 was admitted into

11:52:4913   evidence.)

11:52:4914   BY MR. HOLVEY:

11:52:5115   Q.      Dr. Kirby, looking at the first e-mail, first in time

11:52:5416   on the last page of the e-mail chain, when was that e-mail

11:52:5717   sent and who was it from?

11:52:5918   A.      That was sent on February 15, 2017, and that was from

11:53:0719   Lorie Ann Morgan.

11:53:0720   Q.      And what is attached to that e-mail?         Or what was

11:53:1221   attached to that e-mail?

11:53:1322   A.      A timeline that they prepared that showed what they

11:53:1823   believed the progression of PrEP development was.

11:53:2124   Q.      And the next e-mail up on this page, was there also

11:53:2425   an attachment?
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                                                                             317
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11:53:25 1   A.      Yes.    It was a PowerPoint presentation.

11:53:29 2   Q.      Okay.    And could you please describe to the Court

11:53:32 3   what Gilead discussed with you in 2017?

11:53:35 4   A.      Yes.    At a high level, they said that they believed

11:53:40 5   the patents were invalid and provided some documents that

11:53:43 6   they thought were relevant to that.        They also provided

11:53:48 7   excerpts of two MTAs that they said showed that we were

11:53:55 8   breaching those MTAs.

11:53:59 9                   THE COURT:    So do we want to -- the jury wants

11:54:0210   to come in now.     Sorry, do you mind stepping down and we'll

11:54:0711   take a break -- I just want to get the citizens serving out

11:54:1112   of here.

11:54:1213                   MR. HOLVEY:    Of course, Your Honor.

11:54:1814                   (A brief recess was taken.)

12:10:2815                   THE COURT:    All right.   When you're ready.

12:10:3816                   MR. HOLVEY:    Thank you, Your Honor.

12:10:3917   BY MR. HOLVEY:

12:10:4018   Q.      Dr. Kirby before the brief break we were talking

12:10:4219   about the second e-mail from the bottom on PTX 578 dated

12:10:5120   February 16th of 2017.        Do you see that e-mail?

12:10:5321   A.      Yes.

12:10:5422   Q.      Okay.    And was there an attachment to this e-mail?

12:10:5723   A.      Yes, there was a PowerPoint presentation.

12:11:0024   Q.      And could you please describe -- I'm sorry, we're

12:11:0325   describing it again, but could you please describe what
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                                                                             318
                                      Kirby - direct

12:11:08 1   Gilead discussed with you in 217 relating to that

12:11:12 2   presentation?

12:11:12 3   A.      At a high level, they expressed that they believe

12:11:14 4   that the CDC PrEP patents were invalid, and provided some

12:11:19 5   documents that they felt pointed to that.         They also

12:11:28 6   provided information about two MTAs that they believe that

12:11:32 7   we may have breached.

12:11:35 8   Q.      This was a presentation that they gave to you in

12:11:38 9   person that you attended?

12:11:3910   A.      Well, over the phone and webcam, yes.

12:11:4111   Q.      Got you.    And how detailed was that presentation?

12:11:4412   A.      It was very detailed.

12:11:4513   Q.      And to your recollection, how many MTAs did Gilead

12:11:4914   say the government had breached during that discussion and

12:11:5115   presentation?

12:11:5216   A.      I'm pretty sure it was two.

12:11:5417   Q.      And to your recollection, how many CTAs did Gilead

12:11:5818   say the government had breached during that discussion and

12:12:0219   presentation?

12:12:0220   A.      I don't recall them mentioning any CTAs.

12:12:0421   Q.      Were CTAs ever discussed with you regarding the CDC

12:12:0822   patents during that time frame?

12:12:1023   A.      Not that I can recall.

12:12:1124   Q.      Did Gilead provide you with references to prior art

12:12:1425   that it thought was relevant to CDC patents during and
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                                                                             319
                                      Kirby - direct

12:12:19 1   before that meeting?

12:12:19 2   A.       There was some information in those slides, I had

12:12:23 3   also received some information indirectly that Gilead had

12:12:27 4   provided to Dr. Mermin.

12:12:28 5   Q.       Could you tell me a little bit more about that?

12:12:30 6   A.       Sure.    I think a couple of weeks before this, I heard

12:12:34 7   Gilead had a conversation with Dr. Mermin and mentioned two

12:12:39 8   publications that they felt were relevant, I don't believe

12:12:42 9   they provided specifics on those references, at least we

12:12:4510   weren't aware of them, so I think I think Dr. Heneine looked

12:12:4811   up what he thought might be those references and gave them

12:12:5112   to me.

12:12:5113   Q.       What did do you with those references and also the

12:12:5414   references relating to the presentation?

12:12:5515   A.       I gave everything to our contract law firm and they

12:12:5916   filed an IDS.

12:13:0217   Q.       Thank you very much.

12:13:0418                    Prior to the 2017 meeting, Dr. Kirby, when you

12:13:1119   sent those reference to the law firm, did you withhold any

12:13:1420   references that Gilead had provided to you or that you were

12:13:1621   aware of at that time?

12:13:1722   A.       I don't believe so.

12:13:1823   Q.       Dr. Kirby, did you watch the house over site

12:13:2624   committees hearing attended by Mr. O'Day in May of 2019?

12:13:3025   A.       Yes, I did.
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                                                                             320
                                      Kirby - direct

12:13:31 1   Q.      Did you watch it live as it was being conducted?

12:13:34 2   A.      I believe so.

12:13:34 3   Q.      Did you hear Mr. O'Day say that Gilead was not going

12:13:38 4   to challenge the CDC patents?

12:13:40 5   A.      Yes, I certainly did.

12:13:41 6   Q.      Are you aware that in 2019 in August, 3 months later,

12:13:46 7   Gilead filed four IPRs against each of the CDC PrEP patents?

12:13:51 8   A.      Yes, I am.

12:13:52 9   Q.      Would you please turn in your binder to the next four

12:13:5610   documents, sorry, eight documents later, PTX 1044, 1045,

12:14:0111   1046, and 1047.

12:14:0412   A.      Yes.

12:14:0413   Q.      And could you look at those documents and make sure

12:14:0814   you have a sense of what they are?

12:14:1215   A.      Yes.

12:14:1516   Q.      Okay.    And do you recognize these four documents?

12:14:1817   A.      Yes.    They're all petitions for IPR filed by Gilead.

12:14:2418   Q.      When were these documents filed with the PTO?

12:14:2919   A.      I have to refresh my memory.       One moment.

12:14:3620   August 2019.

12:14:3721   Q.      And when those documents were filed, did you receive

12:14:4022   copies of those documents?

12:14:4223   A.      I did.

12:14:4324   Q.      And did you read those copies?

12:14:4525   A.      Yes, I did.
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                                                                             321
                                      Kirby - direct

12:14:47 1                   MR. HOLVEY:   Your Honor, the government would

12:14:50 2   move that exhibits PTX 1044, 1045, 1046 and 1047 be admitted

12:14:55 3   into evidence.

12:14:56 4                   MR. COOK:    No objection.

12:14:57 5                   THE COURT:    Thank you.   They're admitted.

12:14:59 6                   MR. HOLVEY:   Thank you very much.

12:15:00 7                   (PTX Exhibits No. 1044, 1045, 1046, and 1047

12:15:01 8   were admitted into evidence.)

12:15:01 9   BY MR. HOLVEY:

12:15:0210   Q.      Dr. Kirby if you turn with me to PTX 1040, 1041,

12:15:0711   1042, and 1043.

12:15:1312   A.      Yes.

12:15:1313   Q.      And do you see those documents?

12:15:1614   A.      I do.    Yes.

12:15:2515   Q.      And do you recognize those documents?

12:15:2716   A.      I do.

12:15:2717   Q.      And what are those documents?

12:15:2918   A.      These are all the decisions on the inter partes

12:15:3319   reviews, all denied institution.

12:15:3520   Q.      And when were these documents filed by the patent

12:15:3921   trial and appeal board?

12:15:4022   A.      February 20th of 2020, and I think also earlier in

12:15:4323   February, there were two sets.

12:15:4524   Q.      And when these documents were filed, did you receive

12:15:4925   copies of these documents?
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                                                                             322
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12:15:50 1   A.      I did.

12:15:50 2   Q.      Did you read those copies?

12:15:52 3   A.      I did.

12:15:52 4                   MR. HOLVEY:   Your Honor the government would

12:15:54 5   move PTX 1040, 1041, 1042 and 1043 into evidence at this

12:15:59 6   time.

12:15:59 7                   MR. COOK:    No objection, but I believe that 1040

12:16:02 8   and 1041 are already admitted.

12:16:06 9                   THE COURT:    They're admitted to the extent that

12:16:0810   they weren't already.

12:16:0811                   (PTX Exhibits No. 1040, 1041, 1042, and 1043

12:16:0812   were admitted into evidence.)

12:16:1013   Q.      Dr. Kirby can you turn with me to PTX 1042?

12:16:1414   A.      Okay.

12:16:1415   Q.      And on ten -- in 1042, if you turn with me to page 4

12:16:1416   and then 5?

12:16:1417   A.      Yes.

12:16:2618   Q.      Could you tell me what reference is being discussed

12:16:2919   in item 5?

12:16:3220   A.      Item 5 is I believe the Smith reference.

12:16:3521   Q.      Could you tell give me the title of the Smith

12:16:3922   reference?

12:16:3923   A.      That's Antiretroviral Post-exposure Prophylaxis After

12:16:4324   Sexual, Injection-drug use, or other Nonoccupational

12:16:4725   Exposure to HIV in the United States.
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                                                                             323
                                      Kirby - direct

12:16:50 1   Q.      And could you turn with me to page 45 of the

12:16:55 2   decision?

12:17:01 3   A.      All right.    My fingers are a little cold.

12:17:04 4   Q.      No problem.

12:17:05 5   A.      Page 45, yes.

12:17:06 6   Q.      There is a section entitled Analysis of Alleged

12:17:11 7   Obviousness.     Do you see that section?

12:17:12 8   A.      Yes, I do.

12:17:13 9   Q.      What do you understand that section to be discussing?

12:17:1510   A.      Whether or not Szekeres is obvious over the prior

12:17:2411   art, obvious with respect to these patents.

12:17:2912   Q.      Is it with respect to Szekeres and Smith or just

12:17:3513   Szekeres?

12:17:3514   A.      They also mention Smith, yes.

12:17:3715   Q.      If you'll turn with me to page 53, which is the first

12:17:4016   full paragraph in the middle of the page?

12:17:4417   A.      Uh-huh.

12:17:4518   Q.      Do you understand the PTAB to have reached a

12:17:4819   conclusion regarding that analysis?

12:17:4920   A.      Yes, I do.

12:17:5021   Q.      What is that conclusion?

12:17:5122   A.      That the petition and the petitioner had not

12:17:5423   established a reasonable likelihood that they would prevail

12:18:0124   in showing this patent to be unpatentable and un-obvious.

12:18:0425   Q.      Thank you Dr. Kirby.      Dr. Kirby are aware of the
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                                                                             324
                                        Kirby - cross

12:18:09 1   PTAB's ability to deny the patients based on their

12:18:11 2   discretion rather than the merits?

12:18:12 3   A.        Yes, I am.

12:18:14 4   Q.        Would you turn with me to page 55?

12:18:16 5   A.        Yes.

12:18:17 6   Q.        And on page 55 in the first full paragraph, do you

12:18:20 7   have an understanding of how the PTAB denied Gilead's

12:18:23 8   petition?

12:18:24 9   A.        Yes, I do.

12:18:2410   Q.        What is that understanding?

12:18:2611   A.        That it is not through their discretion, it was

12:18:3012   through -- based on the merits of the challenge to the

12:18:3413   claims.

12:18:3414   Q.        Thank you, Dr. Kirby.     And do you have that

12:18:3715   understanding for each of the other three petitions?

12:18:3916   A.        Yes.

12:18:4017   Q.        Thank you.

12:18:4118

12:18:4419                    MR. HOLVEY:   One moment, Your Honor.

12:18:4820                    Thank you, Your Honor.    No further questions for

12:18:5121   Dr. Kirby at this time.

12:18:5422                    THE COURT:    Mr. Cook.

12:19:0223                    MR. COOK:    Thank you, Your Honor.

12:19:0324                      CROSS-EXAMINATION

12:19:0325   BY MR. COOK:
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                                                                             325
                                        Kirby - cross

12:19:04 1   Q.      Good afternoon, Dr. Kirby.

12:19:05 2   A.      Good afternoon.

12:19:06 3   Q.      My name is Tim Cook.      We haven't had the opportunity

12:19:09 4   to meet before.

12:19:10 5                 You understand that the CDC's PrEP patents that

12:19:15 6   are at issue in this case claim priority to a provisional

12:19:18 7   application that was filed in February 2006, correct?

12:19:21 8   A.      That would be my recollection, yes.

12:19:23 9   Q.      And you had no involvement in the decision to file a

12:19:2710   patent application, correct?

12:19:2811   A.      That's right.

12:19:2812   Q.      And you also had no involvement in the decision to

12:19:3213   file the non-provisional application the next year, correct?

12:19:3414   A.      That's also correct.

12:19:3615   Q.      As of 2006 and 2007, you had no responsibility for

12:19:4116   prosecution of the patent portfolio that includes the

12:19:4517   patents in this case, correct?

12:19:4718   A.      That's correct.

12:19:4719   Q.      And you had no responsibility for the PrEP patents at

12:19:4920   issue in this case until early 2014; correct?

12:19:5221   A.      Yes, that's correct.

12:19:5322   Q.      That was more than eight years after the provisional

12:19:5623   application was filed; correct?

12:19:5724   A.      That seems to be correct, yes.

12:19:5925   Q.      And more than seven years after the non-provisional,
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                                                                             326
                                        Kirby - cross

12:20:02 1   correct?

12:20:02 2   A.       Yes.

12:20:03 3   Q.       Now, when you took over the management of the PrEP

12:20:06 4   patent portfolio in 2014, no effort was made to determine

12:20:11 5   whether there were any applicable MTAs, correct?

12:20:15 6   A.       I am not aware of an effort, at least not by myself.

12:20:19 7   Q.       So you didn't make any attempt to determine if there

12:20:21 8   were MTAs related to the patents, correct?

12:20:24 9   A.       I personally did not.

12:20:2510   Q.       And did you not make any attempt at that time to

12:20:2811   determine if any obligations under the MTAs had been met

12:20:3112   with respect to the CDC's PrEP patents, correct?

12:20:3713   A.       That's correct, I wasn't aware of any obligations.

12:20:4014   Q.       Okay.   Now, Gilead and the CDC have entered into

12:20:4415   Material Transfer Agreements other than the ones that are at

12:20:4716   issue in this case, correct?

12:20:4817   A.       I believe so.

12:20:4918   Q.       Let's take a look, you should have a cross binder up

12:20:5319   there.    Do you have it?    Great.    Let's take a look at Tab 4,

12:20:5720   which is DTX 323?

12:21:0221   A.       Okay.

12:21:0322   Q.       This is an e-mail from someone at the NIH to someone

12:21:0623   at Gilead, correct?

12:21:0824   A.       That's right.

12:21:0825   Q.       And you were copied, correct?
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                                                                             327
                                        Kirby - cross

12:21:10 1   A.      Correct.

12:21:11 2                  MR. COOK:    Your Honor, defendants offer DTX 323

12:21:14 3   into evidence.

12:21:15 4                  MR. HOLVEY:   No objection, Your Honor.

12:21:16 5                  THE COURT:    Thank you.   It's admitted.

12:21:17 6                  (DTX Exhibit No. 323 was admitted into

12:21:18 7   evidence.)

12:21:18 8   BY MR. COOK:

12:21:19 9   Q.      The e-mail was someone at the NIH with the title

12:21:2210   licensing and partnering manager, correct?

12:21:2411   A.      Actually licensing and patenting manager.

12:21:2712   Q.      I'm sorry, licensing and patenting manager, right?

12:21:3013   A.      Yes.

12:21:3014   Q.      And it's addressed specifically to someone at Gilead,

12:21:3315   correct?

12:21:3316   A.      Yes, it is.

12:21:3417   Q.      And the subject is patent filing, correct?

12:21:3818   A.      Yes.

12:21:3819   Q.      The first line of this e-mail if we go to the body

12:21:4220   says this is notification that the CDC has filed a U.S.

12:21:4521   provisional patent application.        Correct?

12:21:4822   A.      That is correct.

12:21:4923   Q.      The e-mail expressly says that it's a notification,

12:21:5324   correct?

12:21:5325   A.      It does say a notification.
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 137 of 198 PageID #: 52969
                                                                             328
                                        Kirby - cross

12:21:55 1   Q.        And the e-mail was the exact serial number of the

12:21:59 2   application that was filed, correct?

12:22:00 3   A.        I believe so.

12:22:01 4   Q.        The e-mail was sent on June 14th, 2017, correct?

12:22:06 5   A.        Yes, that appears to be the case.

12:22:08 6   Q.        And the patent application that's discussed here was

12:22:11 7   filed about three months earlier on March 20th of 2017;

12:22:15 8   correct?

12:22:15 9   A.        Yeah, that's what that e-mail says.

12:22:1710   Q.        So the e-mail also states this invention arose from

12:22:2211   CDC's use of materials provided under Material Transfer

12:22:2612   Agreement and then it gives a number, between CDC and

12:22:2913   Gilead.    Correct?

12:22:3014   A.        Yes, it does.

12:22:3115   Q.        But the e-mail refers to a specific patent

12:22:3416   application and a specific MTA number, correct?

12:22:3717   A.        Yes.

12:22:4018   Q.        And the e-mail ends, if we go to the last sentence,

12:22:4319   please confirm the receipt of this e-mail.          Correct?

12:22:4620   A.        Yes, that's what it says.

12:22:4721   Q.        This is an e-mail that NIH sent to Gilead in 2017.

12:22:5222   Correct?

12:22:5223   A.        Yes, it is.

12:22:5324   Q.        Now, this is not about a patent application that's at

12:22:5625   issue in this case, right?
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 138 of 198 PageID #: 52970
                                                                             329
                                        Kirby - cross

12:22:58 1   A.       That's right.

12:22:58 2   Q.       In fact, this e-mail is about a patent application

12:23:01 3   that the CDC is pursuing related to uses of a different one

12:23:05 4   of Gilead's drugs from the ones that are at issue in this

12:23:09 5   case, correct?

12:23:09 6   A.       I believe that's so.

12:23:11 7   Q.       Dr. Heneine is one of the inventors listed on this

12:23:13 8   patent application too, correct?

12:23:15 9   A.       Yes, I believe that's true.

12:23:1710   Q.       But again, this patent application is based on

12:23:2011   studies done with drugs that Gilead provided to Dr. Heneine

12:23:2312   for free; correct?

12:23:2713   A.       As far as I am aware they were provided at no cost,

12:23:3014   right.

12:23:3015   Q.       Now, the MTA discussed here is not one of the MTAs at

12:23:3416   issue in this case, right?

12:23:3517   A.       No.

12:23:3618   Q.       And in fact, you previously testified that the MTA

12:23:3919   mentioned in this e-mail does not even have a prompt

12:23:4220   notification requirement; correct?

12:23:4421   A.       There is no notification requirement for inventions,

12:23:4922   right.

12:23:4923   Q.       But even without that requirement, you still sent all

12:23:5224   of the information in that e-mail to Gilead; correct?

12:23:5625   A.       Without that specific requirement, yes, I did.
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 139 of 198 PageID #: 52971
                                                                             330
                                        Kirby - cross

12:23:59 1   Q.      And you understand that the MTAs at issue in this

12:24:01 2   case did have a requirement for prompt notification to

12:24:04 3   Gilead, correct?

12:24:06 4   A.      That's my understanding.

12:24:08 5   Q.      But you're not aware of anyone sending the e-mail

12:24:11 6   like the one we just looked at to Gilead around the time the

12:24:14 7   2006 application was filed for the PrEP patents, correct?

12:24:18 8   A.      I am not aware of any such e-mail.

12:24:20 9   Q.      Now, you are aware that the government has pointed to

12:24:2310   some other documents like the PLoS article that it contends

12:24:2911   notified Gilead of the patent application, correct?

12:24:3112   A.      I am aware of that article, yeah.

12:24:3313   Q.      I'm sorry?

12:24:3414   A.      I'm aware of that article.

12:24:3615   Q.      And in fact you sent the article to Gilead in 2017,

12:24:4216   correct?

12:24:4317   A.      Yes, and also earlier.

12:24:4618   Q.      Okay.    Now, let's put that article, which is PTX 425,

12:24:5019   already in evidence, on the screen beside the e-mail that we

12:24:5420   just looked at.     Okay?   So PTX 425 is a published scientific

12:25:1121   article, correct?

12:25:1222   A.      Yes.

12:25:1323   Q.      It's not an e-mail that was specifically sent to

12:25:1524   Gilead, correct?

12:25:1725   A.      That's true.
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                                                                             331
                                        Kirby - cross

12:25:18 1   Q.      And PTX 425 does not refer to a specific patent

12:25:24 2   application number, correct?

12:25:25 3   A.      I am not aware that it does, I can't quite read it,

12:25:29 4   but I think that's my recollection.

12:25:31 5   Q.      Okay.    The thing that you're saying that you can't

12:25:33 6   quite read is the conflict of interest section, right?

12:25:36 7   A.      I think so, yes.

12:25:36 8   Q.      It's a small section, right?

12:25:38 9   A.      Well, on this certainly.

12:25:4010   Q.      Why don't we blow it up?       There is no patent

12:25:4411   application number listed there, correct?

12:25:4712   A.      Yes, there is some description of the patent, but no

12:25:5113   patent number.

12:25:5114   Q.      Right.    So the only reference to a patent application

12:25:5315   in this article is that general reference in the conflict of

12:25:5716   interest section, right?

12:25:5917   A.      That's all that I am aware of.

12:26:0118   Q.      And the competing interests section doesn't refer to

12:26:0519   the title of the patent application, correct?

12:26:0820   A.      I don't see it there, correct.

12:26:0921   Q.      It doesn't say anything about the date the

12:26:1222   application was filed, correct?

12:26:1323   A.      That also seems to be correct.

12:26:1624   Q.      The 2008 PLoS article does not refer to a specific

12:26:2125   Material Transfer Agreement, correct?
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                                                                             332
                                        Kirby - cross

12:26:23 1   A.      I don't believe that it does.

12:26:24 2   Q.      Now, you agree that there are a lot of differences

12:26:28 3   between what's in the notification e-mail that we just

12:26:30 4   looked at, DTX 323, and what's in the PLoS article, PTX 425,

12:26:36 5   correct?

12:26:37 6   A.      There are certainly differences.

12:26:39 7   Q.      But the PLoS article is what Dr. Heneine sent to

12:26:43 8   Gilead, correct?

12:26:44 9   A.      That's what I understand.

12:26:4510   Q.      Gilead never got an e-mail like the one on the left,

12:26:4811   correct?

12:26:4812   A.      Not that I am aware of.

12:26:5113   Q.      Okay.    Now, in 2017, you corresponded with Gilead

12:26:5614   several times about the CDC's PrEP patents, correct?

12:26:5915   A.      Yes, I did.

12:27:0016   Q.      And you had a call that with Gilead that you

12:27:0317   testified about on direct in February of 2017, correct?

12:27:0618   A.      Yes.

12:27:0619   Q.      Let's take a look at Tab 6 in your binder, which is

12:27:1020   DTX 354, already in evidence.

12:27:1321   A.      Yes.

12:27:1422   Q.      There is a presentation that begins on the second

12:27:1723   page of this document; correct?

12:27:2224   A.      Yes.

12:27:2325   Q.      And this is the presentation that Gilead gave to you
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                                                                             333
                                        Kirby - cross

12:27:25 1   in that February 2017 call; correct?

12:27:31 2   A.      I believe it is.     I would have to do a comparison to

12:27:36 3   be sure, but it looks very similar.

12:27:38 4   Q.      Let's take a look at page 6, which is slide number

12:27:42 5   five.

12:27:49 6   A.      Okay.

12:27:50 7   Q.      Gilead told you about the CDC's PEP guidelines in

12:27:54 8   this meeting, correct?

12:27:56 9   A.      I'm sorry, can you repeat that?

12:27:5710   Q.      Gilead told but the CDC's PEP guidelines, the

12:28:0111   January 2005 PEP guidelines in this meeting, correct?

12:28:0512   A.      Yes, I believe so.

12:28:0613   Q.      If we turn to page 14, which is slide 13?

12:28:1514   A.      13, okay.

12:28:1615   Q.      Gilead also told you that the CDC PEP guidelines had

12:28:1916   not been provided to the Patent Office during the

12:28:2217   prosecution of the PrEP patents; correct?

12:28:2618   A.      I believe that is correct.

12:28:2819   Q.      And up to this point, CDC in fact had not disclosed

12:28:3220   its own HIV PEP guidelines to the Patent Office during

12:28:3621   prosecution of these patents; right?

12:28:3822   A.      I believe that's the case.

12:28:4023   Q.      And on the next page of the slide deck, Gilead told

12:28:4324   you that the CDC PEP guidelines anticipated four claims of

12:28:4825   the '509 patent; correct?
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                                                                             334
                                        Kirby - cross

12:28:53 1   A.      That appears to be what they said, yes.

12:28:55 2   Q.      And the CDC PEP guidelines weren't disclosed to the

12:29:01 3   Patent Office until the following month in March of 2017,

12:29:05 4   correct?

12:29:05 5   A.      I don't remember the exact date but that seems like

12:29:07 6   the correct time frame, yes.

12:29:08 7   Q.      So just a few weeks after Gilead gave you have this

12:29:11 8   presentation, the CDC disclosed PEP guidelines to the Patent

12:29:16 9   Office, correct?

12:29:1610   A.      That's correct.

12:29:1711   Q.      Now, Gilead told you about other problems that it

12:29:2012   perceived with the '509 patent during this meeting, correct?

12:29:2413   A.      I believe so, yes.

12:29:2514   Q.      Let's turn to page 18.      Slide 17.

12:29:3315   A.      Okay.

12:29:3316   Q.      Now, Gilead told you about the pre-clinical trials

12:29:3717   using TDF for PrEP; correct?

12:29:4018   A.      I believe so, yes.

12:29:4319   Q.      Gilead told you about grant proposals to use Truvada

12:29:4620   for PrEP in clinical trials right after Truvada was

12:29:5021   approved; correct?

12:29:5122   A.      Yes, I believe so.

12:29:5323   Q.      Gilead told you that at least one doctor may have

12:29:5624   given Truvada for PrEP before the patent's critical date;

12:30:0025   correct?
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12:30:01 1   A.      Yes.    They said that was a possibility.

12:30:02 2   Q.      Gilead also told you that it believed it contributed

12:30:05 3   to the patented inventions, correct?

12:30:08 4   A.      They did say that, yes.

12:30:10 5   Q.      Gilead told you that it believed that the government

12:30:13 6   failed to comply with the MTA notice provisions, correct?

12:30:17 7   A.      Yes, they informed us of that.

12:30:19 8   Q.      But despite this presentation, the government still

12:30:22 9   insisted that Gilead license the PrEP patents, correct?

12:30:2610   A.      Yes, because we didn't agree with their assertion.

12:30:2811   Q.      Now, you engaged in further communication with Gilead

12:30:3312   throughout 2017, correct?

12:30:3413   A.      Yes, that's correct.

12:30:3514   Q.      Let's take a look at Tab 7 in your binder, which is

12:30:3915   DTX-327.    DTX-327 is a letter that Gilead sent you on

12:30:4816   May 4th, 2017, correct?

12:30:4917   A.      Yes, that appears to be correct.

12:30:5118   Q.      And you received the letter, correct?

12:30:5419   A.      Let me look at it a little bit longer and make sure.

12:31:0020   Q.      Sure.

12:31:0121   A.      Yes.

12:31:0222                   MR. COOK:    Your Honor, defendants offer DTX 323

12:31:0523   into evidence, I'm sorry, 327.

12:31:0824                   MR. HOLVEY:   No objection, Your Honor.

12:31:0925                   THE COURT:    Thank you.   It's admitted.
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                                        Kirby - cross

12:31:10 1                  (DTX Exhibit No. 327 was admitted into

12:31:12 2   evidence.)

12:31:12 3   BY MR. COOK:

12:31:12 4   Q.      Now if we can put that up on the screen.         In the

12:31:16 5   second paragraph, Gilead told you, get it blown up here,

12:31:19 6   that it continued to harbor serious concerns regarding one,

12:31:25 7   CDC's conduct in applying for a patent claiming that of

12:31:29 8   preventing HIV infections in humans without providing the

12:31:33 9   required contractual notice to Gilead.         Two, CDC's claim to

12:31:3610   have invented those methods during the course of the macaque

12:31:4011   study which Gilead helped to design and for which Gilead

12:31:4312   supplied the drug.      And three, the invalidity and potential

12:31:4613   unenforceability of the patent claims based on, among other

12:31:5014   things, prior art work by CDC that was never disclosed to

12:31:5315   the Patent Office.      Correct?

12:31:5516   A.      That's what this says, yes.

12:31:5717   Q.      In fact, Gilead consistently told you this during

12:32:0118   your negotiations with them, correct?

12:32:0319   A.      I believe so, yes.

12:32:0420   Q.      Yet, NIH continued to demand that Gilead take a

12:32:0821   license even after this letter, correct?

12:32:1022   A.      Yes, because that was their opinion and we did not

12:32:1323   necessarily believe that their assertions were correct.

12:32:1624   Q.      Now, NIH is continuing to prosecute new patent

12:32:1925   applications in the CDC PrEP patent family even today,
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                                                                             337
                                        Kirby - cross

12:32:24 1   correct?

12:32:25 2   A.      I am not aware of that because I am not responsible

12:32:28 3   for those anymore.

12:32:29 4   Q.      You have no knowledge of what's going on with the

12:32:32 5   prosecution of the patent family anymore?

12:32:38 6   A.      I may have looked at that, but I don't have any

12:32:40 7   specific knowledge.      We certainly are still maintaining

12:32:44 8   those patents at issue.      I am not sure, at one point we had

12:32:49 9   filed continuations, I'm not sure of the status of those at

12:32:5310   this time.

12:32:5311   Q.      You also testified during your direct about Gilead's

12:32:5612   IPR petitions, correct?

12:32:5813   A.      Yes.

12:32:5814   Q.      You're not a lawyer, correct?

12:33:0015   A.      I am not a lawyer.

12:33:0116   Q.      You're not a member of the patent bar, correct?

12:33:0317   A.      I am not.

12:33:0418   Q.      Now, you know there was a dispute during the IPR's

12:33:0819   about whether the claims preambles are limited, correct?

12:33:1220   A.      I am aware of that.

12:33:1321   Q.      Gilead argued that they were not correct?

12:33:1822   A.      That is what I recall.

12:33:2023   Q.      And the government argued that they were, correct?

12:33:2224   A.      I believe that to be the case, yes.

12:33:2425   Q.      The PTAB adopted the government's position and found
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                                                                             338
                                        Kirby - cross

12:33:28 1   that the preambles required efficacy, correct?

12:33:34 2   A.      I believe so, although to say more certainly I would

12:33:38 3   have to see the document to refresh my memory.

12:33:41 4   Q.      Why don't we take a look at Tab 10 in your binder,

12:33:44 5   PTX 1040, and take a look at page 12?

12:33:54 6   A.      Okay.

12:33:58 7   Q.      Do you see the last full paragraph on the page?

12:34:02 8   A.      Yes.

12:34:03 9   Q.      Says we conclude that the efficacy language of claims

12:34:0610   1 and 13, and it says what that is, should be given

12:34:1011   patentable weight.      Do you see that?

12:34:1212   A.      I do.

12:34:1213   Q.      So PTAB adopted the government's position, found that

12:34:1614   the preambles to require efficacy, correct?

12:34:2015   A.      That would seem to be the case from this reading.

12:34:2416   Q.      Now, the PTAB denied institution because it thought

12:34:2817   the references cited in the petition did not disclose

12:34:3118   efficacy, correct?

12:34:3219   A.      I believe that is maybe the case.        Can you point me

12:34:3720   to another area of this?

12:34:3921   Q.      Sure, why don't we take a look at page 26, again the

12:34:4322   last full paragraph on that page.

12:34:4623   A.      Okay.    Sorry, it's quite a big document, so thank

12:34:5124   you.

12:34:5225                   And where again?
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                                        Kirby - cross

12:34:53 1   Q.       If you take a look at the second sentence, also

12:34:57 2   explained above, neither Szekeres nor Smith discloses the

12:35:02 3   limitation of efficacy, either expressly or inherently, do

12:35:05 4   you see that?

12:35:05 5   A.       I do.

12:35:06 6   Q.       That was what the PTAB concluded in its review,

12:35:10 7   right?

12:35:10 8   A.       Right.

12:35:12 9   Q.       Do you know if patent claims are construed the same

12:35:1510   way during IPR that they are during patent prosecution?

12:35:1911   A.       Well, I believe that in general the patent law is the

12:35:2912   same for all things.      I know that different information can

12:35:3213   be provided in an IPR versus prosecution of a patent or

12:35:3714   other activities at the Patent Office.

12:35:3815   Q.       That's your understanding of patent law, you don't

12:35:4116   have any understanding of the difference in the claim

12:35:4317   construction standard between prosecution and IPR's?

12:35:4818   A.       I am aware of it, I am not an expert obviously

12:35:5119   because I am not a patent professional.

12:35:5420   Q.       Now, in its IPR petitions, Gilead challenged claim 12

12:35:5921   of the '509 patent as anticipated by the PEP guidelines,

12:36:0322   correct?

12:36:0323   A.       I believe so.

12:36:0424   Q.       After Gilead filed a petition, the government

12:36:0825   disclaimed claim 12 and several of the dependent claims that
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                                                                             340
                                        Kirby - cross

12:36:11 1   covered PEP, correct?

12:36:12 2   A.      I believe that to be the case.

12:36:14 3   Q.      And it did the same thing for challenged PEP claims

12:36:17 4   in the 333 patent, correct?

12:36:19 5   A.      I believe that's true.

12:36:20 6   Q.      The PTAB never considered whether the CDC PEP

12:36:24 7   guidelines anticipated the PEP claims in the '509 and '333

12:36:28 8   patents because of those disclaimers, correct?

12:36:32 9   A.      I believe that to be the case.        I believe they were

12:36:3710   -- I think they were only looking at claims directed to PrEP

12:36:4011   that had not been claimed.

12:36:4312   Q.      Okay.    If we look back at PTX 1040, the same document

12:36:4713   we were looking at, look at page 21.         Do you see the section

12:36:5514   that has the title anticipation by Smith?

12:37:0015   A.      Yes, right in the middle.

12:37:0116   Q.      The second sentence, because patent owner has

12:37:0517   disclaimed claims 12 and 14 to 18, we only analyze

12:37:0918   petitioner's challenge of claim 13.        Correct?

12:37:1219   A.      Yes.

12:37:1320   Q.      So the PTAB didn't consider whether the PEP claims

12:37:1721   that the government did claim were anticipated during the

12:37:2022   IPRs, correct?

12:37:2323   A.      That appears to be the case, yes.

12:37:2524   Q.      And because of the government disclaimers, we don't

12:37:2725   know what the PTAB would have said about whether the PEP
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                                                                             341
                                        Kirby - cross

12:37:30 1   guidelines anticipated the PEP claims, correct?

12:37:32 2   A.      That seems true, yes.

12:37:34 3   Q.      Now, in the jury trial, you testified about a 2014

12:37:39 4   e-mail to Gilead about licensing the CDC PrEP patents;

12:37:43 5   correct?

12:37:44 6   A.      Yes, I did.

12:37:45 7   Q.      And you're not aware of any communication with Gilead

12:37:48 8   about licensing the PrEP patents before that date, correct?

12:37:52 9   A.      I am not aware of any such communications.

12:37:5510   Q.      And as of 2014, you were aware that Gilead's Truvada

12:37:5911   product was being used for PrEP, correct?

12:38:0112   A.      Yes, I was.

12:38:0113   Q.      You were aware that the FDA had approved Truvada to

12:38:0514   be sold for PrEP a couple of years before that, correct?

12:38:0715   A.      Yes, I was.

12:38:0916   Q.      So you're not aware of any communications from the

12:38:1317   government to Gilead about licensing the PrEP patents before

12:38:1518   the FDA approved Truvada for PrEP; correct?

12:38:1919   A.      I am not aware of any communications before the

12:38:2220   approval.

12:38:2321   Q.      And you're also not aware of any communication from

12:38:2622   the government to Gilead about licensing the PrEP patents

12:38:2823   before Gilead was selling Truvada for PrEP, correct?

12:38:3224   A.      I am not aware of those.

12:38:3425   Q.      Now, from a public health perspective, it's a good
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                                                                             342
                                        Kirby - cross

12:38:37 1   thing that Gilead is selling Truvada for PrEP, correct?

12:38:41 2   A.      I would say so, yes.

12:38:42 3   Q.      And back in 2014, Gilead was the only company selling

12:38:47 4   Truvada for PrEP, correct?

12:38:48 5   A.      I believe so, yes.

12:38:49 6   Q.      It would have been unethical for Gilead to stop

12:38:53 7   selling Truvada for PrEP at that point, correct?

12:38:56 8   A.      I think that's correct, yes.

12:38:58 9   Q.      Even in this case, you're aware that the government

12:39:0110   has argued that nobody in the United States is trying to

12:39:0411   restrict PrEP for or change anything about its availability,

12:39:0912   correct?

12:39:0913   A.      I believe that's the case, yes.

12:39:1114   Q.      And again, that's because it would be unethical to do

12:39:1415   so, correct?

12:39:1516   A.      It seems that restricting an approved drug would be

12:39:2317   unethical.

12:39:2318   Q.      When the government first approached Gilead about

12:39:2619   licensing the CDC patents, Gilead's choices in your view

12:39:3020   were either to pay the royalties the government was

12:39:3021   demanding, or take the unethical side and pull the drug from

12:39:3622   the market, correct?

12:39:3623   A.      That's not correct.

12:39:3724   Q.      Is there any other options that Gilead would have had

12:39:3925   at that point?
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                                                                             343
                                        Kirby - cross

12:39:40 1   A.      Certainly there are a number of other options.          They

12:39:43 2   could have proposed and actually negotiated in good faith

12:39:46 3   with us to find an amicable solution.         They could have also,

12:39:50 4   you know, further argued their case about the patentability,

12:39:54 5   we never at any point asked them to withdraw their product

12:39:58 6   and they never asked us whether we would intend to do that,

12:40:01 7   we certainly could have answered that question for them, and

12:40:04 8   I think that bore itself out that we have not prevented them

12:40:07 9   from continuing to sell Truvada and Descovy through this

12:40:1010   whole process.

12:40:1011   Q.      That negotiation you just referred to would be a

12:40:1312   negotiation about a royalty, correct?

12:40:1513   A.      I actually offered things that were not earned

12:40:2014   royalties and they were not accepted.

12:40:2215   Q.      It would have been money, correct?

12:40:2316   A.      Yes, money, but I also never heard any other good

12:40:2717   faith arguments of other options to me particularly.

12:40:3218   Q.      If the government had approached Gilead about the CDC

12:40:3619   PrEP patents before Truvada was approved for PrEP in 2012,

12:40:4020   Gilead would have had more options than it had in 2015,

12:40:4621   correct?

12:40:4622   A.      I'm not certain whether it would or not, I think it's

12:40:4923   possible, but I think a lot of things in 2014 were similar

12:40:5324   to when we actually licensed those patents starting in 2016.

12:40:5725   Q.      Before 2014, Gilead would have had the opportunity to
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                                                                             344
                                     Kirby - redirect

12:41:00 1   obtain freedom to operate for Truvada for PrEP before its

12:41:04 2   product was on the market, correct?

12:41:06 3   A.      Certainly, although I thought the approval was

12:41:12 4   earlier, but I take your point, yes.

12:41:14 5                   MR. COOK:    Thank you.    I have nothing further.

12:41:18 6                   THE COURT:    Redirect.

12:41:19 7                   MR. HOLVEY:   Very briefly, Your Honor.

12:41:22 8                        REDIRECT EXAMINATION

12:41:23 9   BY MR. HOLVEY:

12:41:2510   Q.      If we could pull up DTX 323?

12:41:2911   A.      Should I go back to that?

12:41:3212   Q.      Yes.    It's going to be in the cross binder, I think

12:41:3513   it's Tab 4.

12:41:4214   A.      The e-mail from Karen Surabian --

12:41:4715   Q.      Yes to Dr. Doyle?      Dr. Kirby, are you looking with me

12:41:5016   at DTX 323?

12:41:5117   A.      I am.

12:41:5218   Q.      Why did your office send this e-mail?

12:41:5519   A.      Well, partially out of abundance of caution because

12:42:0020   we were already having discussions with Gilead and the issue

12:42:0321   with the prior MTAs had come up.          A major reason was because

12:42:0822   in that MTA it promised Gilead a royalty free nonexclusive

12:42:1623   internal use license, so I wanted them to be aware that they

12:42:2024   had that right because we filed a patent application.           There

12:42:2425   was also a requirement that was not very -- it might have
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                                                                             345


12:42:30 1   been the way we worded it, that said before there is a

12:42:34 2   publication, we would provide the documents to Gilead to

12:42:38 3   review so they could let us know if they needed to ask us to

12:42:42 4   wait so this they could file a patent application or do some

12:42:45 5   other activity.       So we felt that this kind of captured both

12:42:50 6   eventualities.

12:42:50 7   Q.        Were you concerned -- when you say a publication, how

12:42:54 8   does a publication relate to a patent application?

12:42:57 9   A.        Patent applications publish after eighteen months, so

12:43:0110   this was well before that, this was three months after we

12:43:0411   first filed, so that was plenty of time for them to voice

12:43:0812   any concerns.

12:43:0913   Q.        This MTA that was referenced in this document, MTA HD

12:43:1214   STPV 116181-05, does that MTA have a notice provision at all

12:43:2315   related to that MTA to your knowledge?

12:43:2516   A.        Not with respect to invention, but with respect to

12:43:2917   publication, yes.

12:43:3118   Q.        Okay.    Great.

12:43:3319                     MR. HOLVEY:   Nothing further, Your Honor, from

12:43:3720   Dr. Kirby.

12:43:3721                     THE COURT:    All right.   Thank you.   Thank you,

12:43:4022   Dr. Kirby.    Anything else?

12:43:4223                     MR. HOLVEY:   Yes, Your Honor.   At this time we

12:43:4824   have two designations we would like to enter into the

12:43:5125   record.    I believe we have previewed those to Your Honor.
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12:43:57 1   We're happy to read them now.        We're also happy to submit

12:44:00 2   them electronically for your later consideration.

12:44:04 3                  THE COURT:    Do you have them highlighted?

12:44:07 4                  MR. HOLVEY:   We do, we noticed an error on one,

12:44:10 5   we're ready to read it correctly or correct it --

12:44:13 6                  THE COURT:    Why don't you do that, submit them

12:44:14 7   and then we'll have them placed into the record and we'll

12:44:17 8   take a look at them.

12:44:18 9                  MR. HOLVEY:   Thank you very much, Your Honor.        I

12:44:2010   don't have anything further.

12:44:2311                  MR. BROWN:    No, Your Honor, we think we have

12:44:2512   some unrelated issues to discuss, but we can break for lunch

12:44:2813   now.

12:44:2914                  THE COURT:    Okay.   Well, what are the unrelated

12:44:3415   issues?    Are they about this or about the jury trial?

12:44:3716                  MR. BROWN:    More the jury trial, Your Honor.

12:44:3917                  THE COURT:    So I want to finish this for right

12:44:4118   now and then I will get to those.        So you don't have

12:44:4319   anything further on this issue, this trial?

12:44:4520                  MR. BROWN:    No, Your Honor.

12:44:4721                  MR. HOLVEY:   For the record, Your Honor, there

12:44:5022   are two designations, Ms. Vazquez's and Mr. Hitchcock.

15:06:3923                  (Videotaped deposition of Martha Vazquez:)

15:07:0624   Q.        Good morning, Ms. Vazquez.

15:07:1125   A.        Good morning.
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15:07:12 1   Q.      Sorry.    Would you please state your name and personal

15:07:17 2   address for the record.

15:07:20 3   A.      My name is Martha Vazquez, and I live in 816 Palm

15:07:34 4   Avenue, Redwood City, California 94061.

15:07:49 5   Q.      Okay.    I guess do you understand that you have been

15:07:53 6   designated to testify on behalf of Gilead as corporate

15:07:59 7   witness today?

15:07:59 8   A.      I was told that yesterday.

15:08:01 9   Q.      Okay.    And do you understand that you were designated

15:08:1010   to testify regarding a topic, topic 46?

15:08:1411   A.      Correct.

15:08:1512   Q.      Okay.    The 30(b)(6) deposition notice.       I'm going to

15:08:2413   mark as Exhibit 1, the 30(b)(6) notice in this case.

15:08:3714                   Yeah.   It's further back in the document.

15:08:4115   There's a lot of numbered paragraphs.         And do you see that

15:08:4516   that topic says:

15:08:4717                   All MTA's between the Department of Health and

15:08:5318   Human Services (HHS), including operating divisions of HHS,

15:09:0119   such as CDC and NIH and Gilead, relating to HIV research and

15:09:0820   amendments thereto, all communications between HHS and

15:09:1421   Gilead regarding these MTA's, all communications with Gilead

15:09:2822   regard these MTA's, and all communications regarding

15:09:3223   compliance with these MTA's.

15:09:3524                   Did I read that correctly?

15:09:3825   A.      Yes.
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15:09:38 1   Q.       Okay.   And have you ever seen this topic before

15:09:42 2   today?

15:09:42 3   A.       Yes -- no, not -- not before today.

15:09:46 4   Q.       Is it -- is this the first time you're seeing that

15:09:51 5   topic?

15:09:52 6   A.       Yes.

15:09:52 7   Q.       Okay.   Do you understand that you're here to testify

15:09:57 8   on behalf of Gilead as a corporate witness on that topic?

15:10:02 9   A.       Yes.

15:10:1010   Q.       Okay.   In general, just looking at this topic, do you

15:10:1411   have an understanding of what is an MTA?

15:10:1812   A.       It's a Material Transfer Agreement.

15:10:2213   Q.       Okay.   And when you joined Gilead, what was your

15:10:2614   position there?

15:10:2715   A.       All right.   I was an administrative assistant to

15:10:3316   Dr. Hitchcock.

15:10:3417   Q.       To Mitch Hitchcock?

15:10:3718   A.       Mick Hitchcock.

15:10:4719   Q.       And so you were his administrative assistant, and

15:10:5220   that was in 1996?

15:10:5421   A.       Correct.

15:10:5422   Q.       And do you recall what his position was at that time?

15:10:5823   A.       He was VP of strategic planning.

15:11:0424   Q.       How long were you his administrative assistant?

15:11:0925   A.       I was with him for thirteen years -- thirteen years
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15:11:13 1   up until 2009.

15:11:15 2   Q.      Okay.    Until 2009.    So your involvement with the

15:11:19 3   MTA's, was that part of your role as an administrative

15:11:26 4   assistant --

15:11:27 5   A.      Yes.

15:11:31 6   Q.      -- to Mitch Hitchcock?      Okay.

15:11:43 7                   Were there any other administrative assistants

15:11:47 8   for other people within strategic planning --

15:12:05 9   A.      I don't --

15:12:1210   Q.      -- that were working on -- on -- had the same role

15:12:1711   working on the MTA's as you did?

15:12:2012   A.      No.

15:12:2113   Q.      Okay.    Why did the MTA's fall to Mick Hitchcock and

15:12:2914   you?

15:12:3015   A.      Norbert Bischofberger was in charge of that -- of

15:12:3516   those, of approving material transfer agreements.           And he

15:12:4117   passed that duty on to Mick Hitchcock --

15:12:4518   Q.      Okay.

15:12:5619   A.      And therefore, I was doing the administrative things

15:13:0120   for the MTA's.

15:13:0221   Q.      Okay.    Well, I have a couple of questions just to

15:13:0522   clarify that.

15:13:0723                   You said -- Norbert Bischofberger, he approved

15:13:1224   the MTA's?

15:13:1325   A.      Before Mick.
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15:13:14 1   Q.        Okay.    And then he handed that responsibility to

15:13:18 2   Mick?

15:13:19 3   A.        Correct.

15:13:20 4   Q.        Okay.    And so do you know what Mick's

15:13:24 5   responsibilities were regarding -- I guess let me strike

15:13:27 6   that.

15:13:28 7                     With what were -- what was Mick's process for

15:13:33 8   approving the MTA's?

15:13:36 9   A.        I don't know.

15:13:3810   Q.        Okay.    So for example, if an MTA process at that time

15:13:4311   -- or like a prospective material transfer agreement process

15:13:4812   was sent to him, did he then forward it to you to negotiate

15:13:5313   the terms of that MTA?

15:13:5514   A.        No.

15:13:5615   Q.        Okay.    What would happen if he was sent a potential

15:14:0216   material transfer agreement process?

15:14:0217   A.        I don't know.    I'm -- I don't know.

15:14:0518   Q.        Okay.    So in your coordination of the MTA's, how did

15:14:0919   you get involved?

15:14:1120   A.        Only when he sent them to me to go ahead and do the

15:14:1621   work --

15:14:1822   Q.        Okay.

15:14:2023   A.        -- prepare the material transfer agreement process --

15:14:2424   Q.        Okay.

15:14:2825   A.        -- that sort of thing.
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15:14:30 1   Q.      So he would send them to you -- so Mick had -- Mick

15:14:36 2   Hitchcock would send them to you, and he would say:           Prepare

15:14:40 3   the MTA process?

15:14:41 4   A.      Correct.

15:14:42 5   Q.      Okay.    And what would he send to you?

15:14:44 6   A.      Only a description of the study.

15:14:48 7   Q.      Okay.    And this description, was it usually in the

15:14:51 8   form of an e-mail?

15:14:53 9   A.      Perhaps, yes.

15:14:5410   Q.      Okay.    So there wasn't like a standard form you would

15:14:5811   get?   It would -- it would be like a -- just a description

15:15:0312   of the project?

15:15:0413   A.      Correct.

15:15:0514   Q.      Okay.    And did this description often come from,

15:15:1515   like, outside investigators or outside scientists?

15:15:2016   A.      Some of them, yes.

15:15:2117   Q.      Okay.    And then he would forward that e-mail or that

15:15:2518   description to you and say:       Please work on this MTA

15:15:2919   process?

15:15:2920   A.      Yes.

15:15:4021   Q.      Okay.    And then were you involved at all in, I guess,

15:15:4522   keeping track of those MTA's or filing those MTA's?

15:15:4923   A.      Yes, it was.

15:15:5124   Q.      Okay.    Can you explain -- I guess describe your role

15:15:5525   in keeping track of those MTA's?
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15:15:58 1   A.      I would just keep them in the file.         Create a file

15:16:02 2   folder for that investigator and keep it.

15:16:07 3   Q.      Okay.    And these file folders, were they kept in hard

15:16:11 4   copy?

15:16:12 5   A.      Some.    Most of them were in the computer, soft copy.

15:16:17 6   Q.      Okay.    So were they stored in a computer database?

15:16:21 7   A.      Yes.

15:16:22 8   Q.      Okay.    What -- what is the name of that database?

15:16:26 9   A.      It was FileMaker Pro.

15:16:5310   Q.      So the FileMaker Pro system would have contained a

15:16:5811   PDF of the final MTA process; is that correct?

15:17:0512   A.      Correct.

15:17:0513   Q.      Okay.    Did it contain any other documents?

15:17:0814   A.      It contained different things that I needed to do.

15:17:1215   Q.      Okay.

15:17:1316   A.      Like it contained a form for FedEx --

15:17:1917   Q.      Okay.

15:17:2618   A.      -- order form to or the compounds from our labs.

15:17:2919   Q.      And was that for the purpose of managing to make sure

15:17:3320   that drugs were sent out on time and that you managed the

15:17:3721   receipts from that?

15:17:3822   A.      Correct.

15:17:3923   Q.      Okay.    So once it was entered into FileMaker Pro, you

15:17:4324   stored in this database, information about, you know, when

15:17:4925   drugs were sent out and when they were received?
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15:17:52 1   A.      Correct.

15:17:53 2   Q.      Okay.    Did you ever keep any correspondence leading

15:17:57 3   up to the MTA's?     For example, e-mails back and forth or

15:18:02 4   negotiations on the MTA's, were those stored in FileMaker

15:18:08 5   Pro?

15:18:08 6   A.      No.

15:18:10 7   Q.      Okay.    But to the extent you coordinated, did you

15:18:15 8   have a way to store that information or organize that

15:18:20 9   information?

15:18:2110   A.      I had file folders in my Outlook.

15:18:3311   Q.      And then did anyone reach -- ever reach out to you in

15:18:3712   regards to this case to have you help search for documents

15:18:4113   that might be related to it?

15:18:4314   A.      I don't remember.

15:18:4415   Q.      Okay.    So you don't remember one way or another.

15:18:5216   Okay.

15:18:5217                   In addition to what you stored in FileMaker Pro

15:18:5918   and in addition to what you stored in Outlook that is now to

15:19:0519   your understanding -- or to your knowledge not there

15:19:0920   anymore, were there -- was there anywhere else that you

15:19:1321   stored information or documents related to MTA's?

15:19:1722   A.      No.

15:19:2923   Q.      Okay.    Did you keep track of when individuals may

15:19:3324   have provided results from the MTA process studies or may

15:19:3825   have provided publications related to the MTA process
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15:19:41 1   studies?

15:19:41 2   A.        If they sent it to me, yes, I would -- I would keep a

15:19:46 3   record of it.

15:19:47 4   Q.        Okay.    And how would you keep a record of that?

15:19:50 5   A.        I would submit it to an internal process for review

15:19:58 6   --

15:19:58 7   Q.        Okay.

15:20:00 8   A.        -- called PDN.

15:20:02 9   Q.        Okay.    Sorry.   Called?

15:20:0510   A.        Public disclosure --

15:20:0811   Q.        Okay.

15:20:1012   A.        -- notification.

15:20:1213   Q.        So PDN stands for public?

15:20:1614   A.        Disclosure notification notice.

15:20:2015   Q.        Okay.    And did you understand what the purpose of the

15:20:2416   PDN system is?

15:20:2617   A.        No, I don't.

15:20:3018   Q.        Okay.    Can you explain to me how you use the PDN

15:20:3519   system?

15:20:3620   A.        To submit publications sent to me.

15:20:4721   Q.        Okay.    So public disclosure notification.

15:20:5022                     Was that an internal Gilead system?

15:20:5323   A.        Yes.

15:20:5424   Q.        Okay.    But you don't know who had access to it or who

15:20:5825   saw it?
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15:20:58 1   A.        Correct.

15:20:59 2   Q.        Okay.   And what kind of a system was it?      Like was it

15:21:03 3   like a -- I don't know.      Was it like a database or --

15:21:08 4   A.        It's a database.

15:21:10 5   Q.        Okay.   So when you entered information about public

15:21:14 6   -- publications into the public disclosure notification

15:21:17 7   database, what would you enter into that database?           Like a

15:21:24 8   -- would you, I guess, upload a PDF in there?

15:21:29 9   A.        Correct.

15:21:3010   Q.        Okay.   Would you -- was there -- I guess because it's

15:21:3411   a database, were there any fields to fill out, for example,

15:21:4112   MTA process number or investigator name?

15:21:4613   A.        Investigator name, authors.

15:21:4914   Q.        Okay.   Were there any other fields that you can

15:21:5215   recall?

15:21:5216   A.        Authors, where they were presenting it, and what

15:21:5617   compound it was related to.

15:21:5918   Q.        Okay.   Anything else?

15:22:0019   A.        That's about it.

15:22:0120   Q.        Okay.   When you would enter this information in the

15:22:0821   public disclosure notification database, was this

15:22:1222   information that was sent to you directly by the

15:22:1523   investigators?

15:22:1724   A.        Yes.

15:22:1725   Q.        Okay.   Were you the point of contact for the
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15:22:20 1   investigators regarding disclosures of papers?

15:22:26 2   A.      No.

15:22:26 3   Q.      Okay.    Do you know who the point of contact would

15:22:31 4   have been?

15:22:32 5   A.      I -- I don't know for sure.

15:22:34 6   Q.      Okay.    But they would send it to you?

15:22:37 7   A.      Yes.

15:22:38 8   Q.      Okay.    And how did they know to send it to you?

15:22:41 9   A.      Sometimes they would read the contract or -- the

15:22:4610   Gilead contract where it stated that we need to get

15:22:5111   publications.     Other than that, I don't know.

15:22:5412   Q.      Okay.    And where it said under this contract that

15:23:0613   they need to send this information to Gilead, did it list

15:23:1014   your name?

15:23:1015   A.      No.

15:23:1116   Q.      Okay.    Did the standard form list any names?

15:23:1417   A.      No.

15:23:1418   Q.      Okay.    So when individuals would send this, they

15:23:1819   sometimes sent it to you.       Did they ever send it to other

15:23:2220   people that would forward it to you?

15:23:2421   A.      I don't know.

15:23:2622   Q.      Okay.    So everything that was entered in the public

15:23:2923   disclosure notification system by you was stuff that was

15:23:3424   e-mailed directly to you?

15:23:3625   A.      Correct.
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15:23:36 1   Q.       Okay.    Did anybody else enter information into the

15:23:40 2   public disclosure notification database?

15:23:43 3   A.       All Gilead have access to publication -- to that PDN.

15:23:50 4   Q.       Okay.    So everyone at Gilead would have had access to

15:23:54 5   PDN?

15:23:56 6   A.       To PDN, yes.

15:23:59 7   Q.       And was there anything else that individuals at

15:24:03 8   Gilead were using PDN for other than MTA's?

15:24:09 9   A.       It wasn't necessarily for MTA's.       It's just a public

15:24:1310   disclosure system.

15:24:1411   Q.       Okay.

15:24:1512   A.       So all Gilead -- all Gilead has access to that

15:24:1913   database.      Not necessarily just for MTA's.

15:24:2214   Q.       Okay.    So when you go to the public disclosure

15:24:2615   database, you can enter information about MTA's, right?            You

15:24:3116   said that there's maybe a field for the investigator and the

15:24:3617   publication.      You could upload the PDF.

15:24:5818                    Were there sections for other types of

15:25:0319   information?

15:25:0420   A.       No.

15:25:0521   Q.       Okay.    So it was just publications related to the

15:25:0822   MTA's?

15:25:0923   A.       No.    It -- the --

15:25:1224   Q.       Sorry.    Just explain.   Yeah.

15:25:1825   A.       -- PDN, it's a general review system for Gilead --
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15:25:24 1   Q.      Okay.

15:25:26 2   A.      -- not necessarily for MTA's.

15:25:29 3   Q.      Okay.    So it's used -- is it used to store just all

15:25:34 4   articles and disclosures that Gilead may have?

15:25:40 5   A.      Correct.

15:25:42 6   Q.      Okay.    So articles that would come in through an MTA

15:25:53 7   process would be entered in there, and you would -- you

15:25:57 8   would maybe upload the PDF and list the investigator and

15:26:04 9   that information; but if they got information from another

15:26:0810   source that was unrelated to a MTA process, they would

15:26:1511   upload that as well?

15:26:1612   A.      Correct.

15:26:1713   Q.      Okay.    And what type of information was that?

15:26:2014   A.      I don't know.

15:26:2115   Q.      Okay.    Was it generally related to publications and

15:26:2516   presentations?

15:26:2717   A.      Correct.

15:26:2918   Q.      Okay.    So it's -- essentially it's a database where

15:26:4019   it -- it lists like publications, presentations, and general

15:26:4820   -- I'm try to understand.

15:26:5321                   Like just general scientific information?

15:26:5622   A.      Correct.

15:26:5723   Q.      Okay.    So with MTA's, it sounds like your roles were

15:27:0324   coordinating the signature and legal review of the MTA's; is

15:27:0825   that correct?
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15:27:08 1   A.      Correct.

15:27:09 2   Q.      Okay.    And you were also responsible for coordinating

15:27:14 3   the, I guess, distribution of the -- the drugs --

15:27:22 4   A.      Correct.

15:27:32 5   Q.      And then you were also responsible for putting

15:27:36 6   information regarding publications or presentations?           Or I

15:27:41 7   guess, results, whatever was received from investigators,

15:27:52 8   you were responsible for putting those in the PDN?

15:27:55 9   A.      Correct.

15:27:5610   Q.      Okay.    And when you put those -- that information

15:28:0011   into the PDN, did you ever inform anybody that you were

15:28:0412   doing it?    You know, like:     I'm going to put this in the

15:28:0913   PDN?

15:28:1114   A.      I usually informed the contact person, whoever had

15:28:1515   asked me to send the material --

15:28:1816   Q.      Okay.

15:28:2017   A.      -- and I would put it in PDN.

15:28:2518   Q.      I'm going to mark as Exhibit 2, a document that has

15:28:3019   -- bearing Bates numbers GILDDE00990462 through 469.

15:28:5020                   Okay.   And what is this document?

15:28:5221   A.      It's a Material Transfer Agreement process.

15:28:5622   Q.      Okay.    And is this a PowerPoint presentation?

15:28:5923   A.      Yes.

15:29:0024   Q.      Okay.    Do you recall whether or not -- I see that --

15:29:0625   on the front, do you recognize that's your name on the
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15:29:11 1   front?

15:29:12 2   A.       Correct.

15:29:13 3   Q.       Okay.    And it's dated October 8, 2008?

15:29:19 4   A.       Correct.

15:29:20 5   Q.       Okay.    Do you recall ever presenting this PowerPoint

15:29:24 6   to anyone?

15:29:25 7   A.       I gave it to my new boss.

15:29:29 8   Q.       Okay.    And who was your new boss?

15:29:32 9   A.       Kathy Roskos.

15:29:3810   Q.       And so you gave -- this was an overview of the

15:29:4211   Material Transfer Agreement process --

15:29:4912   A.       Of my process --

15:29:5313   Q.       -- right?

15:29:5514   A.       Yes.

15:29:5615   Q.       So you -- you were the assistant to Mick Hitchcock

15:30:0116   from approximately 1996, you said, to 2009.

15:30:0517                    After that, was Kathy Roskos, I guess your boss?

15:30:1818   A.       Correct.

15:30:1919   Q.       Okay.    And what position were you in when Kathy

15:30:2220   Roskos became your -- your -- I guess your supervisor?

15:30:2821   A.       I was an associate of operations.

15:30:3222   Q.       Okay.    And so your title was associate of operations.

15:30:3623                    What was he -- what were your responsibilities

15:30:4024   in that position?

15:30:4125   A.       I continued to do the material transfer agreements.
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15:30:46 1   Also, I was doing project and product codes for the -- for

15:30:52 2   Gilead.

15:31:04 3   Q.        Okay.    Did your role change with regard to the MTAs

15:31:07 4   when you became associate of operations?

15:31:10 5   A.        It was more focused on MTAs and the product codes.

15:31:15 6   Q.        Okay.    Did you have any new responsibilities

15:31:18 7   regarding the MTAs?

15:31:19 8   A.        No.

15:31:25 9   Q.        Okay.    And do you have any responsibilities for MTAs

15:31:3210   --

15:31:3211   A.        I don't.

15:31:3312   Q.        -- once you moved in 2019?

15:31:3713   A.        No, I don't.

15:31:3814   Q.        Okay.    When you were -- before you became an

15:31:4215   associate operations in 2019, you mentioned before that

15:31:4916   Kathy Roskos was your supervisor.

15:31:5817                     Did you have any other supervisors other than

15:32:0318   Mitch -- I'm sorry -- Mick Hitchcock -- I'll do that every

15:32:0919   time -- or Kathy Roskos?

15:32:1220   A.        No.   Because he was retiring, so he -- I moved over

15:32:1721   to work for Kathy.       She was reporting to the new VP.

15:32:2422   Q.        Okay.    And who was the new VP that Kathy was

15:32:2923   reporting to?

15:32:2924   A.        Laura Lehman.

15:32:3925   Q.        Okay.    And she was VP.   Do you know her full title?
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 171 of 198 PageID #: 53003
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15:32:44 1   A.      VP of project and portfolio management.

15:32:48 2   Q.      And who was in charge of approving the MTAs when you

15:32:53 3   worked for Kathy and Laura?

15:32:56 4   A.      Laura Prestia was the final signature.

15:33:10 5   Q.      And what was Kathy's role?

15:33:13 6   A.      She was my immediate supervisor.

15:33:15 7   Q.      Okay.    And did she, I guess, recommend MTAs for

15:33:19 8   approval or did she have a role in approving the MTAs?

15:33:24 9   A.      No.

15:33:2410   Q.      And when you worked for Kathy Roskos, was your --

15:33:2911   would she e-mail you?      Like you said before with Mick

15:33:3512   Hitchcock, he would e-mail you, I guess, information about

15:33:3813   the project from the investigator and then you would

15:33:4314   provide, I guess, standard language to them; and they would

15:33:4715   come back to you, and then you would possibly forward that

15:33:5116   on to contracts legal.

15:33:5717                   Is that the description you provided earlier?

15:34:0118   A.      Correct.

15:34:0219   Q.      Okay.    Was that still the process when you worked for

15:34:0720   Kathy Roskos?

15:34:0921   A.      Yes.

15:34:0922   Q.      Okay.    And would she e-mail you the project -- the

15:34:1323   projects?

15:34:1424   A.      Not necessarily her.      But they would go through her

15:34:2325   -- like the scientists, if they got a request, they would
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 172 of 198 PageID #: 53004
                                                                             363


15:34:27 1   send it to me directly, and I would just kind of inform her.

15:34:32 2   Q.      Okay.    So at that point the scientists were

15:34:35 3   communicating with you directly?

15:34:37 4   A.      Correct.

15:34:38 5   Q.      And then you would just --

15:34:40 6   A.      And the investigators as well.

15:34:56 7   Q.      Okay.    So you might receive correspondence or

15:34:59 8   publications from that investigator related to the MTAs?

15:35:03 9   A.      If they sent it to me, yes.

15:35:0810   Q.      Yeah, if they sent it.      Okay.

15:35:1211                   And then with that, you would then put it in the

15:35:1612   PDN?

15:35:1713   A.      Yes.

15:35:1714   Q.      Okay.    I'm going to mark as Exhibit 11, a document

15:35:2215   bearing Bates number GILDDE00990460.

15:35:3216                   (Exhibit 11 was marked for identification and is

15:35:3717   attached to the transcript.)

15:35:4218   Q.      And, Ms. Vazquez, do you recognize this document?

15:35:4619   A.      I do.

15:35:4820   Q.      And what is this document?

15:35:5021   A.      It's an e-mail from Kathy Roskos to Lori Lehman --

15:36:1922   Q.      And had you ever seen this -- this e-mail before?

15:36:2223   A.      No.

15:36:2324   Q.      Okay.    You can see here Kathy Roskos is saying:

15:36:2725                   Hi, Lori.   As you are aware, processing of
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 173 of 198 PageID #: 53005
                                                                             364


15:36:32 1   material transfer agreements resides in my group under

15:36:36 2   Martha Vazquez.

15:36:39 3                   Do you see that?

15:36:40 4   A.      Yes, I do.

15:36:42 5   Q.      Okay.    And do you believe that statement to be

15:36:45 6   correct?

15:36:46 7   A.      Correct.

15:36:47 8   Q.      Okay.    And:

15:36:48 9                   I have attached a short work flow and process

15:36:5210   slide deck that Martha put together to update you in the

15:36:5811   process.    Did I read that correctly?

15:37:0312   A.      Correct.

15:37:1113   Q.      Do you recall putting a short slide deck together?

15:37:1514   A.      Yes.

15:37:1615   Q.      Okay.    Is that the slide deck that I showed you

15:37:1916   earlier?

15:37:2017   A.      Correct.

15:37:2918   Q.      Okay.    I guess turning to your slide deck, which I

15:37:3319   think I already marked.

15:37:3620   A.      Number two?

15:37:3821   Q.      It was Exhibit 2.      And this was a Material Transfer

15:37:4222   Agreement process, correct?

15:37:4423   A.      Correct.

15:37:4524   Q.      Okay.    And you put this slide deck together?

15:37:4825   A.      Correct.
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 174 of 198 PageID #: 53006
                                                                             365


15:37:48 1   Q.        Okay.    Do you remember why you put this slide deck

15:37:52 2   together?

15:37:53 3   A.        To bring Lori Lehman up to speed on the process.

15:37:57 4   Q.        Okay.    The material transfer agreements were a

15:38:01 5   standard practice in Gilead; that's is that correct?

15:38:08 6   A.        Correct.

15:38:22 7   Q.        Okay.    On the next page, if you turn to page 463 --

15:38:27 8   or it's this one --

15:38:29 9   A.        Okay.

15:38:3110   Q.        -- on this page.    I'm reading the Bates numbers.

15:38:3611   Sorry.    Where it says "request," and it says Mick Hitchcock

15:38:4212   to Martha Vazquez, it goes into a request.

15:38:4713                     Can you explain to me a little bit -- bit about

15:38:5114   what this diagram means?

15:38:5415   A.        So if the material transfer request came through

15:39:0116   Mick, he would send it to me; and I would process the

15:39:0517   request.

15:39:0618                     But if it was an existing request, then it would

15:39:1119   come directly to me, because that relationship had been

15:39:1520   formed.

15:39:1621                     And then any of the satellite offices like in

15:39:2222   European countries -- you know, countries, they would reach

15:39:3123   out either to Mick or myself once it was already an existing

15:39:4024   MTA.

15:39:4025   Q.        Okay.    And so if there was an existing MTAs, it would
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 175 of 198 PageID #: 53007
                                                                             366


15:39:46 1   come directly to you?

15:39:47 2   A.      Correct.

15:39:48 3   Q.      And that's because the relationship had already been

15:39:52 4   established --

15:39:54 5   A.      Correct.

15:39:55 6   Q.      -- right?

15:39:57 7                   So you already knew what the research project

15:40:01 8   was, and you were just sending them additional drugs?

15:40:05 9   A.      Either that.     Or if they wanted a new study, then I

15:40:1110   would put it through the process right through Mick for

15:40:1511   approval --

15:40:1712   Q.      So.   So --

15:40:2213   A.      -- before continuing.

15:40:2414   Q.      -- so I guess, when you say "existing relationship,"

15:40:3115   is that based on the study or on the investigator?

15:40:3816   A.      On the investigator.

15:40:4117   Q.      Okay.    So if you already had a relationship with an

15:40:4418   investigator --

15:40:4619   A.      They would know to contact me directly.

15:40:4820   Q.      Right.    Because they had been through the process --

15:40:5321   A.      Correct.

15:40:5422   Q.      -- before?

15:40:5723                   Okay.   And when they contacted you, is that the

15:41:0724   -- like the request -- I guess diagram that -- the triangle

15:41:1325   -- or I'm sorry -- the diamond that we see here?
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 176 of 198 PageID #: 53008
                                                                             367


15:41:25 1   A.      Right.

15:41:26 2   Q.      Okay.    And where it says "FYI, scientist compound,"

15:41:32 3   what does that mean?

15:41:33 4   A.      Those are were scientist -- senior scientists that

15:41:38 5   were assigned to the specific compounds.

15:41:41 6   Q.      Okay.    It says:

15:41:43 7                   Tenofovir Viread was assigned to M. Miller.

15:41:52 8                   Do you know who M. Miller is?

15:41:55 9   A.      Dr. Michael Miller.

15:41:5710   Q.      Okay.    And who was Dr. Michael Miller?

15:42:0111   A.      He was a senior scientist at Gilead.

15:42:0512   Q.      Okay.    And do you know what his title -- do you know,

15:42:1113   other than senior scientist, what his role was or --

15:42:1614   A.      I don't know.

15:42:1715   Q.      Okay.    Did you ever work with Dr. Michael Miller?

15:42:2216   A.      I interacted with him.

15:42:2717   Q.      Okay.    And in context would you interact with him?

15:42:3518   A.      Sometimes he would receive a material transfer

15:42:3819   request, and would forward those to me.

15:42:4520   Q.      Okay.    In any other context would you work with --

15:42:5021   A.      Or --

15:42:5522   Q.      -- him?

15:42:5723   A.      -- or if he received publications, he would -- if he

15:43:0224   remembered, he would send them to me.

15:43:0425   Q.      Okay.    And that's so that you could put them in the
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 177 of 198 PageID #: 53009
                                                                             368


15:43:09 1   PDN?

15:43:10 2   A.      Correct.

15:43:20 3   Q.      But you did not coordinate the review of any proposed

15:43:27 4   publications?

15:43:28 5   A.      No --

15:43:31 6   Q.      Okay.    I'm going to mark as my next exhibit,

15:43:37 7   Exhibit 12, a document bearing Bates number GILDDE00990461,

15:43:47 8   that XLS.

15:43:50 9                   Do you recall this document at all?

15:43:5210   A.      I do.

15:43:5311   Q.      Okay.    Do you recall what this document is?

15:43:5612   A.      It was a "publication metrics methodology --

15:44:0313   Q.      Okay.

15:44:0414   A.      -- methodology."

15:44:0715   Q.      Okay.    And how do you recall this document?

15:44:1016   A.      Kathy Ross wanted to know if I had any metrics for

15:44:1617   publications from MTAs.

15:44:1818   Q.      And did you --

15:44:1919   A.      So I had a few, but not -- not everybody was

15:44:2320   supplying those publications.

15:44:2621   Q.      Okay.    And did you put this Excel sheet together for

15:44:3022   Kathy Roskos?

15:44:3223   A.      So what we -- what I -- my -- part of the job was to

15:44:4024   provide the investigator, the effective date of the MTA and

10:06:3625   the last compound.
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 178 of 198 PageID #: 53010
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10:06:39 1                   Then there was a literature search, as stated in

10:06:44 2   the third bullet.

10:06:46 3   Q.      Okay.

10:06:46 4   A.      And they would match to whether they had published in

10:06:52 5   -- in 2007-2008.

10:06:56 6   Q.      Okay.    Well, I guess we could turn to the first page

10:07:00 7   in this where it says "Material Transfer Agreement

10:07:05 8   publication metrics methodology."

10:07:09 9   A.      Correct.

10:07:1010   Q.      It says:

10:07:1311                   The following methodology was developed to track

10:07:1712   old publications and create a 2007-2008 Material Transfer

10:07:2413   Agreement publication metrics.

10:07:2714                   Is that correct?

10:07:2815   A.      Correct.

10:07:2916   Q.      Okay.    And in the first bullet, it says:

10:07:3317                   In-house literature search for publication sent

10:07:3718   to PM operations from investigators with an active MTA

10:07:4519   through the public disclosure system?

10:07:5320   A.      Correct.

10:07:5421   Q.      Okay.    Can you explain to me what that means?

10:07:5722   A.      So we did a research -- or we did a search for all

10:08:0223   publications in PDN with the specific investigator's name on

10:08:1724   active MTAs.

10:08:1925   Q.      Okay.    So just so I understand this correctly.        So
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 179 of 198 PageID #: 53011
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10:08:22 1   you -- you did a literature search to see what publications

10:08:27 2   had come out from investigators; and then according to

10:08:34 3   bullet point three -- is that correct -- you asked for a

10:08:38 4   literature search?

10:08:40 5   A.      Correct.

10:08:41 6   Q.      Okay.

10:08:41 7   A.      Just to do a literature -- a literature search with

10:08:46 8   the specific names of MTAs --

10:08:49 9   Q.      Okay.

10:08:5010   A.      -- active MTAs.

10:08:5311                   No.   It was the same -- it was the same

10:08:5912   methodology.     So first we did an in-house through PDN.

10:09:0413                   And then the second one, we consulted with the

10:09:1014   literature department to research any of the publications

10:09:1515   that would be matched to the active MTAs.

10:09:1916   Q.      Okay.    I guess -- so was the idea to, you know,

10:09:3117   search the literature for the investigators and then check

10:09:3618   PDN to see if they had sent their publications to Gilead?

10:09:4119   A.      Correct.

10:09:4120   Q.      Okay.    And that was the -- if I read this correctly:

10:09:4621                   Match the Material Transfer Agreement approved

10:09:4922   publications with the in vitro search results to our active

10:09:5723   MTA investigator's database for the years 2007 to 2008 --

10:10:0524   A.      Correct.

10:10:0625   Q.      -- publications?
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 180 of 198 PageID #: 53012
                                                                             371


10:10:08 1   A.        Correct.

10:10:09 2   Q.        Okay.    And the next bullet point is:

10:10:13 3                     Identified investigators who honored Section 7

10:10:19 4   of the Material Transfer Agreement by sending their

10:10:22 5   publication for our review and comment prior to its

10:10:26 6   publication.       Did I read that correctly?

10:10:30 7   A.        Yes.

10:10:32 8   Q.        Okay.    What does that mean?

10:10:34 9   A.        That means that before they -- any investigation --

10:10:3810   investigator would send the publication prior to publishing

10:10:4311   it to us for review.

10:10:4512   Q.        Okay.    And then the last bullet point is -- you also

10:10:4913   identified investigators who published results without

10:10:5314   honoring Section 7 of our material transfer agreement?

10:10:5815   A.        Correct.

10:10:5916   Q.        Okay.    So moving on to the next page, which has the

10:11:0317   same Bates numbers -- so I apologize -- at the top, it says

10:11:1318   "Gilead Sciences MTA publication metrics investigator

10:11:1819   count."

10:11:1820                     And if you see on the left-hand side, it lists

10:11:2321   names of drugs?

10:11:2422   A.        Correct.

10:11:2523   Q.        Okay.    And then it says -- the next column is

10:11:2924   "literature resources search"?

10:11:3325   A.        Um-hum.
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 181 of 198 PageID #: 53013
                                                                             372


10:11:36 1   Q.      And then "Gilead's public disclosure database" is the

10:11:43 2   next column?

10:11:44 3   A.      Correct.

10:11:45 4   Q.      And then the last column is "noncompliant"; is that

10:11:55 5   correct?

10:12:08 6   A.      Correct.

10:12:09 7   Q.      Okay.    So does this table represent literature

10:12:12 8   resources search, the number of publications that you found?

10:12:16 9   A.      Correct.

10:12:1610   Q.      Okay.    And the second column represents what was sent

10:12:2011   to Gilead and entered into its public disclosure database?

10:12:2412   A.      Correct.

10:12:2513   Q.      Okay.    And the last column are, I guess,

10:12:2914   investigators that you identified as being noncompliant?

10:12:3315   A.      Correct.

10:12:3416   Q.      Okay.    And "noncompliant" there, does that mean that

10:12:3917   they didn't send publications?

10:12:4118   A.      Correct.

10:12:4219   Q.      Okay.    And if you look at the first row, it says

10:12:4720   "emtricitabine".

10:12:5021                   Do you see that?

10:12:5122   A.      Yes.

10:12:5223   Q.      Okay.    And it says the "literature resources search"

10:12:5824   found 23 articles?

10:13:0025   A.      Correct.
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 182 of 198 PageID #: 53014
                                                                             373


10:13:00 1   Q.      Okay.    And then the next one, "Gilead's public

10:13:06 2   disclosure database."

10:13:11 3                   So there were 18 entries?

10:13:15 4   A.      Correct.

10:13:16 5   Q.      Okay.    And then in the last column, it says "five"

10:13:20 6   under "noncompliant" and then lists Dandekar Hostetler

10:13:46 7   Pruvost, Taft, & Wainberg?

10:13:55 8   A.      Correct.

10:13:56 9   Q.      Okay.    And those are all investigators who did not

10:14:0010   send articles or publications for Gilead's review?

10:14:0511   A.      Correct.    But there were many more than those.

10:14:0912   Q.      Okay.    Those are -- so those are just the ones you

10:14:1713   identified here?

10:14:1814   A.      Correct.

10:14:1915   Q.      Okay.    And do you see Dr. Heneine anywhere on that

10:14:2216   noncompliant list?

10:14:2417   A.      I don't.

10:14:2518   Q.      Okay.    Do you see Dr. Subbarao anywhere on that

10:14:3119   noncompliant list?

10:14:3220   A.      I don't.

10:14:3421   Q.      Okay.    And on the next row it says "Tenofovir"?

10:14:4122   A.      Um-hum.

10:14:4323   Q.      Okay.    And for the "literature resources search"

10:14:4824   there were 39 entries?

10:14:5325   A.      Correct.
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 183 of 198 PageID #: 53015
                                                                             374


10:14:54 1   Q.        And Gilead's public disclosure database, there are 24

10:14:59 2   entries?

10:15:00 3   A.        Correct.

10:15:00 4   Q.        Okay.    And there were 15, I guess, noncompliant

10:15:13 5   articles.       And then there's a list again of noncompliant

10:15:20 6   investigators.

10:15:21 7                     And is Dr. Heneine anywhere on that list of

10:15:26 8   noncompliant investigators?

10:15:28 9   A.        No.    But can I clarify something?

10:15:3210   Q.        Um-hum?

10:15:3311   A.        All the literature -- literature research -- or

10:15:3812   search, those were found by the literature people.           That

10:15:4213   means they were not in the Gilead, which means we didn't

10:15:4714   review.

10:15:4815   Q.        Okay.    So that's what it meant to be noncompliant --

10:15:5416   A.        Correct.

10:15:5517   Q.        -- that you would get an opportunity to review?

10:15:5918   A.        Correct.

10:16:0019   Q.        Okay.    But again, Dr. Heneine doesn't appear in that

10:16:0520   list of noncompliant investigators for Tenofovir; is that

10:16:1321   correct?

10:16:1322   A.        Correct.

10:16:1523   Q.        And Dr. Subbarao also doesn't appear in the list of

10:16:2424   noncompliant investigators; correct?

10:16:3125   A.        Correct.
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 184 of 198 PageID #: 53016
                                                                             375


10:16:33 1   Q.       Okay.

10:16:34 2   A.       With the clarification that this is only for two

10:16:39 3   years, 2007, 2008.

10:16:41 4   Q.       Okay.   And you can see at the top it says "2007-2008

10:16:52 5   material transfer publications, emtricitabine"?

10:16:57 6   A.       Correct.

10:16:58 7   Q.       Okay.   And on that page it lists Dr. Heneine four

10:17:12 8   times?

10:17:13 9   A.       Correct.

10:17:1410   Q.       Okay.   So are these all publications by Dr. Heneine

10:17:1911   that were found in the PDN database?

10:17:2412   A.       As part of the authors, yes.

10:17:2713   Q.       Okay.   And does that indicate that Dr. Heneine had

10:17:3914   sent to Gilead those publications?

10:17:4115   A.       Correct.

10:17:4216   Q.       But does this indicate that the publications were

10:17:4617   entered into the PDN database?

10:17:4918   A.       I don't know that.

10:17:5019   Q.       Okay.   Well, the last column says "PDN."

10:17:5620   A.       I see that.

10:17:5721   Q.       Okay.   And next to Dr. Heneine's name if you go

10:18:0122   through his four articles, do they all have a "yes" in the

10:18:0923   "PDN" category?

10:18:1224   A.       I see that.

10:18:1325   Q.       Okay.   So does that indicate that these articles were
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 185 of 198 PageID #: 53017
                                                                             376


10:18:16 1   found in the PDN database?

10:18:20 2   A.      So I did a little bit of research on the PDN system.

10:18:25 3   It's -- and there's only one submission for "nature" on the

10:18:37 4   third one, but not for PLO.

10:18:40 5   Q.      So you're saying that that PLO --

10:18:45 6   A.      Was never submitted to PDN.

10:18:48 7   Q.      -- was never entered into PDN?

10:18:51 8   A.      Correct.

10:18:52 9   Q.      Okay.    But it's still listed here, and he is not

10:18:5610   listed as a noncompliant on the previous page; is that

10:19:2011   correct?

10:19:2012   A.      Yeah.

10:19:2113   Q.      Okay.

10:19:2114   A.      It's an omission.

10:19:2415   Q.      Omission of what?

10:19:2616   A.      Error.

10:19:2817   Q.      What kind of error?

10:19:3418   A.      I don't know.     It's a typo or something happened.        I

10:19:3919   -- I don't know.

10:19:4820   Q.      Okay.    So what you are saying is that the "Y" in the

10:19:5421   "PDN" category is incorrect?

10:19:5622   A.      Incorrect.

10:19:5723   Q.      And what is your basis for that statement?

10:20:0024   A.      Because I researched the database today, and there

10:20:0425   was only one for "Nature" for "Garcia-Lerma," not Heneine.
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10:20:15 1   Q.      Okay.    Yes.   Okay.   So that -- that PLoS paper was in

10:20:22 2   the database, but it was listed under Garcia-Lerma?

10:20:27 3   A.      Yes.

10:20:27 4   Q.      Okay.    And do you know whether -- do you see that

10:20:31 5   next to Heneine, the -- the author's article -- do you see

10:20:38 6   where it says "J Gerardo Garcia-Lerma" --

10:20:48 7   A.      I see.

10:20:49 8   Q.      -- as the first author?

10:20:52 9                   So what you are saying is in -- that this

10:20:5510   article is in the database, but it's listed under

10:21:0011   Dr. Garcia-Lerma?

10:21:0212   A.      Correct.

10:21:0313   Q.      Okay.

10:21:0414   A.      And it was for Nature.

10:21:0915   Q.      And it was?

10:21:1316   A.      For the Journal of Nature, not for the PLoS -- PLoS

10:21:1917   Medicine.

10:21:1918   Q.      But that's based on your research today?

10:21:2219   A.      Correct.

10:21:2320   Q.      But this record, which was made in 2000 -- 2007-2008

10:21:3121   indicates that that article was in the PDN database with a

10:21:3722   "Y" under the "PDN" column; is that correct?

10:21:4223   A.      It specifies that, but it's an error.

10:21:4524   Q.      Is it possible that it was in the database in 2007

10:21:5125   and was accidentally deleted?
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10:21:55 1   A.       No.

10:21:55 2   Q.       Why is that impossible?

10:21:57 3   A.       I don't know that it's not impossible, but I -- I

10:22:01 4   doubt that it would be possible.

10:22:03 5   Q.       But you don't know that that's not possible?

10:22:07 6   A.       No, I don't know that.

10:22:09 7   Q.       Okay.   So you're speculating that --

10:22:12 8   A.       I --

10:22:12 9   Q.       -- this was an error based on your recent finding

10:22:1210   that it was no longer in the database; is that correct?

10:22:2011   A.       I don't know.

10:22:2612   Q.       Okay.   Have you looked for this article in any time

10:22:3013   between 2007 and today?

10:22:3214   A.       No.

10:22:3215   Q.       Okay.   So you cannot say with certainty whether it

10:22:3816   was in the database for a period and got deleted?

10:22:4517   A.       No.

10:22:5418   Q.       So it's your testimony that this "PDN" column is

10:22:5919   populated by a formula?

10:23:0220   A.       Yes.

10:23:0221   Q.       So if I go to the Excel sheet, will it have a formula

10:23:0822   in it?

10:23:0923   A.       I don't know for sure.

10:23:1024   Q.       Okay.   So if it doesn't, did you make the same entry

10:23:1525   -- or entry error twice then?       Is that your testimony?
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10:23:19 1   A.      Yes.

10:23:20 2   Q.      Okay.    Did you discover any other entry errors when

10:23:24 3   you went through this?

10:23:25 4   A.      I did.

10:23:32 5   Q.      Okay.    Actually, before we go to Exhibit 4, let me go

10:23:37 6   back to this for one second.

10:23:39 7   A.      Okay.

10:23:40 8   Q.      Ms. Kelly asked you some questions about compliant or

10:23:45 9   noncompliant.

10:23:4810                   Do you remember that --

10:23:4911   A.      Correct.

10:23:5012   Q.      -- related to, I believe it was, the second page?

10:23:5513   A.      Yes.

10:23:5614   Q.      Why does a researcher investigator have to provide a

10:24:0215   pre-publication article to Gilead?

10:24:0416   A.      Because it's stated in our Gilead MTA Section 7.

10:24:0917   Q.      The MTA's with the CDC, were those Gilead MTA's?

10:24:1418   A.      No.    They were from CDC.

10:24:1719   Q.      To your knowledge, is there anything in the Gilead --

10:24:2220   in the CDC MTA's that require --

10:24:2421   A.      Not to my knowledge.

10:24:3422   Q.      And to your knowledge, did Gilead abide by the terms

10:24:3723   of the MTA?

10:24:3824   A.      Yes.

10:24:4025   Q.      Did Gilead always provide the drugs that were
  Case 1:19-cv-02103-MN Document 485 Filed 05/31/23 Page 189 of 198 PageID #: 53021
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10:24:43 1   required?

10:24:43 2   A.      Always provided the drugs, whether we had an assigned

10:24:48 3   agreement or not.

10:25:31 4                   (Michael James Martin Hitchcock trial

10:25:43 5   testimony:)

10:25:47 6                   MICHAEL JAMES MARTIN HITCHCOCK, a witness,

10:25:52 7   called for examination, having been first duly sworn, was

10:25:58 8   examined and testified as follows:

10:26:14 9   BY MR. MACHEN:

10:26:1510   Q.      So will you please introduce yourself to the Court?

10:26:1811   A.      My full name is Michael James Martin Hitchcock.           I'm

10:26:2412   usually known as Mick Hitchcock.

10:26:3913   Q.      And was there any concern that -- about giving out

10:26:4314   Gilead's compounds for third parties to do tests on?

10:26:4715   A.      Yeah.    We wanted to maintain our control of the

10:26:5116   intellectual property and our ability to have freedom to

10:26:5417   operate with our drugs.      So we always had an MTA which

10:26:5818   covered that.

10:27:0719   Q.      Okay.    And what's your general understanding of the

10:27:1020   purpose of this Section 8?

10:27:1221   A.      The general purpose is to protect Gilead's

10:27:1522   intellectual property rights and to maintain their freedom

10:27:2023   to operate, and it requires that the recipient promptly

10:27:2424   disclose to the provider all of the results and data from

10:27:2825   what the experiments produced.
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10:27:31 1   Q.        Does it require the recipient to also disclose

10:27:37 2   anything relating to inventions?

10:27:40 3   A.        Yes.   The recipient agrees to promptly notify the

10:27:46 4   provider of any inventions.

10:28:10 5   Q.        And you recall testifying that you signed this

10:28:14 6   Clinical Trial Agreement, correct?

10:28:16 7   A.        That's correct.

10:28:20 8   Q.        And this is for the Extended Safety Study or 4323

10:28:26 9   study.    Is that right?

10:28:2710   A.        Yes, it's called the Extended Safety Study.        I don't

10:28:3611   see a number on 4323.

10:28:4412   Q.        And if you look at the second page, in that top first

10:28:4713   paragraph, you would agree that the term "trial" is defined

10:28:5314   as "phase two extended safety of Tenofovir Disoproxil

10:29:0015   Fumarate (TDF) among HIV-1 negative men who have sex with

10:29:0616   men."    Is that right?

10:29:0917   A.        Yes, that's the name of the study.

10:29:1118   Q.        And the term "study drug" is defined by the agreement

10:29:1619   as TDF.    Is that correct?

10:29:1820   A.        That's correct.

10:29:1921   Q.        And if you look to page 2 of the document, it ends in

10:29:2322   Bates number 3170, which are the numbers at the bottom

10:29:3023   right.

10:29:3124   A.        Yes.

10:29:3125   Q.        Do you see that there is a Section 7 titled,
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10:29:37 1   "intellectual property?"

10:29:42 2   A.      Yes.

10:29:43 3   Q.      And you did not review Section 7 before you signed

10:29:47 4   this agreement.     Is that right?

10:29:49 5   A.      That's correct.

10:29:50 6   Q.      And would you agree that the words, "freedom to

10:29:54 7   operate" are not found anywhere in this CTA?

10:29:59 8   A.      That's correct.

10:30:00 9   Q.      And the phrase "unfettered access" is also not found

10:30:0510   anywhere in the CTA.      Is that correct?

10:30:1511   A.      I haven't seen it, no.

10:30:1812   Q.      Okay.    Thank you.

10:30:1913                   And if you could now turn to -- it's Tab 13 in

10:30:2314   that same binder.     It's joint Exhibit 2.      And do you recall

10:30:2815   testifying about this document a moment ago?

10:30:3116   A.      Yes.

10:30:3217   Q.      And you signed this agreement, correct?

10:30:3418   A.      That's correct.

10:30:3519   Q.      And if you turn to the second page, it says "page 2

10:30:3920   of 5" at the bottom?

10:30:4221   A.      Yes.

10:30:4322   Q.      And if you look to that top paragraph, the first

10:30:4723   paragraph defines the term "trial" as "study of the safety

10:30:5224   and efficacy of daily Tenofovir disoproxil fumarate (TDF)

10:30:5825   for the prevention of HIV infection in heterosexually active
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10:31:13 1   young adults in Botswana."       Is that correct?

10:31:17 2   A.      That's correct.

10:31:18 3   Q.      And this study defines the study drug as TDF.           Is

10:31:23 4   that right?

10:31:23 5   A.      That's correct.

10:31:24 6   Q.      And if you look at the third page of this document,

10:31:27 7   so page 3 of 5 at the bottom?

10:31:30 8   A.      Um-hum.

10:31:32 9   Q.      You'll see a paragraph or a Section 7 titled,

10:31:3910   "intellectual property."

10:31:4111   A.      Yes.

10:31:4112   Q.      And is that the same language that we just saw in the

10:31:4513   prior CTA, which was Joint Exhibit 1?

10:31:4914   A.      As far as I know.      As I said, I didn't review this

10:31:5315   language because I left that up to the legal group.

10:32:0416   Q.      And you agree that the words "freedom to operate" are

10:32:0817   not found anywhere in this agreement, are they?

10:32:1718   BY MS. ROSATO:

10:32:1719   Q.      I'm sorry, I didn't hear your answer.         Did you agree

10:32:2120   that the words "freedom to operate" are not found in this

10:32:2721   agreement?

10:32:2822   A.      They are not found in this agreement.

10:32:3023   Q.      Thank you.    And similarly, the phrase "unfettered

10:32:3524   access" is also not found in this agreement.          Is that

10:32:4025   correct?
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10:32:40 1   A.       That's correct.

10:32:40 2   Q.       And turning to the last page, which is 5 of 5, the

10:32:46 3   signature page, again, you see above the signatures there is

10:32:51 4   a paragraph, and the first sentence says, "the foregoing

10:32:58 5   represents the entire agreement between us regarding the

10:33:04 6   trial, and there are no further commitments, obligations or

10:33:10 7   understandings of any nature regarding the trial."           Is that

10:33:20 8   correct?

10:33:20 9   A.       Yes, that's what it says.

10:33:2210   Q.       So, Dr. Hitchcock, this is the '072 MTA.        Is that

10:33:2811   right?

10:33:3212   A.       That's correct.

10:33:3313   Q.       And you signed this agreement?

10:33:3514   A.       Yes.

10:33:3615   Q.       If you can look at -- it is page 3 of 5.        Do you see

10:33:4216   a paragraph 8 there?

10:33:4317   A.       Yes.

10:33:4318   Q.       And this paragraph also deals with intellectual

10:33:4619   property rights.     Is that correct?

10:33:4820   A.       That's correct.

10:33:4921   Q.       And you did not review this paragraph before you

10:33:5322   signed the agreement.      Is that right?

10:33:5523   A.       No, this was reviewed by our legal group.

10:33:5824   Q.       And this agreement does not define notice anywhere in

10:34:0325   the agreement, does it?
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10:34:05 1   A.      I don't know.

10:34:06 2   Q.      All right.    We can move to the next document which is

10:34:12 3   behind Tab 2 of that same binder, Joint Exhibit 5.           And,

10:34:18 4   Dr. Hitchcock, this is the '471 MTA.         Is that correct?

10:34:23 5   A.      That's correct.

10:34:24 6   Q.      And you signed this agreement?

10:34:26 7   A.      Yes.

10:34:26 8   Q.      And if you turn to the third page, page 3 of 5, you

10:34:31 9   can see a paragraph 8 which deals with intellectual

10:34:3410   property?

10:34:3411   A.      Yes.

10:34:4212   Q.      Dr. Hitchcock, do you have any understanding of

10:34:4613   whether this document defines the term "notice?"

10:34:5014   A.      I don't know.

10:34:5115   Q.      Do you have an understanding of whether this document

10:34:5816   uses the term "freedom to operate?"

10:35:0117   A.      Not to my knowledge.

10:35:0318   Q.      And to your knowledge, does this MTA use the phrase

10:35:0819   "unfettered access?"

10:35:1120   A.      No.

10:35:1221   Q.      Okay.    Thank you.

10:35:1322                   I would like to -- I would like you to turn to

10:35:1723   Tab 3 in that same black binder, which is Joint Exhibit 6.

10:35:2224   And this is the '649 MTA.       Is that right?

10:35:2625   A.      That's correct.     Yes.
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10:35:27 1   Q.        And you signed this agreement?

10:35:29 2   A.        Yes.

10:35:30 3   Q.        And if you turn to page 3 of 5, at the very bottom,

10:35:34 4   you'll find, which carries over to page 4 of 5, again, a

10:35:40 5   paragraph 8 that deals with intellectual property.           Is that

10:35:43 6   right?

10:35:43 7   A.        That's correct.

10:35:44 8   Q.        And you did not review paragraph 8 before you signed

10:35:48 9   this agreement.      Is that right?

10:35:4910   A.        That's correct.

10:35:5011   Q.        And to your understanding of the '649 MTA, does it

10:35:5512   define notice in that document?

10:35:5713   A.        I don't know that it does.

10:35:5914   Q.        And does it use the term "unfettered access" in this

10:36:0515   MTA?

10:36:1116   A.        Not to my knowledge.

10:36:1217   Q.        And is the phrase "freedom to operate" found in this

10:36:1718   MTA?

10:36:1719   A.        No.

12:44:5420                    THE COURT:    Thank you.

12:44:5521                    MR. MACHEN:   We're done, Your Honor.

12:44:5622                    THE COURT:    Okay.   So we have now made the

12:45:0023   record regarding unclean hands, inequitable estoppel and

12:45:0624   waiver.    I think we need to change the plan.

12:45:0925                    MR. HOLVEY:   Your Honor, so sorry, there will be
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12:45:11 1   exhibits that will come in through those designations as

12:45:14 2   well.

12:45:16 3                 THE COURT:    I think we need to change the plan

12:45:19 4   of addressing this issue.       I just read through the pleadings

12:45:22 5   in this case and the defendants have not asserted

12:45:27 6   counterclaims regarding unclean hands, inequitable estoppel,

12:45:27 7   or waiver, each of these issues was raised only as an

12:45:29 8   affirmative defense to infringement.         We are going to enter

12:45:33 9   judgment in favor of the defendant on infringement and

12:45:3510   validity and those affirmative defenses will be mooted.            I

12:45:3811   understand that there will likely be normal post-trial

12:45:4112   motions and unless those motions are granted, the

12:45:4313   affirmative defenses of invalidity affirmative defenses on

12:45:4714   these topics will remain moot.        So the post-trial

12:45:5215   submissions will not brief these issues and I will not

12:45:5516   address them unless the post-trial proceedings in the jury

12:45:5817   trial make it necessary.       If that happens, I will ask for

12:46:0118   briefing and argument on these issues.

12:46:0319                 With that, I will also say to the extent that

12:46:0620   the defendants think they should be able to pursue attorneys

12:46:0921   fees based on these defenses, I have not heard anything thus

12:46:1222   far that makes me think that there was conduct here,

12:46:1623   weighing all of the factors that I must, that would make it

12:46:1924   appropriate to shift fees to the United States via the

12:46:2225   United States taxpayers to the defendants, which are billion
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12:46:26 1   dollar pharmaceutical companies.

12:46:27 2                 So that is what my thinking is on these issues.

12:46:30 3   Any comments?

12:46:32 4                 MR. BROWN:    Not on those issues, no, Your Honor.

12:46:36 5                 THE COURT:    All right.    Mr. Brown, you had

12:46:39 6   something you wanted to raise on the jury trial?

12:46:41 7                 MR. BROWN:    Yes.    Looking ahead to what we

12:46:44 8   anticipate to be a Rule 50 motion, we obviously had a

12:46:48 9   briefing schedule on the bench trial issues.          I don't think

12:46:5010   we had a specific schedule on the jury trial motions.           I

12:46:5711   know we had twenty-eight days under the rules, but I don't

12:46:5912   know if you had --

12:47:0013                 THE COURT:    So we follow the federal rules here.

12:47:0214                 MR. BROWN:    Okay.   And your scheduling order you

12:47:0615   say that seven days after the verdict we submit a joint

12:47:0916   status report identifying all motions, is that correct?

12:47:1217                 THE COURT:    Yes.

12:47:1218                 MR. BROWN:    Okay.   I understand the page limits

12:47:1619   are 20/20/10 on the Rule 50 motion?

12:47:1920                 THE COURT:    So what you should do is go back and

12:47:2221   look at the issues that you want to raise, and if you think

12:47:2622   that you need additional pages in order to address those

12:47:3123   issues appropriately, just ask for it in the status report.

12:47:3424                 MR. BROWN:    Okay.   Thank you, Your Honor.

12:47:3625                 THE COURT:    Is that it?
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12:47:37 1                 MR. BROWN:    I think that addresses it.

12:47:39 2                 THE COURT:    Anything from the defendants?

12:47:41 3                 MR. MACHEN:    Nothing, Your Honor.

12:47:43 4                 THE COURT:    All right.     So with that, I

12:47:45 5   appreciate all of the professionalism this week.           I thought

12:47:49 6   both sides presented very well.        And I can tell you that the

12:47:53 7   jurors thought that the issues before them were very

12:47:58 8   interesting, and it really was one of the easiest to

12:48:02 9   understand I think, and part of jury trials we have had on

12:48:0710   patent cases and a lot of that had to do with the

12:48:0911   presentation.

12:48:1012                 Thank you all and safe travels.

12:48:1213                 COURT CLERK:     All rise.

       14                  (Court adjourned at 11:13 a.m.)

       15

       16                I hereby certify the foregoing is a true and
             accurate transcript from my stenographic notes in the proceeding.
       17

       18                                           /s/ Dale C. Hawkins
                                                  Official Court Reporter
       19                                             U.S. District Court

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